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In re             USA Commercial Mortgage Company                       ,                                                               Case No. 06-10725-LBR
                                    Debtor                                                                                                           (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                               Description and Location of Property                                             Property


                                 Legal vesting                                     Mailing Address                    Loan Name           Amount     Contingent
        Ronald R. Carter & Leslie A. Carter Trustees of the Ronald R.    6508 Anasazi NE              Bay Pompano Beach                  Unknown           Y
        Carter & Leslie A. Carter Revocable Trust dated 10/24/91         Albuquerque, NM 87111
        Ronald R. Carter & Leslie A. Carter Trustees of the Ronald R.    6508 Anasazi NE              BarUSA/$15,300,000                 Unknown           Y
        Carter & Leslie A. Carter Revocable Trust dated 10/24/91         Albuquerque, NM 87111
        Ronald R. Carter & Leslie A. Carter Trustees of the Ronald R.    6508 Anasazi NE              Gramercy Court Condos              Unknown           Y
        Carter & Leslie A. Carter Revocable Trust dated 10/24/91         Albuquerque, NM 87111
        Ronald Sharpe, a single man                                      3150 S. Arville St. #52      Ashby Financial $7,200,000         Unknown           Y
                                                                         Las Vegas, NV 89102
        Ronald Sharpe, a single man                                      3150 S. Arville St. #52      HFA- Clear Lake                    Unknown           Y
                                                                         Las Vegas, NV 89102
        Ronald W. Ezra Trustee of the Ronald W. Ezra Living Trust        1944 Grey Eagle Street       Fiesta USA/Stoneridge              Unknown           Y
                                                                         Henderson, NV 89014
        Ronald W. Ezra Trustee of the Ronald W. Ezra Living Trust        1944 Grey Eagle Street       Gramercy Court Condos              Unknown           Y
                                                                         Henderson, NV 89014
        Ronald W. Harford and Dora D. Harford Trustees of the Harford 1894 Hwy 50 E #4 PMB 502        Fiesta Oak Valley                  Unknown           Y
        Family Trust dated 10/15/1993                                    Carson City , NV 89701
        Ronald W. Harford and Dora D. Harford Trustees of the Harford 1894 Hwy 50 E #4 PMB 502        Eagle Meadows Development          Unknown           Y
        Family Trust dated 10/15/1993                                    Carson City , NV 89701
        Ronda L. Threlfall, a married woman dealing with her sole &      9915 Saddleback Drive        Marquis Hotel                      Unknown           Y
        seperate property                                                Lakeside, CA 92040
        Ronny K. Lundin, Transfer on Death to Christian N. Lundin        P O Box 18331                Gramercy Court Condos              Unknown           Y
                                                                         Fountain Hills, AZ 85268
        Rosa A. Alvarez, an unmarried woman                              P O Box 2042                 Gramercy Court Condos              Unknown           Y
                                                                         Las Vegas, NV 89125
        Rosalie Allen Morgan Trustee of the Rosalie Allen Morgan Trust 6869 Eagle Wing Circle         Bay Pompano Beach                  Unknown           Y
        dated 1/31/03                                                    Sparks, NV 89436
        Rosalie Allen Morgan Trustee of the Rosalie Allen Morgan Trust 6869 Eagle Wing Circle         Bay Pompano Beach                  Unknown           Y
        dated 1/31/03                                                    Sparks, NV 89436
        Rosalind L. Stark Trustee of the Rosalind L. Stark Separate      10905 Clarion Lane           Brookmere/Matteson $27,050,000     Unknown           Y
        Property Trust dated 4/11/02                                     Las Vegas, NV 89134
        Rosalind L. Stark Trustee of the Stark Family Trust dated 4/2/84 10905 Clarion Lane           Opaque/Mt. Edge $7,350,000         Unknown           Y
                                                                         Las Vegas, NV 89134
        Rosalind L. Stark Trustee of the Stark Family Trust dated 4/2/84 10905 Clarion Lane           6425 Gess, LTD                     Unknown           Y
                                                                         Las Vegas, NV 89134
        Rosalind L. Stark Trustee of the Stark Family Trust dated 4/2/84 10905 Clarion Lane           Bay Pompano Beach                  Unknown           Y
                                                                         Las Vegas, NV 89134
        Rosalind L. Stark Trustee of the Stark Family Trust dated 4/2/84 10905 Clarion Lane           Brookmere/Matteson $27,050,000     Unknown           Y
                                                                         Las Vegas, NV 89134
        Rosanne L. Clark, a single woman                                 2350 High Terrace Dr         HFA- North Yonkers                 Unknown           Y
                                                                         Reno, NV 89509
        Rosanne L. Clark, a single woman                                 2350 High Terrace Dr         6425 Gess, LTD                     Unknown           Y
                                                                         Reno, NV 89509
        Rosanne L. Clark, a single woman                                 2350 High Terrace Dr         Freeway 101                        Unknown           Y
                                                                         Reno, NV 89509
        Rose F. Swayze, an unmarried woman, and Elfriede R. Fujitani, a P O Box 946                   Margarita Annex                    Unknown           Y
        married woman, as joint tenants with the right of survivorship   Crystal Bay, NV 89402
        Rose M. Costa, a single woman                                    101 San Carlos Ave           Huntsville                         Unknown           Y
                                                                         Sausalito, CA 94965
        Rose O. Hecker, a single woman & Anita Rosenfield, a single      250 Rain Trail Rd.           Gramercy Court Condos              Unknown           Y
        woman, as joint tenants with right of survivorship               Sedona, AZ 86351
        Rosemarie L. McMullin, as her separate property under the        578 Sutton Way PMB 223       HFA- Clear Lake                    Unknown           Y
        Phillip E. McMullin & Rosemarie L. McMullin Family Trust         Grass Valley, CA 95945
        dated 4/4/80 & ammended 3/19/94
        Roy Filkin & Dianna L. Filkin Trustees of the R&D Filkin Trust 2340 Watt Street               Wasco Investments                  Unknown           Y
        dated 9/26/90                                                    Reno, NV 89509
        Roy Filkin & Dianna L. Filkin Trustees of the R&D Filkin Trust 2340 Watt Street               Gilroy                             Unknown           Y
        dated 9/26/90                                                    Reno, NV 89509
        Roy H. Hibdon & Oma C. Hibdon, husband & wife, as joint          4860 Hilton Ct               Placer Vineyards                   Unknown           Y
        tenants with right of survivorship                               Reno, NV 89509




SCHEDULES                                                                          Exhibit B-21                                                       PAGE 226
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In re             USA Commercial Mortgage Company                      ,                                                                     Case No. 06-10725-LBR
                                     Debtor                                                                                                               (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                              Current Market Value of
                                                                                                                                                Debtor's Interest in
                                                              Description and Location of Property                                                   Property


                                  Legal vesting                                    Mailing Address                    Loan Name                Amount     Contingent
        Roy M. Stephen & Carol J. Stephen Trustees of the Stephen      1214 W Yucca Circle           Fiesta Oak Valley                        Unknown         Y
        Family Trust dated 3/22/84                                     St George, UT 84790
        Roy M. Stephen & Carol J. Stephen Trustees of the Stephen      1214 W Yucca Circle           Amesbury/Hatters Point                   Unknown         Y
        Family Trust dated 3/22/84                                     St George, UT 84790
        Roy R. Ventura, Jr. & Nancy B. Ventura, husband & wife, as     American Embassy- Jakarta     Riviera - Homes for America Holdings,    Unknown         Y
        joint tenants with right of survivorship                       Unit 8135 - USAID             L.L.C.
                                                                       FPO , AP 96520
        Roy R. Ventura, Jr. & Nancy B. Ventura, husband & wife, as     American Embassy- Jakarta     Lerin Hills                              Unknown         Y
        joint tenants with right of survivorship                       Unit 8135 - USAID
                                                                       FPO , AP 96520
        Roy R. Ventura, Jr. & Nancy B. Ventura, husband & wife, as     American Embassy- Jakarta     Eagle Meadows Development                Unknown         Y
        joint tenants with right of survivorship                       Unit 8135 - USAID
                                                                       FPO , AP 96520
        Roy R. Ventura, Jr. & Nancy B. Ventura, husband & wife, as     American Embassy- Jakarta     HFA- Clear Lake                          Unknown         Y
        joint tenants with right of survivorship                       Unit 8135 - USAID
                                                                       FPO , AP 96520
        RoyceG. Jenkins, an unmarried man                              2021 Fresno Road              Bay Pompano Beach                        Unknown         Y
                                                                       Plano, TX 75074
        Ruby Bell, a married woman dealing with her sole & separate    9101 Kings Town Ave           HFA- Windham                             Unknown         Y
        property                                                       Las Vegas, NV 89145
        Ruby M. Hill, Trustee of The Ruby M. Hill Family Trust dated   877 E March Ln #377           BarUSA/$15,300,000                       Unknown         Y
        December 12, 1992                                              Stockton, CA 95207
        Ruby M. Hill, Trustee of The Ruby M. Hill Family Trust dated   877 E March Ln #377           Anchor B, LLC                            Unknown         Y
        December 12, 1992                                              Stockton, CA 95207
        Ruby Simon & Evie Simon                                        8728 Castle View Ave          Amesbury/Hatters Point                   Unknown         Y
                                                                       Las Vegas, NV 89129
        Ruby Simon & Evie Simon                                        8728 Castle View Ave          Amesbury/Hatters Point                   Unknown         Y
                                                                       Las Vegas, NV 89129
        Ruby Simon & Evie Simon                                        8728 Castle View Ave          Amesbury/Hatters Point                   Unknown         Y
                                                                       Las Vegas, NV 89129
        Ruby Simon, a single woman                                     8728 Castle View Ave          Amesbury/Hatters Point                   Unknown         Y
                                                                       Las Vegas, NV 89129
        Ruby Simon, a single woman                                     8728 Castle View Ave          Amesbury/Hatters Point                   Unknown         Y
                                                                       Las Vegas, NV 89129
        Ruby Simon, a single woman                                     8728 Castle View Ave          Amesbury/Hatters Point                   Unknown         Y
                                                                       Las Vegas, NV 89129
        Ruby Simon, a single woman                                     8728 Castle View Ave          Huntsville                               Unknown         Y
                                                                       Las Vegas, NV 89129
        Ruby Simon, a single woman                                     8728 Castle View Ave          Huntsville                               Unknown         Y
                                                                       Las Vegas, NV 89129
        Ruby Simon, a single woman                                     8728 Castle View Ave          Huntsville                               Unknown         Y
                                                                       Las Vegas, NV 89129
        Ruby Simon, a single woman                                     8728 Castle View Ave          Brookmere/Matteson $27,050,000           Unknown         Y
                                                                       Las Vegas, NV 89129
        Ruby Simon, a single woman                                     8728 Castle View Ave          Brookmere/Matteson $27,050,000           Unknown         Y
                                                                       Las Vegas, NV 89129
        Ruby Simon, a single woman                                     8728 Castle View Ave          Brookmere/Matteson $27,050,000           Unknown         Y
                                                                       Las Vegas, NV 89129
        Rudi Eichler transfer on death toTatjana Eichler               1912 De Osma St               6425 Gess, LTD                           Unknown         Y
                                                                       Las Vegas, NV 89102
        Rudi Eichler transfer on death toTatjana Eichler               1912 De Osma St               Marlton Square                           Unknown         Y
                                                                       Las Vegas, NV 89102
        Rudolf Winkler & Carmel Winkler Trustees for the benefit of    10000 Rossbury Place          6425 Gess, LTD                           Unknown         Y
        Winkler Family Trust dated 3/13-                               Los Angeles, CA 90064
        Rudolf Winkler & Carmel Winkler Trustees for the benefit of    10000 Rossbury Place          6425 Gess, LTD                           Unknown         Y
        Winkler Family Trust dated 3/13-                               Los Angeles, CA 90064
        Rudolf Winkler & Carmel Winkler Trustees for the benefit of    10000 Rossbury Place          HFA- Windham                             Unknown         Y
        Winkler Family Trust dated 3/13/86                             Los Angeles, CA 90064
        Rudolf Winkler & Carmel Winkler Trustees for the benefit of    10000 Rossbury Place          HFA- Windham                             Unknown         Y
        Winkler Family Trust dated 3/13/86                             Los Angeles, CA 90064




SCHEDULES                                                                           Exhibit B-21                                                           PAGE 227
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In re            USA Commercial Mortgage Company                        ,                                                                       Case No. 06-10725-LBR
                                   Debtor                                                                                                                    (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                 Current Market Value of
                                                                                                                                                   Debtor's Interest in
                                                              Description and Location of Property                                                      Property


                                Legal vesting                                        Mailing Address                   Loan Name                  Amount     Contingent
        Rudolf Winkler & Carmel Winkler Trustees for the benefit of       10000 Rossbury Place          Huntsville                               Unknown         Y
        Winkler Family Trust dated 3/13/86                                Los Angeles, CA 90064
        Rudolf Winkler & Carmel Winkler Trustees for the benefit of       10000 Rossbury Place          Huntsville                               Unknown         Y
        Winkler Family Trust dated 3/13/86                                Los Angeles, CA 90064
        Rudolf Winkler & Carmel Winkler Trustees for the benefit of       10000 Rossbury Place          HFA- North Yonkers                       Unknown         Y
        Winkler Family Trust dated 3/13/86                                Los Angeles, CA 90064
        Rudolf Winkler & Carmel Winkler Trustees for the benefit of       10000 Rossbury Place          HFA- North Yonkers                       Unknown         Y
        Winkler Family Trust dated 3/13/86                                Los Angeles, CA 90064
        Rudolf Winkler & Carmel Winkler Trustees for the benefit of       10000 Rossbury Place          Harbor Georgetown                        Unknown         Y
        Winkler Family Trust dated 3/13/86                                Los Angeles, CA 90064
        Rudolf Winkler & Carmel Winkler Trustees for the benefit of       10000 Rossbury Place          Harbor Georgetown                        Unknown         Y
        Winkler Family Trust dated 3/13/86                                Los Angeles, CA 90064
        Rudolf Winkler & Carmel Winkler Trustees for the benefit of       10000 Rossbury Place          Amesbury/Hatters Point                   Unknown         Y
        Winkler Family Trust dated 3/13/86                                Los Angeles, CA 90064
        Rudolf Winkler & Carmel Winkler Trustees for the benefit of       10000 Rossbury Place          Amesbury/Hatters Point                   Unknown         Y
        Winkler Family Trust dated 3/13/86                                Los Angeles, CA 90064
        Rudolf Winkler & Carmel Winkler Trustees for the benefit of       10000 Rossbury Place          Brookmere/Matteson $27,050,000           Unknown         Y
        Winkler Family Trust dated 3/13/86                                Los Angeles, CA 90064
        Rudolf Winkler & Carmel Winkler Trustees for the benefit of       10000 Rossbury Place          Brookmere/Matteson $27,050,000           Unknown         Y
        Winkler Family Trust dated 3/13/86                                Los Angeles, CA 90064
        Rudolph W. Moreno & Beatriz Moreno, Husband and wife as           7951 Monaco Bay Court         Gramercy Court Condos                    Unknown         Y
        joint tenants with right of survivorship                          Las Vegas, NV 89117
        Rudy Leroy McTee & Sharon Kaye McTee Trustees of the R & S P O Box 2480                         Freeway 101                              Unknown         Y
        McTee 1995 Trust dated 4/20/95                                    Gardnerville, NV 89410
        Rudy Leroy McTee & Sharon Kaye McTee Trustees of the R & S P O Box 2480                         HFA- North Yonkers                       Unknown         Y
        McTee 1995 Trust dated 4/20/95                                    Gardnerville, NV 89410
        Rulon D. Robison Trustee of the Rulon D. Robison Profit Sharing 9100 Eagle Hills Dr             Amesbury/Hatters Point                   Unknown         Y
        Plan                                                              Las Vegas, NV 89134
        Rulon D. Robison Trustee of the Rulon D. Robison Profit Sharing 9100 Eagle Hills Dr             Lerin Hills                              Unknown         Y
        Plan                                                              Las Vegas, NV 89134
        Russell E. Karsten Trustee of the Karsten 1987 Trust              6325 South Valley View Blvd   Fiesta Oak Valley                        Unknown         Y
                                                                          Las Vegas, NV 89118
        Russell E. Karsten Trustee of the Karsten 1987 Trust              6325 South Valley View Blvd   Gramercy Court Condos                    Unknown         Y
                                                                          Las Vegas, NV 89118
        Russell E. Mills and Shirley A. Mills, husband and wife, as joint 120 Spyglass Ln               Castaic Partners II, LLC                 Unknown         Y
        tenants with the right of survivorship                            Half Moon Bay, CA 94019
        Russell J. Zuardo & Betty J. Zuardo Trustees of the Russell J.    1296 Highforest Avenue        6425 Gess, LTD                           Unknown         Y
        Zuardo & Betty J. Zuardo Community Property Trust Restated Las Vegas, NV 89123
        5/5/00
        Russell J. Zuardo & Betty J. Zuardo Trustees of the Russell J.    1296 Highforest Avenue        Bay Pompano Beach                        Unknown         Y
        Zuardo & Betty J. Zuardo Community Property Trust Restated Las Vegas, NV 89123
        5/5/00
        Russell M. Blood & Judy A. Blood Trustees of the Blood Family 140 Brownstone Drive              Amesbury/Hatters Point                   Unknown         Y
        Trust dated 5/18/99                                               Mooresville, NC 28117
        Russell M. Blood & Judy A. Blood Trustees of the Blood Family 140 Brownstone Drive              Fiesta Oak Valley                        Unknown         Y
        Trust dated 5/18/99                                               Mooresville, NC 28117
        Russell M. Blood & Judy A. Blood Trustees of the Blood Family 140 Brownstone Drive              Placer Vineyards                         Unknown         Y
        Trust dated 5/18/99                                               Mooresville, NC 28117
        Ruth A. Errington Trustee of the Ruth A. Errington Living Trust 1146 Buckbrush Rd               6425 Gess, LTD                           Unknown         Y
        dated 11/22/04                                                    Minden, NV 89423
        Ruth A. Kuester Trustee of the Ruth A. Kuester Trust dated        1013 Anita Ave                Amesbury/Hatters Point                   Unknown         Y
        1/29/91                                                           Big Bear City, CA 92314
        Ruth A. Kuester Trustee of the Ruth A. Kuester Trust dated        1013 Anita Ave                Fiesta Oak Valley                        Unknown         Y
        1/29/91                                                           Big Bear City, CA 92314
        Ruth C. Ax, a single woman                                        4005 Radbourne Avenue         Riviera - Homes for America Holdings,    Unknown         Y
                                                                          Las Vegas, NV 89121           L.L.C.
        Ruth D. Carriere Trustee of the Ruth D. Carriere Family Trust     13147 Parkway Rd              Amesbury/Hatters Point                   Unknown         Y
        dated 8/5/96                                                      Pound, WI 54161
        Ruth E. Rudd Trustee of the Ruth E. Rudd Revocable Trust dated 1519 Deerford Circle             Amesbury/Hatters Point                   Unknown         Y
        11/11/92                                                          Las Vegas, NV 89110




SCHEDULES                                                                             Exhibit B-21                                                            PAGE 228
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In re             USA Commercial Mortgage Company                         ,                                                                      Case No. 06-10725-LBR
                                     Debtor                                                                                                                   (If known)




                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                   EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                  Current Market Value of
                                                                                                                                                    Debtor's Interest in
                                                                 Description and Location of Property                                                    Property


                                  Legal vesting                                        Mailing Address                   Loan Name                 Amount     Contingent
        Ruth M. Lataille, a married woman dealing with her sole &         543 Granville Road             Amesbury/Hatters Point                   Unknown         Y
        separate property                                                 Hartland, CT 6027
        Ruth Sanders, an unmarried woman                                  7362 Offenhauser Dr.           Golden State Investments II              Unknown         Y
                                                                          Reno , NV 89511
        Ruth Zimmerman, an unmarried woman and Moshe Kirsh, an            15721 Milbank Street           Riviera - Homes for America Holdings,    Unknown         Y
        unmarried man, as joint tenants with the rights of survivorship   Encino, CA 91436               L.L.C.
        Ruth Zimmerman, an unmarried woman and Moshe Kirsh, an            15721 Milbank Street           Marquis Hotel                            Unknown         Y
        unmarried man, as joint tenants with the rights of survivorship   Encino, CA 91436
        Ryan S. Shane                                                     P O Box 1078                   Amesbury/Hatters Point                   Unknown         Y
                                                                          Dayton, NV 89403
        Ryan S. Shane                                                     P O Box 1078                   Amesbury/Hatters Point                   Unknown         Y
                                                                          Dayton, NV 89403
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Fiesta USA/Stoneridge                    Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Fiesta USA/Stoneridge                    Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Fiesta USA/Stoneridge                    Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Amesbury/Hatters Point                   Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Amesbury/Hatters Point                   Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Amesbury/Hatters Point                   Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Tapia Ranch                              Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Tapia Ranch                              Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Tapia Ranch                              Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Margarita Annex                          Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Margarita Annex                          Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Margarita Annex                          Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            HFA- Clear Lake                          Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            HFA- Clear Lake                          Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            HFA- Clear Lake                          Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Hasley Canyon                            Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Hasley Canyon                            Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Hasley Canyon                            Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Gramercy Court Condos                    Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Gramercy Court Condos                    Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Gramercy Court Condos                    Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Bay Pompano Beach                        Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Bay Pompano Beach                        Unknown         Y
                                                                          Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership              104 Van Buren Court            Bay Pompano Beach                        Unknown         Y
                                                                          Colleyville, TX 76034




SCHEDULES                                                                              Exhibit B-21                                                            PAGE 229
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In re            USA Commercial Mortgage Company                       ,                                                                 Case No. 06-10725-LBR
                                    Debtor                                                                                                            (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                               Description and Location of Property                                              Property


                                 Legal vesting                                     Mailing Address                     Loan Name           Amount     Contingent
        S & P Davis Limited Partnership, a Texas Partnership            104 Van Buren Court           6425 Gess, LTD                      Unknown          Y
                                                                        Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership            104 Van Buren Court           6425 Gess, LTD                      Unknown          Y
                                                                        Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership            104 Van Buren Court           6425 Gess, LTD                      Unknown          Y
                                                                        Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership            104 Van Buren Court           BarUSA/$15,300,000                  Unknown          Y
                                                                        Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership            104 Van Buren Court           BarUSA/$15,300,000                  Unknown          Y
                                                                        Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership            104 Van Buren Court           BarUSA/$15,300,000                  Unknown          Y
                                                                        Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership            104 Van Buren Court           Brookmere/Matteson $27,050,000      Unknown          Y
                                                                        Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership            104 Van Buren Court           Brookmere/Matteson $27,050,000      Unknown          Y
                                                                        Colleyville, TX 76034
        S & P Davis Limited Partnership, a Texas Partnership            104 Van Buren Court           Brookmere/Matteson $27,050,000      Unknown          Y
                                                                        Colleyville, TX 76034
        S. A. Hanes Trustee of the S.A. Hanes Profit Sharing Plan       P. O. Box 10054               Eagle Meadows Development           Unknown          Y
                                                                        Zephyr Cove, NV 89448
        Sagrario T. Evers Trustee of the Sagrario T. Evers Living Trust 9101 Kings Town Ave           Hasley Canyon                       Unknown          Y
        dated 5/1/01                                                    Las Vegas, NV 89145
        Sagrario T. Evers Trustee of the Sagrario T. Evers Living Trust 9101 Kings Town Ave           HFA- Windham                        Unknown          Y
        dated 5/1/01                                                    Las Vegas, NV 89145
        Sagrario T. Evers Trustee of the Sagrario T. Evers Living Trust 9101 Kings Town Ave           Eagle Meadows Development           Unknown          Y
        dated 5/1/01                                                    Las Vegas, NV 89145
        Sagrario T. Evers Trustee of the Sagrario T. Evers Living Trust 9101 Kings Town Ave           Ashby Financial $7,200,000          Unknown          Y
        dated 5/1/01                                                    Las Vegas, NV 89145
        Sagrario T. Evers Trustee of the Sagrario T. Evers Living Trust 9101 Kings Town Ave           Placer Vineyards 2nd                Unknown          Y
        dated 5/1/01                                                    Las Vegas, NV 89145
        Sally Mark                                                      7673 Granville Drive          Amesbury/Hatters Point              Unknown          Y
                                                                        Tamarack, FL 33321
        Salvatore Capodici & Mary Capodici, husband and wife as joint 792 Mancill Road                Gramercy Court Condos               Unknown          Y
        tenants with the right of survivorship                          Wayne, PA 19087
        Salvatore Capodici & Mary Capodici, husband and wife as joint 792 Mancill Road                Marlton Square                      Unknown          Y
        tenants with the right of survivorship                          Wayne, PA 19087
        Salvatore Siciliano                                             2711 Briggs Avenue            Huntsville                          Unknown          Y
                                                                        Bronx, NY 10458
        Salvatore Siciliano                                             2711 Briggs Avenue            Huntsville                          Unknown          Y
                                                                        Bronx, NY 10458
        Salvatore Siciliano                                             2711 Briggs Avenue            Amesbury/Hatters Point              Unknown          Y
                                                                        Bronx, NY 10458
        Salvatore Siciliano                                             2711 Briggs Avenue            Amesbury/Hatters Point              Unknown          Y
                                                                        Bronx, NY 10458
        Salvatore Siciliano, an unmarried man                           2711 Briggs Avenue            HFA- North Yonkers                  Unknown          Y
                                                                        Bronx, NY 10458
        Salvatore Siciliano, an unmarried man                           2711 Briggs Avenue            HFA- North Yonkers                  Unknown          Y
                                                                        Bronx, NY 10458
        Sam Barashy and Simha Barashy, Trustees of The Chai 18 Trust 7447 Tamarind Ave                Eagle Meadows Development           Unknown          Y
                                                                        Las Vegas, NV 89147
        Sam Costanza Trustee of the Costanza 1987 Survivor's Trust      9809 Cantebury Rose Lane      Marquis Hotel                       Unknown          Y
        dated 3/12/87                                                   Las Vegas, NV 89134
        Sam Costanza Trustee of the Costanza 1987 Survivor's Trust      9809 Catebury Rose Lane       Marquis Hotel                       Unknown          Y
        dated 3/12/87                                                   Las Vegas, NV 89134
        Sam Costanza Trustee of the Costanza 1987 Survivor's Trust      9809 Cantebury Rose Lane      Huntsville                          Unknown          Y
        dated 3/12/87                                                   Las Vegas, NV 89134
        Sam Costanza Trustee of the Costanza 1987 Survivor's Trust      9809 Catebury Rose Lane       Huntsville                          Unknown          Y
        dated 3/12/87                                                   Las Vegas, NV 89134
        Sam Costanza Trustee of the Costanza 1987 Survivor's Trust      9809 Cantebury Rose Lane      HFA- North Yonkers                  Unknown          Y
        dated 3/12/87                                                   Las Vegas, NV 89134




SCHEDULES                                                                           Exhibit B-21                                                       PAGE 230
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In re            USA Commercial Mortgage Company                      ,                                                                     Case No. 06-10725-LBR
                                   Debtor                                                                                                                (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                             Current Market Value of
                                                                                                                                               Debtor's Interest in
                                                            Description and Location of Property                                                    Property


                                Legal vesting                                     Mailing Address                   Loan Name                 Amount     Contingent
        Sam Costanza Trustee of the Costanza 1987 Survivor's Trust    9809 Catebury Rose Lane       HFA- North Yonkers                       Unknown         Y
        dated 3/12/87                                                 Las Vegas, NV 89134
        Sam Costanza Trustee of the Costanza 1987 Survivor's Trust    9809 Cantebury Rose Lane      Gramercy Court Condos                    Unknown         Y
        dated 3/12/87                                                 Las Vegas, NV 89134
        Sam Costanza Trustee of the Costanza 1987 Survivor's Trust    9809 Catebury Rose Lane       Gramercy Court Condos                    Unknown         Y
        dated 3/12/87                                                 Las Vegas, NV 89134
        Sam Costanza Trustee of the Costanza 1987 Survivor's Trust    9809 Cantebury Rose Lane      Fiesta Oak Valley                        Unknown         Y
        dated 3/12/87                                                 Las Vegas, NV 89134
        Sam Costanza Trustee of the Costanza 1987 Survivor's Trust    9809 Catebury Rose Lane       Fiesta Oak Valley                        Unknown         Y
        dated 3/12/87                                                 Las Vegas, NV 89134
        Sam Costanza, Trustee of The Costanza 1987 Decedent's Trust   9809 Cantebury Rose Lane      Lerin Hills                              Unknown         Y
                                                                      Las Vegas, NV 89134
        Sam Costanza, Trustee of The Costanza 1987 Decedent's Trust   9809 Catebury Rose Lane       Lerin Hills                              Unknown         Y
                                                                      Las Vegas, NV 89134
        Sam Costanza, Trustee of The Costanza 1987 Decedent's Trust   9809 Cantebury Rose Lane      Placer Vineyards                         Unknown         Y
                                                                      Las Vegas, NV 89134
        Sam Costanza, Trustee of The Costanza 1987 Decedent's Trust   9809 Catebury Rose Lane       Placer Vineyards                         Unknown         Y
                                                                      Las Vegas, NV 89134
        Sam Costanza, Trustee of The Costanza 1987 Decedent's Trust   9809 Cantebury Rose Lane      Fiesta Oak Valley                        Unknown         Y
                                                                      Las Vegas, NV 89134
        Sam Costanza, Trustee of The Costanza 1987 Decedent's Trust   9809 Catebury Rose Lane       Fiesta Oak Valley                        Unknown         Y
                                                                      Las Vegas, NV 89134
        Sam Costanza, Trustee of The Costanza 1987 Decedent's Trust   9809 Cantebury Rose Lane      Marquis Hotel                            Unknown         Y
                                                                      Las Vegas, NV 89134
        Sam Costanza, Trustee of The Costanza 1987 Decedent's Trust   9809 Catebury Rose Lane       Marquis Hotel                            Unknown         Y
                                                                      Las Vegas, NV 89134
        Sam Costanza, Trustee of The Costanza 1987 Decedent's Trust   9809 Cantebury Rose Lane      Riviera - Homes for America Holdings,    Unknown         Y
                                                                      Las Vegas, NV 89134           L.L.C.
        Sam Costanza, Trustee of The Costanza 1987 Decedent's Trust   9809 Catebury Rose Lane       Riviera - Homes for America Holdings,    Unknown         Y
                                                                      Las Vegas, NV 89134           L.L.C.
        Sam Costanza, Trustee of The Costanza 1987 Decedent's Trust   9809 Cantebury Rose Lane      HFA- North Yonkers                       Unknown         Y
                                                                      Las Vegas, NV 89134
        Sam Costanza, Trustee of The Costanza 1987 Decedent's Trust   9809 Catebury Rose Lane       HFA- North Yonkers                       Unknown         Y
                                                                      Las Vegas, NV 89134
        Sam Costanza, Trustee of The Costanza 1987 Decedent's Trust   9809 Cantebury Rose Lane      Gramercy Court Condos                    Unknown         Y
                                                                      Las Vegas, NV 89134
        Sam Costanza, Trustee of The Costanza 1987 Decedent's Trust   9809 Catebury Rose Lane       Gramercy Court Condos                    Unknown         Y
                                                                      Las Vegas, NV 89134
        Sam Dashosh & Ruth Dashosh Trustees for the Dashosh Family    3113 Sea View Court           Marquis Hotel                            Unknown         Y
        Trust                                                         Las Vegas, NV 89117
        Sam Dashosh & Ruth Dashosh Trustees for the Dashosh Family    3113 Sea View Court           Huntsville                               Unknown         Y
        Trust                                                         Las Vegas, NV 89117
        Sam Dashosh & Ruth Dashosh Trustees for the Dashosh Family    3113 Sea View Court           Gramercy Court Condos                    Unknown         Y
        Trust                                                         Las Vegas, NV 89117
        Sam Dashosh & Ruth Dashosh Trustees for the Dashosh Family    3113 Sea View Court           Goss Road                                Unknown         Y
        Trust                                                         Las Vegas, NV 89117
        Samuel A. Mammano and Karen M. Mammano, husband and           1490 Ridge Rd                 Lerin Hills                              Unknown         Y
        wife as joint tenants with the rights of survivorship         Webster, NY 14580
        Samuel Evans & Beverly Evans Trustees of the Samuel &         P O Box 714                   Lerin Hills                              Unknown         Y
        Beverly Evans Living Trust                                    Logandale, NV 89021
        Samuel Evans & Beverly Evans Trustees of the Samuel &         P O Box 714                   Marlton Square 2nd                       Unknown         Y
        Beverly Evans Living Trust                                    Logandale, NV 89021
        Samuels Foundation, Inc., a Nevada corporation                198 Concho Drive              Tapia Ranch                              Unknown         Y
                                                                      Reno, NV 89521
        Samuels Foundation, Inc., a Nevada corporation                198 Concho Drive              Tapia Ranch                              Unknown         Y
                                                                      Reno, NV 89521
        Samuels Foundation, Inc., a Nevada corporation                198 Concho Drive              Margarita Annex                          Unknown         Y
                                                                      Reno, NV 89521
        Samuels Foundation, Inc., a Nevada corporation                198 Concho Drive              Margarita Annex                          Unknown         Y
                                                                      Reno, NV 89521




SCHEDULES                                                                          Exhibit B-21                                                           PAGE 231
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In re            USA Commercial Mortgage Company                       ,                                                                 Case No. 06-10725-LBR
                                   Debtor                                                                                                             (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                             Description and Location of Property                                                Property


                                Legal vesting                                        Mailing Address                   Loan Name           Amount     Contingent
        Samuels Foundation, Inc., a Nevada corporation                  198 Concho Drive               Ashby Financial $7,200,000         Unknown         Y
                                                                        Reno, NV 89521
        Samuels Foundation, Inc., a Nevada corporation                  198 Concho Drive               Ashby Financial $7,200,000         Unknown         Y
                                                                        Reno, NV 89521
        Samuels Foundation, Inc., a Nevada corporation                  198 Concho Drive               Brookmere/Matteson $27,050,000     Unknown         Y
                                                                        Reno, NV 89521
        Samuels Foundation, Inc., a Nevada corporation                  198 Concho Drive               Brookmere/Matteson $27,050,000     Unknown         Y
                                                                        Reno, NV 89521
        Sandra A. Shankle, an unmarried woman                           1095 Flamingo Rd.              HFA- North Yonkers                 Unknown         Y
                                                                        Laguna Beach, CA 92651
        Sandra Hollander Trustee of the Sandra I. Hollander Revocable 10533 Santo Marco Ct             Amesbury/Hatters Point             Unknown         Y
        Trust                                                           Las Vegas, NV 89135
        Sandra M. Mogg Trustee of the Sandra M. Mogg Revocable          485 Annet St                   Bay Pompano Beach                  Unknown         Y
        Living Trust dated 4/9/04                                       Henderson, NV 89052
        Sandra O. Masters Trustee of the Charles T. Masters & Sandra O. 18124 Wedge Pkwy # 550         Placer Vineyards                   Unknown         Y
        Masters Family Trust dated 10/9/92                              Reno, NV 89511
        Sapourn Legacy, LLC, a Florida limited liability company        286 Lansing Island Drive       Bay Pompano Beach                  Unknown         Y
                                                                        Satellite Beach, FL 32937
        Sapourn Legacy, LLC, a Florida limited liability company        286 Lansing Island Drive       Bay Pompano Beach                  Unknown         Y
                                                                        Satellite Beach, FL 32937
        Sapourn Legacy, LLC, a Florida limited liability company        100 Rialto Place # 721         Bay Pompano Beach                  Unknown         Y
                                                                        Melbourne, FL 32901
        Sapourn Legacy, LLC, a Florida limited liability company        286 Lansing Island Drive       Shamrock Tower, LP                 Unknown         Y
                                                                        Satellite Beach, FL 32937
        Sapourn Legacy, LLC, a Florida limited liability company        286 Lansing Island Drive       Shamrock Tower, LP                 Unknown         Y
                                                                        Satellite Beach, FL 32937
        Sapourn Legacy, LLC, a Florida limited liability company        100 Rialto Place # 721         Shamrock Tower, LP                 Unknown         Y
                                                                        Melbourne, FL 32901
        Sarah R. Roberts Trustee of the Roberts Family Trust dated      520 Clearview Dr               Bay Pompano Beach                  Unknown         Y
        4/28/04                                                         Los Gatos, CA 95032
        Sarah R. Roberts Trustee of the Roberts Family Trust dated      520 Clearview Dr               Bay Pompano Beach                  Unknown         Y
        4/28/04                                                         Los Gatos, CA 95032
        Sarah R. Roberts Trustee of the Roberts Family Trust dated      520 Clearview Dr               HFA- North Yonkers                 Unknown         Y
        4/28/04                                                         Los Gatos, CA 95032
        Sarah R. Roberts Trustee of the Roberts Family Trust dated      520 Clearview Dr               HFA- North Yonkers                 Unknown         Y
        4/28/04                                                         Los Gatos, CA 95032
        Sarah R. Roberts, an unmarried woman                            520 Clearview Dr               Huntsville                         Unknown         Y
                                                                        Los Gatos, CA 95032
        Sarah R. Roberts, an unmarried woman                            520 Clearview Dr               Huntsville                         Unknown         Y
                                                                        Los Gatos, CA 95032
        Saul Roisentul & Ilene Roisentul Trustees of the Roisentul      74075 Kokopelli Circle         Amesbury/Hatters Point             Unknown         Y
        Family Trust                                                    Palm Desert, CA 92260
        Saul Roisentul & Ilene Roisentul Trustees of the Roisentul      74075 Kokopelli Circle         Fiesta Oak Valley                  Unknown         Y
        Family Trust                                                    Palm Desert, CA 92260
        Saul Roisentul & Ilene Roisentul Trustees of the Roisentul      74075 Kokopelli Circle         Fiesta USA/Stoneridge              Unknown         Y
        Family Trust                                                    Palm Desert, CA 92260
        Saul Roisentul & Ilene Roisentul Trustees of the Roisentul      74075 Kokopelli Circle         Gateway Stone                      Unknown         Y
        Family Trust                                                    Palm Desert, CA 92260
        Saul Roisentul & Ilene Roisentul Trustees of the Roisentul      74075 Kokopelli Circle         Placer Vineyards                   Unknown         Y
        Family Trust                                                    Palm Desert, CA 92260
        Saul Roisentul & Ilene Roisentul Trustees of the Roisentul      74075 Kokopelli Circle         Shamrock Tower, LP                 Unknown         Y
        Family Trust                                                    Palm Desert, CA 92260
        Saul Roisentul & Ilene Roisentul Trustees of the Roisentul      74075 Kokopelli Circle         Brookmere/Matteson $27,050,000     Unknown         Y
        Family Trust                                                    Palm Desert, CA 92260
        Scatena                                                         34 W 9th                       Amesbury/Hatters Point             Unknown         Y
                                                                        Reno, NV 89503
        Schwartz & Earp Joint Venture                                   609 North Laurel               HFA- Clear Lake                    Unknown         Y
                                                                        El Paso, TX 79903
        Schwartz & Earp Joint Venture                                   609 North Laurel               HFA- Clear Lake                    Unknown         Y
                                                                        El Paso, TX 79903




SCHEDULES                                                                            Exhibit B-21                                                      PAGE 232
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In re             USA Commercial Mortgage Company                        ,                                                                    Case No. 06-10725-LBR
                                    Debtor                                                                                                                 (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                               Current Market Value of
                                                                                                                                                 Debtor's Interest in
                                                               Description and Location of Property                                                   Property


                                 Legal vesting                                        Mailing Address                       Loan Name           Amount     Contingent
        Schwartz & Earp Joint Venture                                      609 North Laurel                HFA- Clear Lake                     Unknown         Y
                                                                           El Paso, TX 79903
        Schwartz & Earp Joint Venture                                      609 North Laurel                Clear Creek Plantation              Unknown         Y
                                                                           El Paso, TX 79903
        Schwartz & Earp Joint Venture                                      609 North Laurel                Clear Creek Plantation              Unknown         Y
                                                                           El Paso, TX 79903
        Schwartz & Earp Joint Venture                                      609 North Laurel                Clear Creek Plantation              Unknown         Y
                                                                           El Paso, TX 79903
        Scott J. Elowitz, a married man dealing with his sole and separate 200 Daniels Way, Ste 210        Bay Pompano Beach                   Unknown         Y
        property                                                           Freehold, NJ 7728
        Scott J. Elowitz, a married man dealing with his sole and separate 200 Daniels Way, Ste 210        Eagle Meadows Development           Unknown         Y
        property                                                           Freehold, NJ 7728
        Scott J. Elowitz, a married man dealing with his sole and separate 200 Daniels Way, Ste 210        HFA- Clear Lake                     Unknown         Y
        property                                                           Freehold, NJ 7728
        Scott K Canepa Defined Benefit Pension Plan                        851 S Rampart Blvd. Ste 160     Hasley Canyon                       Unknown         Y
                                                                           Las Vegas, NV 89145
        Scott K Canepa Defined Benefit Pension Plan                        851 S Rampart Blvd Ste 160      Hasley Canyon                       Unknown         Y
                                                                           Las Vegas, NV 89145
        Scott Machock & Heidi Machock, Husband and wife as joint           32792 Rosemont Drive            Bay Pompano Beach                   Unknown         Y
        tenants with right of survivorship                                 Trabuco Canyon, CA 92679
        Scott Machock & Heidi Machock, Husband and wife as joint           32792 Rosemont Drive            Lerin Hills                         Unknown         Y
        tenants with right of survivorship                                 Trabuco Canyon, CA 92679
        Scott Wilgar & Gail Wilgar, husband & wife                         9585 Stange Avenue              Amesbury/Hatters Point              Unknown         Y
                                                                           Las Vegas, NV 89129
        Secure Retirement Trust B, Leona Apigian Trustee                   172 Woodland Road               Eagle Meadows Development           Unknown         Y
                                                                           Goldendale, WA 98620
        Seymore J. Seinfeld, a widower & Helene Seinfeld, a single         2277 Ramsgate Dr                Eagle Meadows Development           Unknown         Y
        woman, as joint tenants with right of survivorship                 Henderson, NV 89074
        Seymore J. Seinfeld, a widower & Helene Seinfeld, a single         2277 Ramsgate Dr                BarUSA/$15,300,000                  Unknown         Y
        woman, as joint tenants with right of survivorship                 Henderson, NV 89074
        Seymour H. Rosenberg, Trustee of the Seymour H. Rosenberg          15322 Strathearn Dr Apt 11801   Gramercy Court Condos               Unknown         Y
        Revocable Trust dated 11/20/03                                     Delray Beach, FL 33446
        Shahnaz I. Memon and Mohammed I. Memon, husband and wife, 7210 Native Dancer Dr.                   Marlton Square                      Unknown         Y
        as joint tenants with right of survivorship                        Reno, NV 89502
        Shahriar Zavosh, an unmarried man                                  3800 S Cantabria Circle #1042   Bay Pompano Beach                   Unknown         Y
                                                                           Chandler, AZ 85248
        Shahriar Zavosh, an unmarried man                                  3800 S Cantabria Circle #1042   Midvale Marketplace, LLC            Unknown         Y
                                                                           Chandler, AZ 85248
        Shahriar Zavosh, an unmarried man                                  3800 S Cantabria Circle #1042   Lerin Hills                         Unknown         Y
                                                                           Chandler, AZ 85248
        Shannon Tokuda-Labrie, an unmarried woman, & Susan L.              593 Ponderosa Ave.              Marquis Hotel                       Unknown         Y
        Tokuda JT Ten, a married woman dealing with her sole &             Incline Village, NV 89451
        separate property, as joint tenants with right of survivorship
        Sharon D. Tarpinian Trustee of the Sharon D. Tarpinian             327 Jacaranda Dr                Huntsville                          Unknown         Y
        Revocable Living Trust dated 12/17/2002                            Danville , CA 94506
        Sharon D. Tarpinian Trustee of the Sharon D. Tarpinian             327 Jacaranda Dr                Marlton Square                      Unknown         Y
        Revocable Living Trust dated 12/17/2002                            Danville , CA 94506
        Sharon D. Tarpinian Trustee of the Sharon D. Tarpinian             327 Jacaranda Dr                Fiesta Oak Valley                   Unknown         Y
        Revocable Living Trust dated 12/17/2002                            Danville , CA 94506
        Sharon D. Tarpinian Trustee of the Sharon D. Tarpinian             327 Jacaranda Dr                Bay Pompano Beach                   Unknown         Y
        Revocable Living Trust dated 12/17/2002                            Danville , CA 94506
        Sharon Juno, an unmarried woman                                    27139 Stratford Glen Drive      6425 Gess, LTD                      Unknown         Y
                                                                           Daphne, AL 36526
        Sharon Peterson for Benefit of the Peterson Family Trust           798 San Remo Way                Bay Pompano Beach                   Unknown         Y
                                                                           Boulder City, NV 89005
        Sharon Peterson for Benefit of the Peterson Family Trust           798 San Remo Way                Bay Pompano Beach                   Unknown         Y
                                                                           Boulder City, NV 89005
        Sharon R. Fitzgerald, a married woman dealing with her sole & 24 Carrington Way                    BarUSA/$15,300,000                  Unknown         Y
        separate property                                                  Reno, NV 89506




SCHEDULES                                                                              Exhibit B-21                                                         PAGE 233
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In re            USA Commercial Mortgage Company                        ,                                                                  Case No. 06-10725-LBR
                                    Debtor                                                                                                              (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                              Description and Location of Property                                                 Property


                                 Legal vesting                                        Mailing Address                    Loan Name           Amount     Contingent
        Sharon R. Fitzgerald, a married woman dealing with her sole &     24 Carrington Way             Bay Pompano Beach                   Unknown         Y
        separate property                                                 Reno, NV 89506
        Sharon S. Lazar, a single woman                                   705 Kendall Lane              Bay Pompano Beach                   Unknown         Y
                                                                          Boulder City, NV 89005
        Sharon S. Lazar, a single woman                                   705 Kendall Lane              Amesbury/Hatters Point              Unknown         Y
                                                                          Boulder City, NV 89005
        Shawn A. Stimpson, a married man dealing with is sole and         5799 Cathedral Peak Dr        Gramercy Court Condos               Unknown         Y
        separate property                                                 Sparks, NV 89436
        Sheila E. Rothberg, a married woman dealing with her sole &       21 Randolph Drive             Bay Pompano Beach                   Unknown         Y
        separate property                                                 Dix Hills, NY 11746
        Sheila E. Rothberg, a married woman dealing with her sole &       21 Randolph Drive             Gateway Stone                       Unknown         Y
        separate property                                                 Dix Hills, NY 11746
        Sheldon Portman & Marion G. Portman Trustees of the Sheldon 9505 City Hill Court                Wasco Investments                   Unknown         Y
        & Marion G. Portman Trust dated 11/01/85                          Las Vegas, NV 89134
        Sheldon Portman & Marion G. Portman Trustees of the Sheldon 9505 City Hill Court                Placer Vineyards 2nd                Unknown         Y
        & Marion G. Portman Trust dated 11/01/85                          Las Vegas, NV 89134
        Sheldon Portman & Marion G. Portman Trustees of the Sheldon 9505 City Hill Court                Placer Vineyards                    Unknown         Y
        & Marion G. Portman Trust dated 11/01/85                          Las Vegas, NV 89134
        Sheldon Portman & Marion G. Portman Trustees of the Sheldon 9505 City Hill Court                Marlton Square                      Unknown         Y
        & Marion G. Portman Trust dated 11/01/85                          Las Vegas, NV 89134
        Sheldon Portman & Marion G. Portman Trustees of the Sheldon 9505 City Hill Court                Lerin Hills                         Unknown         Y
        & Marion G. Portman Trust dated 11/01/85                          Las Vegas, NV 89134
        Sheldon Portman & Marion G. Portman Trustees of the Sheldon 9505 City Hill Court                Castaic Partners II, LLC            Unknown         Y
        & Marion G. Portman Trust dated 11/01/85                          Las Vegas, NV 89134
        Sheldon Portman & Marion G. Portman Trustees of the Sheldon 9505 City Hill Court                HFA- North Yonkers                  Unknown         Y
        & Marion G. Portman Trust dated 11/01/85                          Las Vegas, NV 89134
        Sheldon Sinett & Annette Sinett, husband & wife, as joint tenants 239 Harbor View Drive         Marlton Square                      Unknown         Y
        with right of survivorship                                        Port Washington, NY 11050
        Shelley Wike Cranley Trustee of The S.W. Cranley Revocable        174 Mont Blanc Way            Marlton Square                      Unknown         Y
        Trust dated 2/20/03                                               Las Vegas, NV 89124
        Shelley Wike Cranley Trustee of The S.W. Cranley Revocable        174 Mont Blanc Way            Placer Vineyards                    Unknown         Y
        Trust dated 2/20/03                                               Las Vegas, NV 89124
        Sherry Archer, an unmarried woman                                 17401 Seco Court              Ashby Financial $7,200,000          Unknown         Y
                                                                          Rowland Heights, CA 91748
        Sherry Archer, an unmarried woman                                 17401 Seco Court              Gateway Stone                       Unknown         Y
                                                                          Rowland Heights, CA 91748
        Sherry Lamph, a married woman dealing with her sole & seperate 9700 Verlaine Court              Gilroy                              Unknown         Y
        property                                                          Las Vegas, NV 89145
        Sherry Lynne, a single woman                                      29657 Strawberry Hill Drive   Huntsville                          Unknown         Y
                                                                          Agoura Hills, CA 91301
        Sherry Lynne, a single woman                                      29657 Strawberry Hill Drive   6425 Gess, LTD                      Unknown         Y
                                                                          Agoura Hills, CA 91301
        Shimon Peress & Hannah Peress Trustees of the Shimon Peress & 8109 Sapphire Bay                 6425 Gess, LTD                      Unknown         Y
        Hannah K. Peress Trust dated 4/17/01                              Las Vegas, NV 89128
        Shimon Peress & Hannah Peress Trustees of the Shimon Peress & 8109 Sapphire Bay                 BarUSA/$15,300,000                  Unknown         Y
        Hannah K. Peress Trust dated 4/17/01                              Las Vegas, NV 89128
        Shimon Peress & Hannah Peress Trustees of the Shimon Peress & 8109 Sapphire Bay                 Bay Pompano Beach                   Unknown         Y
        Hannah K. Peress Trust dated 4/17/01                              Las Vegas, NV 89128
        Shimon Peress & Hannah Peress Trustees of the Shimon Peress & 8109 Sapphire Bay                 HFA- Clear Lake                     Unknown         Y
        Hannah K. Peress Trust dated 4/17/01                              Las Vegas, NV 89128
        Shimon Peress & Hannah Peress Trustees of the Shimon Peress & 8109 Sapphire Bay                 HFA- North Yonkers                  Unknown         Y
        Hannah K. Peress Trust dated 4/17/01                              Las Vegas, NV 89128
        Shimon Peress & Hannah Peress Trustees of the Shimon Peress & 8109 Sapphire Bay                 Marlton Square                      Unknown         Y
        Hannah K. Peress Trust dated 4/17/01                              Las Vegas, NV 89128
        Shimon Peress & Hannah Peress Trustees of the Shimon Peress & 8109 Sapphire Bay                 Brookmere/Matteson $27,050,000      Unknown         Y
        Hannah K. Peress Trust dated 4/17/01                              Las Vegas, NV 89128
        Shimon Peress & Hannah Peress Trustees of the Shimon Peress & 8109 Sapphire Bay                 Clear Creek Plantation              Unknown         Y
        Hannah K. Peress Trust dated 4/17/01                              Las Vegas, NV 89128
        Shiqi Charlie Sun & Jianzhen Jean Sun, husband & wife, as joint 6649 Rainbow Drive              HFA- North Yonkers                  Unknown         Y
        tenants with right of survivorship                                San Jose, CA 95129




SCHEDULES                                                                              Exhibit B-21                                                      PAGE 234
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In re             USA Commercial Mortgage Company                          ,                                                                        Case No. 06-10725-LBR
                                      Debtor                                                                                                                     (If known)




                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                    EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                     Current Market Value of
                                                                                                                                                       Debtor's Interest in
                                                                   Description and Location of Property                                                     Property


                                   Legal vesting                                       Mailing Address                       Loan Name                Amount     Contingent
        Shiqi Charlie Sun & Jianzhen Jean Sun, husband & wife, as joint    6649 Rainbow Drive               Tapia Ranch                              Unknown         Y
        tenants with right of survivorship                                 San Jose, CA 95129
        Shirley Cupp-Doe & Charles A. Jensen Co-Trustees for the           2345 Villandry Court             Marlton Square                           Unknown         Y
        Ronald G. Doe Marital Trust DTD 1-6-95                             Henderson, NV 89074
        Shirley Doerr, an unmarried woman                                  5200 Summit Ridge Dr Apt # 511   Huntsville                               Unknown         Y
                                                                           Reno, NV 89523
        Shirley J. Finlay, an unmarried woman                              24 Carrington Way                6425 Gess, LTD                           Unknown         Y
                                                                           Reno, NV 89506
        Shirley J. Sutton Trustee of the Shirley J. Sutton Trust           1477 Bear Creek Drive            Tapia Ranch                              Unknown         Y
                                                                           Bishop, CA 93514
        Shirley J. Sutton Trustee of the Shirley J. Sutton Trust           1477 Bear Creek Drive            Placer Vineyards 2nd                     Unknown         Y
                                                                           Bishop, CA 93514
        Shirley J. Sutton Trustee of the Shirley J. Sutton Trust           1477 Bear Creek Drive            Riviera - Homes for America Holdings,    Unknown         Y
                                                                           Bishop, CA 93514                 L.L.C.
        Shirley Jean Tuffanelli Trustee of the Shirley Jean Tuffanelli     2260 Mohigan Way                 Fiesta Oak Valley                        Unknown         Y
        Trust dated 6/18/91                                                Las Vegas, NV 89109
        Shirley Jean Tuffanelli Trustee of the Shirley Jean Tuffanelli     2260 Mohigan Way                 Placer Vineyards                         Unknown         Y
        Trust dated 6/18/91                                                Las Vegas, NV 89109
        Shirley M. Collins Trustee as her sole & separate property under   1975 Snowberry Court             Gramercy Court Condos                    Unknown         Y
        the Collins Family Trust dated 1/29/93                             Carlsbad, CA 92009
        Shirley M. Collins Trustee as her sole & separate property under   1975 Snowberry Court             Placer Vineyards                         Unknown         Y
        the Collins Family Trust dated 1/29/93                             Carlsbad, CA 92009
        Shirley M. Collins Trustee as her sole & separate property under   1975 Snowberry Court             Tapia Ranch                              Unknown         Y
        the Collins Family Trust dated 1/29/93                             Carlsbad, CA 92009
        Shirley M. Collins Trustee as her sole & separate property under   1975 Snowberry Court             Marquis Hotel                            Unknown         Y
        the Collins Family Trust dated 1/29/93                             Carlsbad, CA 92009
        Shirley M. Collins Trustee as her sole & separate property under   1975 Snowberry Court             Bay Pompano Beach                        Unknown         Y
        the Collins Family Trust dated 1/29/93                             Carlsbad, CA 92009
        Shirley M. Collins Trustee as her sole & separate property under   1975 Snowberry Court             Amesbury/Hatters Point                   Unknown         Y
        the Collins Family Trust dated 1/29/93                             Carlsbad, CA 92009
        Shirley M. Collins Trustee as her sole & separate property under   1975 Snowberry Court             6425 Gess, LTD                           Unknown         Y
        the Collins Family Trust dated 1/29/93                             Carlsbad, CA 92009
        Shirley M. Collins Trustee as her sole & separate property under   1975 Snowberry Court             Castaic Partners II, LLC                 Unknown         Y
        the Collins Family Trust dated 1/29/93                             Carlsbad, CA 92009
        Shirley M. Collins Trustee as her sole & separate property under   1975 Snowberry Court             Brookmere/Matteson $27,050,000           Unknown         Y
        the Collins Family Trust dated 1/29/93                             Carlsbad, CA 92009
        Shirley M. Handlin Trustee of the Handlin family trust dated       8855 Leroy St                    Brookmere/Matteson $27,050,000           Unknown         Y
        4/16/2004                                                          Reno, NV 89523
        Shirley M. Reinesch Trustee of the Shirley M. Reinesch             P O Box 582                      HFA- Riviera 2nd                         Unknown         Y
        Revocable Living Trust dated 11/1/99                               Sisters, OR 97759
        Shirley M. Reinesch Trustee of the Shirley M. Reinesch             P O Box 582                      Amesbury/Hatters Point                   Unknown         Y
        Revocable Living Trust dated 11/1/99                               Sisters, OR 97759
        Shirley Mae Willard Trustee of the Willard Family Trust            NULL                             HFA- Clear Lake                          Unknown         Y
                                                                           NULL
                                                                           NULL, NULL
        Shirley Payne, an unmarried woman                                  P O Box 208                      Marlton Square                           Unknown         Y
                                                                           Grass Valley, CA 95945
        Shirley Payne, an unmarried woman                                  P O Box 208                      Gramercy Court Condos                    Unknown         Y
                                                                           Grass Valley, CA 95945
        Shirley Stagg Trustee of the Stagg Family Trust dated 1985         1409 Parkland Ave                Castaic Partners II, LLC                 Unknown         Y
                                                                           Carson City, NV 89701
        Shu-Chih Tsai, a married man dealing withhis sole & separate       1716 S Monterey Street           Amesbury/Hatters Point                   Unknown         Y
        property                                                           Alhambra, CA 91801
        Sidney L. Larson & Ruth Ann Larson Trustees of the Larson          5613 N. 133rd Ave                Fiesta Oak Valley                        Unknown         Y
        Family Trust dated 6/19/94                                         Litchfield Park, AZ 85340
        Sidney L. Larson & Ruth Ann Larson Trustees of the Larson          5613 N. 133rd Ave                Lerin Hills                              Unknown         Y
        Family Trust dated 6/19/94                                         Litchfield Park, AZ 85340
        Sierra Eye Associates Profit Sharing Plan                          950 Ryland St                    Fiesta Oak Valley                        Unknown         Y
                                                                           Reno, NV 89502




SCHEDULES                                                                               Exhibit B-21                                                              PAGE 235
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In re             USA Commercial Mortgage Company                       ,                                                                    Case No. 06-10725-LBR
                                    Debtor                                                                                                                (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                              Current Market Value of
                                                                                                                                                Debtor's Interest in
                                                              Description and Location of Property                                                   Property


                                  Legal vesting                                       Mailing Address                        Loan Name         Amount     Contingent
        Sierra Health Services, Inc., a Nevada corporation                Attn: Tim Coulter/Treasury Dept   Gramercy Court Condos             Unknown         Y
                                                                          PO Box #14189
                                                                          Las Vegas, NV 89114
        Sierra Health Services, Inc., a Nevada corporation                Attn: Tim Coulter/Treasury Dept   Marlton Square                    Unknown         Y
                                                                          PO Box #14189
                                                                          Las Vegas, NV 89114
        Sierra West, Inc., a Nevada corporation                           P O Box 8346                      Tapia Ranch                       Unknown         Y
                                                                          Incline Village, NV 89452
        Sierra West, Inc., a Nevada corporation                           P O Box 8346                      6425 Gess, LTD                    Unknown         Y
                                                                          Incline Village, NV 89452
        Sierra West, Inc., a Nevada corporation                           P O Box 8346                      Amesbury/Hatters Point            Unknown         Y
                                                                          Incline Village, NV 89452
        Sierra West, Inc., a Nevada corporation                           P O Box 8346                      Bay Pompano Beach                 Unknown         Y
                                                                          Incline Village, NV 89452
        Sierra West, Inc., a Nevada corporation                           P O Box 8346                      Fiesta Oak Valley                 Unknown         Y
                                                                          Incline Village, NV 89452
        Sierra West, Inc., a Nevada corporation                           P O Box 8346                      Harbor Georgetown                 Unknown         Y
                                                                          Incline Village, NV 89452
        Sierra West, Inc., a Nevada corporation                           P O Box 8346                      Opaque/Mt. Edge $7,350,000        Unknown         Y
                                                                          Incline Village, NV 89452
        Sigfried Baker transfer on death to Annee Nounna                  8057 Lands End                    Marlton Square                    Unknown         Y
                                                                          Las Vegas, NV 89117
        Sigmund L. Tomczak & Diana Tomczak Trustees of the Tomczak 8507 S Harmon Extension Rd               Amesbury/Hatters Point            Unknown         Y
        Family Trust dated 4/25/83                                        Spokane, WA 99223
        Sigmund L. Tomczak & Diana Tomczak Trustees of the Tomczak 8507 S Harmon Extension Rd               Fiesta Oak Valley                 Unknown         Y
        Family Trust dated 4/25/83                                        Spokane, WA 99223
        Sigmund L. Tomczak & Diana Tomczak Trustees of the Tomczak 8507 S Harmon Extension Rd               Gateway Stone                     Unknown         Y
        Family Trust dated 4/25/83                                        Spokane, WA 99223
        Sigmund L. Tomczak & Diana Tomczak Trustees of the Tomczak 8507 S Harmon Extension Rd               Harbor Georgetown                 Unknown         Y
        Family Trust dated 4/25/83                                        Spokane, WA 99223
        Sigmund L. Tomczak & Diana Tomczak Trustees of the Tomczak 8507 S Harmon Extension Rd               HFA- Clear Lake                   Unknown         Y
        Family Trust dated 4/25/83                                        Spokane, WA 99223
        Sigmund L. Tomczak & Diana Tomczak Trustees of the Tomczak 8507 S Harmon Extension Rd               Marlton Square                    Unknown         Y
        Family Trust dated 4/25/83                                        Spokane, WA 99223
        Silvio Silvestri and Kathryn Silvestri, husband and wife as joint 13621 Wolf Rd                     Gramercy Court Condos             Unknown         Y
        tenants with the right of survivorship                            Grass Valley, CA 95949
        Simmtex, Inc., a Nevada corporation                               2011 Oak Street                   Gramercy Court Condos             Unknown         Y
                                                                          San Francisco, CA 94117
        Smith Barney/CGM Custodian For Richard G. Adams IRA               6990 E Thirsty Cactus Lane        HFA- Riviera 2nd                  Unknown         Y
                                                                          Scottsdale, AZ 85262
        Smith Barney/CGM Custodian For Richard G. Adams IRA               6990 E Thirsty Cactus LAne        HFA- Riviera 2nd                  Unknown         Y
                                                                          Scottsdale, AZ 85262
        Smith Barney/CGM Custodian For Richard G. Adams IRA               6990 E Thirsty Cactus Lane        Cabernet                          Unknown         Y
                                                                          Scottsdale, AZ 85262
        Smith Barney/CGM Custodian For Richard G. Adams IRA               6990 E Thirsty Cactus LAne        Cabernet                          Unknown         Y
                                                                          Scottsdale, AZ 85262
        Sonja Plesko                                                      6301 Bruma Avenue                 HFA- North Yonkers                Unknown         Y
                                                                          Las Vegas, NV 89122
        Sovereign Capital Advisors, LLC, a Nevada limited liability       930 Tahoe Blvd Ste 802-550        Castaic Partners II, LLC          Unknown         Y
        company                                                           Incline Village, NV 89451
        Sovereign Capital Advisors, LLC, a Nevada limited liability       930 Tahoe Blvd Ste 802-550        Shamrock Tower, LP                Unknown         Y
        company                                                           Incline Village, NV 89451
        Sovereign Capital Advisors, LLC, a Nevada limited liability       930 Tahoe Blvd Ste 802-550        Fiesta Oak Valley                 Unknown         Y
        company                                                           Incline Village, NV 89451
        Sovereign Capital Advisors, LLC, a Nevada limited liability       930 Tahoe Blvd Ste 802-550        Bay Pompano Beach                 Unknown         Y
        company                                                           Incline Village, NV 89451
        Sovereign Capital Advisors, LLC, a Nevada limited liability       930 Tahoe Blvd Ste 802-550        6425 Gess, LTD                    Unknown         Y
        company                                                           Incline Village, NV 89451
        Sovereign Capital Advisors, LLC, a Nevada limited liability       930 Tahoe Blvd Ste 802-550        Huntsville                        Unknown         Y
        company                                                           Incline Village, NV 89451




SCHEDULES                                                                              Exhibit B-21                                                        PAGE 236
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In re             USA Commercial Mortgage Company                       ,                                                               Case No. 06-10725-LBR
                                    Debtor                                                                                                           (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                               Description and Location of Property                                             Property


                                 Legal vesting                                       Mailing Address                    Loan Name         Amount     Contingent
        Spectrum Capital, LLC, a California limited liability company    6167 Jarvis Ave 304           Amesbury/Hatters Point            Unknown           Y
                                                                         Newark, CA 94560
        Spectrum Capital, LLC, a California limited liability company    6167 Jarvis Ave 304           Marquis Hotel                     Unknown           Y
                                                                         Newark, CA 94560
        Spectrum Capital, LLC, a California limited liability company    6167 Jarvis Ave 304           Marlton Square                    Unknown           Y
                                                                         Newark, CA 94560
        Spectrum Capital, LLC, a California limited liability company    6167 Jarvis Ave 304           Lerin Hills                       Unknown           Y
                                                                         Newark, CA 94560
        Spectrum Capital, LLC, a California limited liability company    6167 Jarvis Ave 304           Huntsville                        Unknown           Y
                                                                         Newark, CA 94560
        Spectrum Capital, LLC, a California limited liability company    6167 Jarvis Ave 304           HFA- North Yonkers                Unknown           Y
                                                                         Newark, CA 94560
        Spectrum Capital, LLC, a California limited liability company    6167 Jarvis Ave 304           Harbor Georgetown                 Unknown           Y
                                                                         Newark, CA 94560
        Spectrum Capital, LLC, a California limited liability company    6167 Jarvis Ave 304           BarUSA/$15,300,000                Unknown           Y
                                                                         Newark, CA 94560
        Spectrum Capital, LLC, a California limited liability company    6167 Jarvis Ave 304           Shamrock Tower, LP                Unknown           Y
                                                                         Newark, CA 94560
        Spectrum Capital, LLC, a California limited liability company    6167 Jarvis Ave 304           Eagle Meadows Development         Unknown           Y
                                                                         Newark, CA 94560
        Spectrum Capital, LLC, a California limited liability company    6167 Jarvis Ave 304           Brookmere/Matteson $27,050,000    Unknown           Y
                                                                         Newark, CA 94560
        Staci Kaiser, an unmarried woman                                 2348 Pickwick Dr              6425 Gess, LTD                    Unknown           Y
                                                                         Henderson, NV 89014
        Stacy Grant Trustee of The Stacy Grant Revocable Trust           934 E Grandview Rd            Lerin Hills                       Unknown           Y
                                                                         Phoenix, AZ 85022
        Stan C. Wolken, an unmarried man                                 598 Lariat Circle             Gramercy Court Condos             Unknown           Y
                                                                         Incline Village, NV 89451
        Stanley Belnap & Gloria Belnap, husband & wife, as joint tenants 9900 Fox Springs Drive        Amesbury/Hatters Point            Unknown           Y
        with right of survivorship                                       Las Vegas, NV 89117
        Stanley Belnap & Gloria Belnap, husband & wife, as joint tenants 9900 Fox Springs Drive        BarUSA/$15,300,000                Unknown           Y
        with right of survivorship                                       Las Vegas, NV 89117
        Stanley Belnap & Gloria Belnap, husband & wife, as joint tenants 9900 Fox Springs Drive        Fiesta Oak Valley                 Unknown           Y
        with right of survivorship                                       Las Vegas, NV 89117
        Stanley Belnap & Gloria Belnap, husband & wife, as joint tenants 9900 Fox Springs Drive        Fiesta USA/Stoneridge             Unknown           Y
        with right of survivorship                                       Las Vegas, NV 89117
        Stanley Belnap & Gloria Belnap, husband & wife, as joint tenants 9900 Fox Springs Drive        Brookmere/Matteson $27,050,000    Unknown           Y
        with right of survivorship                                       Las Vegas, NV 89117
        Stanley C. Germain & Dorothy Germain, husband & wife, as         P O Box 307                   Fiesta USA/Stoneridge             Unknown           Y
        joint tenants with right of survivorship                         Montrose, CA 91021
        Stanley C. Germain & Dorothy Germain, husband & wife, as         P O Box 307                   Gateway Stone                     Unknown           Y
        joint tenants with right of survivorship                         Montrose, CA 91021
        Stanley C. Germain & Dorothy Germain, husband & wife, as         P O Box 307                   Harbor Georgetown                 Unknown           Y
        joint tenants with right of survivorship                         Montrose, CA 91021
        Stanley C. Germain & Dorothy Germain, husband & wife, as         P O Box 307                   HFA- Clear Lake                   Unknown           Y
        joint tenants with right of survivorship                         Montrose, CA 91021
        Stanley C. Germain & Dorothy Germain, husband & wife, as         P O Box 307                   Bay Pompano Beach                 Unknown           Y
        joint tenants with right of survivorship                         Montrose, CA 91021
        Stanley C. Germain & Dorothy Germain, husband & wife, as         P O Box 307                   Brookmere/Matteson $27,050,000    Unknown           Y
        joint tenants with right of survivorship                         Montrose, CA 91021
        Stanley C. Witt & Lois J. Witt Trustees of the Stanley C. Witt & 3642 Broadwater Ave           HFA- North Yonkers                Unknown           Y
        Lois J. Witt Revocable Trust dated 4/13/92                       Billings, MT 59102
        Stanley Ferraro, a married man, Florence Ferraro, a married      2300 Airlands Street          Placer Vineyards                  Unknown           Y
        woman, and Mildred Fischermann, a single woman, all as joint     Las Vegas, NV 89134
        tenants with the right of survivorship
        Stanley Halfter & Dolores Halfter, Husband & Wife                2505 Desert Glen Drive        BarUSA/$15,300,000                Unknown           Y
                                                                         Las Vegas, NV 89134
        Stanley Halfter & Dolores Halfter, Husband & Wife                2505 Desert Glen Drive        BarUSA/$15,300,000                Unknown           Y
                                                                         Las Vegas, NV 89134




SCHEDULES                                                                             Exhibit B-21                                                    PAGE 237
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In re            USA Commercial Mortgage Company                       ,                                                                Case No. 06-10725-LBR
                                   Debtor                                                                                                            (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                             Description and Location of Property                                               Property


                                Legal vesting                                       Mailing Address                     Loan Name         Amount     Contingent
        Stanley Halfter & Dolores Halfter, Husband & Wife                 2505 Desert Glen Drive       Wasco Investments                 Unknown          Y
                                                                          Las Vegas, NV 89134
        Stanley Halfter & Dolores Halfter, Husband & Wife                 2505 Desert Glen Drive       Wasco Investments                 Unknown          Y
                                                                          Las Vegas, NV 89134
        Stanley Halfter & Dolores Halfter, Husband & Wife                 2505 Desert Glen Drive       Brookmere/Matteson $27,050,000    Unknown          Y
                                                                          Las Vegas, NV 89134
        Stanley Halfter & Dolores Halfter, Husband & Wife                 2505 Desert Glen Drive       Brookmere/Matteson $27,050,000    Unknown          Y
                                                                          Las Vegas, NV 89134
        Stanley Halfter a married man dealing with his sole & separate    2505 Desert Glen Drive       Gilroy                            Unknown          Y
        property                                                          Las Vegas, NV 89134
        Stanley Halfter a married man dealing with his sole & separate    2505 Desert Glen Drive       Gilroy                            Unknown          Y
        property                                                          Las Vegas, NV 89134
        Stanley J. Baldwin & Patricia A. Baldwin, husband & wife, as      44 Innisbrook Avenue         Placer Vineyards                  Unknown          Y
        joint tenants with right of survivorship                          Las Vegas, NV 89113
        Stanley L Hunewill and Janet Bliss Hunewill, Trustees of the J. & 200 Hunewill Lane            Bay Pompano Beach                 Unknown          Y
        S. Bliss/Hunewill 2004 Trust dated 8/27/04                        Wellington, NV 89444
        Stanley M. Novara Trustee under The Stanley M Novara Family 1010 Industrial Road Space 60      Bay Pompano Beach                 Unknown          Y
        Trust dated 11/12/04                                              Boulder City, NV 89005
        Stanley M. Novara Trustee under The Stanley M Novara Family 1010 Industrial Road Space 60      HFA- North Yonkers                Unknown          Y
        Trust dated 11/12/04                                              Boulder City, NV 89005
        Stanley M. Novara Trustee under The Stanley M Novara Family 1010 Industrial Road Space 60      Tapia Ranch                       Unknown          Y
        Trust dated 11/12/04                                              Boulder City, NV 89005
        Stanley Wilson & Camilla Wilson Trustees of the Stanley R.        5909 Bartlett Avenue         BarUSA/$15,300,000                Unknown          Y
        Wilson & Camilla M. Wilson Revocable Trust                        Las Vegas, NV 89108
        Stater Family Ltd Partnership                                     5760 Topaz Street            Bay Pompano Beach                 Unknown          Y
                                                                          Las Vegas, NV 89120
        Stater Family Ltd Partnership                                     5760 Topaz Street            Placer Vineyards                  Unknown          Y
                                                                          Las Vegas, NV 89120
        Stefan R. Cavin Trustee of the Stefan R. Cavin Revocable Living 508 N Clearpoint Way           Gateway Stone                     Unknown          Y
        Trust dated 05/26/2004                                            Eagle, ID 83616
        Stefan R. Cavin Trustee of the Stefan R. Cavin Revocable Living 508 N Clearpoint               Gateway Stone                     Unknown          Y
        Trust dated 05/26/2004                                            Eagle, ID 83616
        Stefan R. Cavin, an unmarried man                                 508 N Clearpoint Way         Fiesta Oak Valley                 Unknown          Y
                                                                          Eagle, ID 83616
        Stefan R. Cavin, an unmarried man                                 508 N Clearpoint             Fiesta Oak Valley                 Unknown          Y
                                                                          Eagle, ID 83616
        Steffi Fontana, an unmarried woman                                16400 Saybrook Lane # 111    Marlton Square                    Unknown          Y
                                                                          Huntington Beach, NV 92649
        Stella P. Ciadella Trustee of the Ciadella Living Trust dated     650 S Town Ctr Dr            6425 Gess, LTD                    Unknown          Y
        2/8/99                                                            Bldg 29 Apt #1114
                                                                          Las Vegas, NV 89144
        Stella P. Ciadella Trustee of the Ciadella Living Trust dated     650 S Town Ctr Dr            Harbor Georgetown                 Unknown          Y
        2/8/99                                                            Bldg 29 Apt #1114
                                                                          Las Vegas, NV 89144
        Stella P. Ciadella Trustee of the Ciadella Living Trust dated     650 S Town Ctr Dr            HFA- North Yonkers                Unknown          Y
        2/8/99                                                            Bldg 29 Apt #1114
                                                                          Las Vegas, NV 89144
        Stellar Innovations, Inc., a Texas corporation                    P O Box 292                  Amesbury/Hatters Point            Unknown          Y
                                                                          Belton, TX 76513
        Stephanie J. Snyder, an unmarried woman                           P O Box 11707                Anchor B, LLC                     Unknown          Y
                                                                          Zephyr Cove, NV 89448
        Stephanie J. Snyder, an unmarried woman                           P O Box 11707                HFA- Riviera 2nd                  Unknown          Y
                                                                          Zephyr Cove, NV 89448
        Stephanie J. Snyder, an unmarried woman                           P O Box 11707                Cabernet                          Unknown          Y
                                                                          Zephyr Cove, NV 89448
        Stephanie J. Snyder, an unmarried woman                           P O Box 11707                Goss Road                         Unknown          Y
                                                                          Zephyr Cove, NV 89448
        Stephanie K. Resley, an unmarried woman                           821 Valley Drive             Shamrock Tower, LP                Unknown          Y
                                                                          Manhattan Beach, CA 90266




SCHEDULES                                                                           Exhibit B-21                                                      PAGE 238
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In re            USA Commercial Mortgage Company                       ,                                                                   Case No. 06-10725-LBR
                                   Debtor                                                                                                               (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                             Description and Location of Property                                                  Property


                                Legal vesting                                        Mailing Address                       Loan Name         Amount     Contingent
        Stephen B. Polacheck Trustee of the Polacheck & Associates, Inc. 4719 Commons Way Ste E           Gilroy                            Unknown         Y
        Profit Sharing Plan dated 2/20/73                                 Calabasas, CA 91302
        Stephen B. Polacheck Trustee of the Polacheck & Associates, Inc. 4719 Commons Way Ste E           Tapia Ranch                       Unknown         Y
        Profit Sharing Plan dated 2/20/73                                 Calabasas, CA 91302
        Stephen B. Polacheck Trustee of the Polacheck & Associates, Inc. 4719 Commons Way Ste E           Fiesta Oak Valley                 Unknown         Y
        Profit Sharing Plan dated 2/20/73                                 Calabasas, CA 91302
        Stephen B. Polacheck Trustee of the Polacheck & Associates, Inc. 4719 Commons Way Ste E           HFA- North Yonkers                Unknown         Y
        Profit Sharing Plan dated 2/20/73                                 Calabasas, CA 91302
        Stephen B. Polacheck Trustee of the Polacheck & Associates, Inc. 4719 Commons Way Ste E           Placer Vineyards                  Unknown         Y
        Profit Sharing Plan dated 2/20/73                                 Calabasas, CA 91302
        Stephen C. Irwin, an unmarried man                                P. O. Box 7885                  6425 Gess, LTD                    Unknown         Y
                                                                          Mammoth Lakes, CA 93546
        Stephen C. Irwin, an unmarried man                                P. O. Box 7885                  Gramercy Court Condos             Unknown         Y
                                                                          Mammoth Lakes, CA 93546
        Stephen F. Sobesky, an unmarried man                              1118 Olmo                       BarUSA/$15,300,000                Unknown         Y
                                                                          Boulder City, NV 89005
        Stephen Frankel & Karen Frankel, joint tenants with right of      129 Arthur Street               Eagle Meadows Development         Unknown         Y
        survivorship                                                      Garden City, NY 11530
        Stephen L. Hawley & Sidney A. Hawley Trustees of the Hawley 4075 Losee Road                       Castaic Partners II, LLC          Unknown         Y
        Family Trust dated 8/15/96                                        North Las Vegas, NV 89030
        Stephen L. Hawley & Sidney A. Hawley Trustees of the Hawley 5405 Ireland St                       Castaic Partners II, LLC          Unknown         Y
        Family Trust dated 8/15/96                                        Las Vegas, NV 89149
        Stephen L. Hawley & Sidney A. Hawley Trustees of the Hawley 4075 Losee Road                       Castaic Partners II, LLC          Unknown         Y
        Family Trust dated 8/15/96                                        N. Las Vegas, NV 89030
        Stephen L. Hawley & Sidney A. Hawley Trustees of the Hawley 4075 Losee Road                       Castaic Partners II, LLC          Unknown         Y
        Family Trust dated 8/15/96                                        N Las Vegas, NV 89030
        Stephen L. Hawley & Sidney A. Hawley Trustees of the Hawley 4075 Losee Road                       Margarita Annex                   Unknown         Y
        Family Trust dated 8/15/96                                        North Las Vegas, NV 89030
        Stephen L. Hawley & Sidney A. Hawley Trustees of the Hawley 5405 Ireland St                       Margarita Annex                   Unknown         Y
        Family Trust dated 8/15/96                                        Las Vegas, NV 89149
        Stephen L. Hawley & Sidney A. Hawley Trustees of the Hawley 4075 Losee Road                       Margarita Annex                   Unknown         Y
        Family Trust dated 8/15/96                                        N. Las Vegas, NV 89030
        Stephen L. Hawley & Sidney A. Hawley Trustees of the Hawley 4075 Losee Road                       Margarita Annex                   Unknown         Y
        Family Trust dated 8/15/96                                        N Las Vegas, NV 89030
        Stephen L. Hawley & Sidney A. Hawley Trustees of the Hawley 4075 Losee Road                       HFA- North Yonkers                Unknown         Y
        Family Trust dated 8/15/96                                        North Las Vegas, NV 89030
        Stephen L. Hawley & Sidney A. Hawley Trustees of the Hawley 5405 Ireland St                       HFA- North Yonkers                Unknown         Y
        Family Trust dated 8/15/96                                        Las Vegas, NV 89149
        Stephen L. Hawley & Sidney A. Hawley Trustees of the Hawley 4075 Losee Road                       HFA- North Yonkers                Unknown         Y
        Family Trust dated 8/15/96                                        N. Las Vegas, NV 89030
        Stephen L. Hawley & Sidney A. Hawley Trustees of the Hawley 4075 Losee Road                       HFA- North Yonkers                Unknown         Y
        Family Trust dated 8/15/96                                        N Las Vegas, NV 89030
        Stephen L. Hawley & Sidney A. Hawley Trustees of the Hawley 4075 Losee Road                       6425 Gess, LTD                    Unknown         Y
        Family Trust dated 8/15/96                                        North Las Vegas, NV 89030
        Stephen L. Hawley & Sidney A. Hawley Trustees of the Hawley 5405 Ireland St                       6425 Gess, LTD                    Unknown         Y
        Family Trust dated 8/15/96                                        Las Vegas, NV 89149
        Stephen L. Hawley & Sidney A. Hawley Trustees of the Hawley 4075 Losee Road                       6425 Gess, LTD                    Unknown         Y
        Family Trust dated 8/15/96                                        N. Las Vegas, NV 89030
        Stephen L. Hawley & Sidney A. Hawley Trustees of the Hawley 4075 Losee Road                       6425 Gess, LTD                    Unknown         Y
        Family Trust dated 8/15/96                                        N Las Vegas, NV 89030
        Stephen L. Wilcox and Gail M. Wilcox, husband and wife, as        P O Box 1051                    Placer Vineyards                  Unknown         Y
        joint tenants with the right of survivorship                      Minden, NV 89423
        Stephen R. Lima and Paulette C. Lima, husband and wife, as joint 460 Wiskey Hill Rd               Marlton Square                    Unknown         Y
        tenants with the right of survivorship                            Watsonville, CA 95076
        Stephen S. Senfeld Trustee of the Stephen S. Senfeld Living Trust 16300 Golf Club Rd #807         Amesbury/Hatters Point            Unknown         Y
        dated 12/27/89                                                    Weston, FL 33326
        Stephen V. Kowalski & Maria T. Sutherland, husband and wife 29202 Posey Way                       Eagle Meadows Development         Unknown         Y
        as joint tenants with the right of survivorship                   Rancho Palos Verdes, CA 90275
        Stephen V. Kowalski & Maria T. Sutherland, husband and wife 29202 Posey Way                       Eagle Meadows Development         Unknown         Y
        as joint tenants with the right of survivorship                   Rancho Palos Verdes, CA 90275




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In re            USA Commercial Mortgage Company                     ,                                                                  Case No. 06-10725-LBR
                                   Debtor                                                                                                            (If known)




                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                             EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                           Description and Location of Property                                                 Property


                                Legal vesting                                    Mailing Address                        Loan Name         Amount     Contingent
        Sterling Tom Trustee of the Tom Trust                          213 Royal Aberdeen Way          Fiesta Oak Valley                 Unknown          Y
                                                                       Las Vegas, NV 89144
        Sterling Tom Trustee of the Tom Trust                          213 Royal Aberdeen Way          Marquis Hotel                     Unknown          Y
                                                                       Las Vegas, NV 89144
        Sterling Tom Trustee of the Tom Trust                          213 Royal Aberdeen Way          Placer Vineyards 2nd              Unknown          Y
                                                                       Las Vegas, NV 89144
        Sterling Trust Company Custodian For Betty R. Morris IRA       18532 Spicer Lake Court         Amesbury/Hatters Point            Unknown          Y
                                                                       Reno, NV 89506
        Sterling Trust Company Custodian For Larry E. Laub IRA         18532 Spicer Lake Court         Amesbury/Hatters Point            Unknown          Y
                                                                       Reno, NV 89506
        Sterling Trust Company Custodian For Larry E. Laub IRA         18532 Spicer Lake Court         Amesbury/Hatters Point            Unknown          Y
                                                                       Reno, NV 89506
        Sterling Trust Company Custodian for Richard F. Casey III, IRA P O Box 1578                    HFA- Clear Lake                   Unknown          Y
        #086082                                                        Los Gatos, CA 95031
        Sterling Trust Company Custodian for Richard F. Casey III, IRA P O Box 1578                    HFA- Clear Lake                   Unknown          Y
        #086082                                                        Los Gatos, CA 95031
        Steve H. Miller & Karen L. Miller, husband & wife, as joint    7527 E Passaro                  Hasley Canyon                     Unknown          Y
        tenants with right of survivorship                             Scottsdale, AZ 85262
        Steve Lindquist Trustee of the Steve Lindquist Charitable      43-524 Calle Espada             Gilroy                            Unknown          Y
        Remainder Unit Trust dated 9/9/96                              La Quinta, CA 92253
        Steve Lindquist Trustee of the Steve Lindquist Charitable      43-524 Calle Espada             Harbor Georgetown                 Unknown          Y
        Remainder Unit Trust dated 9/9/96                              La Quinta, CA 92253
        Steve Lindquist Trustee of the Steve Lindquist Charitable      43-524 Calle Espada             Placer Vineyards                  Unknown          Y
        Remainder Unit Trust dated 9/9/96                              La Quinta, CA 92253
        Steve Lindquist Trustee of the Steve Lindquist Charitable      43-524 Calle Espada             Tapia Ranch                       Unknown          Y
        Remainder Unit Trust dated 9/9/96                              La Quinta, CA 92253
        Steve Lindquist Trustee of the Steve Lindquist Charitable      43-524 Calle Espada             Wasco Investments                 Unknown          Y
        Remainder Unit Trust dated 9/9/96                              La Quinta, CA 92253
        Steven Anthony Fontana, Trustee of the Steven Anthony Fontana 262 Violet Note Street           Marlton Square                    Unknown          Y
        Trust, dtd 6/28/02                                             Henderson, NV 89074
        Steven B. Kaplan, a unmarried man                              1800 Glen View Drive            HFA- North Yonkers                Unknown          Y
                                                                       Las Vegas, NV 89134
        Steven B. Tomac & Laura J. Tomac, husband & wife, as joint     37 Panavista Circle             Gramercy Court Condos             Unknown          Y
        tenants with right of survivorship                             Yerrington, NV 89447
        Steven Barker, an unmarried man                                496 Brockway Road               Gilroy                            Unknown          Y
                                                                       Hopkinton, NH 3229
        Steven Barker, an unmarried man                                496 Brockway Road               Tapia Ranch                       Unknown          Y
                                                                       Hopkinton, NH 3229
        Steven Barker, an unmarried man                                496 Brockway Road               Wasco Investments                 Unknown          Y
                                                                       Hopkinton, NH 3229
        Steven G. Sapourn & Valerie K. Sapourn, husband & wife, as     774 Mays Blvd Ste #10 PMB 295   Wasco Investments                 Unknown          Y
        joint tenants with right of survivorship                       Incline Village, NV 89451
        Steven G. Sapourn & Valerie K. Sapourn, husband & wife, as     774 Mays Blvd #10-295           Wasco Investments                 Unknown          Y
        joint tenants with right of survivorship                       Incline Village, NV 89451
        Steven G. Sapourn & Valerie K. Sapourn, husband & wife, as     774 Mays Blvd Ste #10 PMB 295   Wasco Investments                 Unknown          Y
        joint tenants with right of survivorship                       Incline Village, NV 89451
        Steven G. Sapourn, a married man dealing with his sole &       774 Mays Blvd Ste #10 PMB 295   Opaque/Mt. Edge $7,350,000        Unknown          Y
        separate property                                              Incline Village, NV 89451
        Steven G. Sapourn, a married man dealing with his sole &       774 Mays Blvd #10-295           Opaque/Mt. Edge $7,350,000        Unknown          Y
        separate property                                              Incline Village, NV 89451
        Steven G. Sapourn, a married man dealing with his sole &       774 Mays Blvd Ste #10 PMB 295   Opaque/Mt. Edge $7,350,000        Unknown          Y
        separate property                                              Incline Village, NV 89451
        Steven G. Sapourn, a married man dealing with his sole &       774 Mays Blvd Ste #10 PMB 295   Fiesta Oak Valley                 Unknown          Y
        separate property                                              Incline Village, NV 89451
        Steven G. Sapourn, a married man dealing with his sole &       774 Mays Blvd #10-295           Fiesta Oak Valley                 Unknown          Y
        separate property                                              Incline Village, NV 89451
        Steven G. Sapourn, a married man dealing with his sole &       774 Mays Blvd Ste #10 PMB 295   Fiesta Oak Valley                 Unknown          Y
        separate property                                              Incline Village, NV 89451
        Steven G. Sapourn, a married man dealing with his sole &       774 Mays Blvd Ste #10 PMB 295   Brookmere/Matteson $27,050,000    Unknown          Y
        separate property                                              Incline Village, NV 89451




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In re            USA Commercial Mortgage Company                        ,                                                                      Case No. 06-10725-LBR
                                   Debtor                                                                                                                   (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                Current Market Value of
                                                                                                                                                  Debtor's Interest in
                                                            Description and Location of Property                                                       Property


                                Legal vesting                                       Mailing Address                    Loan Name                 Amount     Contingent
        Steven G. Sapourn, a married man dealing with his sole &       774 Mays Blvd #10-295           Brookmere/Matteson $27,050,000           Unknown         Y
        separate property                                              Incline Village, NV 89451
        Steven G. Sapourn, a married man dealing with his sole &       774 Mays Blvd Ste #10 PMB 295   Brookmere/Matteson $27,050,000           Unknown         Y
        separate property                                              Incline Village, NV 89451
        Steven K. Anderson Trustee of the Steven K. Anderson Family    1024 Nawkee Drive               Freeway 101                              Unknown         Y
        Trust dated 6/30/94                                            N Las Vegas, NV 89031
        Steven K. Anderson Trustee of the Steven K. Anderson Family    1024 Nawkee Drive               Placer Vineyards                         Unknown         Y
        Trust dated 6/30/94                                            N Las Vegas, NV 89031
        Steven K. Anderson Trustee of the Steven K. Anderson Family    1024 Nawkee Drive               Midvale Marketplace, LLC                 Unknown         Y
        Trust dated 6/30/94                                            N Las Vegas, NV 89031
        Steven K. Anderson Trustee of the Steven K. Anderson Family    1024 Nawkee Drive               Margarita Annex                          Unknown         Y
        Trust dated 6/30/94                                            N Las Vegas, NV 89031
        Steven K. Anderson Trustee of the Steven K. Anderson Family    1024 Nawkee Drive               Harbor Georgetown                        Unknown         Y
        Trust dated 6/30/94                                            N Las Vegas, NV 89031
        Steven K. Anderson Trustee of the Steven K. Anderson Family    1024 Nawkee Drive               6425 Gess, LTD                           Unknown         Y
        Trust dated 6/30/94                                            N Las Vegas, NV 89031
        Steven K. Anderson Trustee of the Steven K. Anderson Family    1024 Nawkee Drive               Gramercy Court Condos                    Unknown         Y
        Trust dated 6/30/94                                            N Las Vegas, NV 89031
        Steven K. Anderson Trustee of the Steven K. Anderson Family    1024 Nawkee Drive               Copper Sage Commerce Center, LLC         Unknown         Y
        Trust dated 6/30/94                                            N Las Vegas, NV 89031
        Steven M. Thomas & Joyce A. Thomas Trustees of the Steven M. 242 River Front Dr.               Marquis Hotel                            Unknown         Y
        Thomas & Joyce A. Thomas Revocable Trust dated 2/26/97         Reno, NV 89523
        Steven Marx & Shauna M. Marx Trustees of the Marx Family       5990 Thiros Circle              Anchor B, LLC                            Unknown         Y
        Trust                                                          Las Vegas, NV 89146
        Steven Marx & Shauna M. Marx Trustees of the Marx Family       5990 Thiros Circle              Riviera - Homes for America Holdings,    Unknown         Y
        Trust                                                          Las Vegas, NV 89146             L.L.C.
        Steven Melvin Terry and Margaret Worthen Terry Trustees of the 113 Worthen Circle              Bay Pompano Beach                        Unknown         Y
        Steven M. & Margaret W. Terry Trust Dated March 31, 1995       Las Vegas, NV 89145

        Steven Melvin Terry and Margaret Worthen Terry Trustees of the 113 Worthen Circle              Bay Pompano Beach                        Unknown         Y
        Steven M. & Margaret W. Terry Trust Dated March 31, 1995       Las Vegas, NV 89145

        Steven Melvin Terry and Margaret Worthen Terry Trustees of the 113 Worthen Circle              Wasco Investments                        Unknown         Y
        Steven M. & Margaret W. Terry Trust Dated March 31, 1995       Las Vegas, NV 89145

        Steven Melvin Terry and Margaret Worthen Terry Trustees of the 113 Worthen Circle              Wasco Investments                        Unknown         Y
        Steven M. & Margaret W. Terry Trust Dated March 31, 1995       Las Vegas, NV 89145

        Steven Melvin Terry and Margaret Worthen Terry Trustees of the 113 Worthen Circle              Eagle Meadows Development                Unknown         Y
        Steven M. & Margaret W. Terry Trust Dated March 31, 1995       Las Vegas, NV 89145

        Steven Melvin Terry and Margaret Worthen Terry Trustees of the 113 Worthen Circle              Eagle Meadows Development                Unknown         Y
        Steven M. & Margaret W. Terry Trust Dated March 31, 1995       Las Vegas, NV 89145

        Stewart Karlinsky a married man dealing with his sole and       55 Hallmark Circle             Gateway Stone                            Unknown         Y
        separate property & Mark Weissman a married man with his sole   Menlo Park, CA 94025
        and separate property, as joint tenants with the right of
        survivorship
        Stewart Karlinsky a married man dealing with his sole and       55 Hallmark Circle             Gateway Stone                            Unknown         Y
        separate property & Mark Weissman a married man with his sole   Menlo Park, CA 94025
        and separate property, as joint tenants with the right of
        survivorship
        Stewart Karlinsky a married man dealing with his sole and       55 Hallmark Circle             Gateway Stone                            Unknown         Y
        separate property & Mark Weissman a married man with his sole   Menlo Park, CA 94025
        and separate property, as joint tenants with the right of
        survivorship
        Stewart Karlinsky a married man dealing with his sole and       55 Hallmark Circle             Gateway Stone                            Unknown         Y
        separate property & Mark Weissman a married man with his sole   Menlo Park, CA 94025
        and separate property, as joint tenants with the right of
        survivorship




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In re            USA Commercial Mortgage Company                      ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                            Description and Location of Property                                              Property


                                Legal vesting                                      Mailing Address                    Loan Name          Amount    Contingent
        Stewart Karlinsky a married man dealing with his sole and       55 Hallmark Circle           Gramercy Court Condos             Unknown            Y
        separate property and Lee Katz a married woman dealing with her Menlo Park, CA 94025
        sole and separate property, as joint tenants with the right of
        survivorship
        Stewart Karlinsky a married man dealing with his sole and       55 Hallmark Circle           Gramercy Court Condos             Unknown            Y
        separate property and Lee Katz a married woman dealing with her Menlo Park, CA 94025
        sole and separate property, as joint tenants with the right of
        survivorship
        Stewart Karlinsky a married man dealing with his sole and       55 Hallmark Circle           Gramercy Court Condos             Unknown            Y
        separate property and Lee Katz a married woman dealing with her Menlo Park, CA 94025
        sole and separate property, as joint tenants with the right of
        survivorship
        Stewart Karlinsky a married man dealing with his sole and       55 Hallmark Circle           Gramercy Court Condos             Unknown            Y
        separate property and Lee Katz a married woman dealing with her Menlo Park, CA 94025
        sole and separate property, as joint tenants with the right of
        survivorship
        Stuart J. Madsen Trustee of the Stuart J. Madsen Trust dated    5843 Valle Vista Court       HFA- Riviera 2nd                  Unknown            Y
        9/7/00                                                          Granite Bay, CA 95746
        Stuart J. Madsen Trustee of the Stuart J. Madsen Trust dated    5843 Valle Vista Court       Marlton Square                    Unknown            Y
        9/7/00                                                          Granite Bay, CA 95746
        Stuart J. Ross, a married man dealing with his sole & separate  8512 Tuscany Ave #310        Placer Vineyards                  Unknown            Y
        property & Heather Goolsby, a married woman dealing with her Playa Del Rey, CA 90293
        sole & separate property, as joint tenants with right of
        survivorship
        Stuart M. Rosenstein & Deborah H. Rosenstein, husband and       10 Heathrow Court            Bay Pompano Beach                 Unknown            Y
        wife as joint tenants with rights of survivorship               Marlboro, NJ 7746
        Stuart M. Rosenstein & Deborah H. Rosenstein, husband and       10 Heathrow Court            Eagle Meadows Development         Unknown            Y
        wife as joint tenants with rights of survivorship               Marlboro, NJ 7746
        Stuart M. Rosenstein & Deborah H. Rosenstein, husband and       10 Heathrow Court            HFA- Clear Lake                   Unknown            Y
        wife as joint tenants with rights of survivorship               Marlboro, NJ 7746
        Suhayla Shahin, Trustee of The Suhayla Shahin Living Trust      19211 Chole Road             Marlton Square                    Unknown            Y
        dated 7-09-02                                                   Apple Valley, CA 92307
        Suksamarn C. Taylor, an unmarried woman                         4602 Neil Rd # 94            Eagle Meadows Development         Unknown            Y
                                                                        Reno, NV 89502
        Sumner R. Goldman, an unmarried man                             7294 Kahana Dr.              BarUSA/$15,300,000                Unknown            Y
                                                                        Boynton Beach, FL 33437
        Susan C. Grush, a single woman                                  24402 La Hermosa             Harbor Georgetown                 Unknown            Y
                                                                        Laguna Niguel, CA 92677
        Susan Cousins Harley Trustee of the Cousins Family Trust dated 6554 Cotsfield Ave            Amesbury/Hatters Point            Unknown            Y
        11/21/94                                                        Las Vegas, NV 89139
        Susan Cousins Harley Trustee of the Cousins Family Trust dated 6554 Cotsfield Ave            Marquis Hotel                     Unknown            Y
        11/21/94                                                        Las Vegas, NV 89139
        Susan F. Criste & Francis M. Criste, wife & husband, as joint   1406 Palm Ave.               Bay Pompano Beach                 Unknown            Y
        tenants with the right of survivorship                          San Mateo, CA 94412
        Susan F. Criste & Francis M. Criste, wife & husband, as joint   1406 Palm Ave.               Golden State Investments II       Unknown            Y
        tenants with the right of survivorship                          San Mateo, CA 94412
        Susan F. Gackenbach, Trustee of the Susan F. Stein Trust Dated P O Box 5339                  Gramercy Court Condos             Unknown            Y
        2/12/00                                                         Santa Barbara, CA 93150
        Susan F. Gackenbach, Trustee of the Susan F. Stein Trust Dated P O Box 5339                  Gramercy Court Condos             Unknown            Y
        2/12/00                                                         Santa Barbara, CA 93150
        Susan F. Reynolds, a single woman                               1619 Preston Park Drive      Amesbury/Hatters Point            Unknown            Y
                                                                        Henderson, NV 89052
        Susan M. Jones Trustee of the Cadd Family Living Trust dated    2116 Sand Point Rd           Huntsville                        Unknown            Y
        8/20/1996                                                       Discovery Bay, CA 94514
        Susan M. Jones Trustee of the Cadd Family Living Trust dated    2116 Sand Point Rd           Gilroy                            Unknown            Y
        8/20/1996                                                       Discovery Bay, CA 94514
        Susan M. Mack, an unmarried woman & Kelly Cooper, an            P O Box 123                  Freeway 101                       Unknown            Y
        unmarried man as joint tenants with right of survivorship       Underwood, WA 98651
        Susan M. Mack, an unmarried woman & Kelly Cooper, an            P O Box 123                  Gramercy Court Condos             Unknown            Y
        unmarried man as joint tenants with right of survivorship       Underwood, WA 98651




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In re            USA Commercial Mortgage Company                        ,                                                                     Case No. 06-10725-LBR
                                   Debtor                                                                                                                  (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                               Current Market Value of
                                                                                                                                                 Debtor's Interest in
                                                              Description and Location of Property                                                    Property


                                 Legal vesting                                      Mailing Address                    Loan Name                Amount     Contingent
        Susan M. Mack, an unmarried woman & Kelly Cooper, an            P O Box 123                   HFA- Windham                             Unknown         Y
        unmarried man as joint tenants with right of survivorship       Underwood, WA 98651
        Susan M. Mack, an unmarried woman & Kelly Cooper, an            P O Box 123                   Brookmere/Matteson $27,050,000           Unknown         Y
        unmarried man as joint tenants with right of survivorship       Underwood, WA 98651
        Susan P. Hall Trustee of the George W. Hall & Susan P. Hall     224 Stone Quarry Road         Fiesta USA/Stoneridge                    Unknown         Y
        Revocable Living Trust dated 10/26/01                           Westfield , PA 16950
        Susan Postigo, an unmarried woman                               160 Kane Dr                   Gramercy Court Condos                    Unknown         Y
                                                                        Hollister, CA 95023
        Suzanne Brehmer, a single woman                                 1235 White Avenue             Amesbury/Hatters Point                   Unknown         Y
                                                                        Grand Junction, CO 81501
        Suzanne Brehmer, a single woman                                 1235 White Avenue             Harbor Georgetown                        Unknown         Y
                                                                        Grand Junction, CO 81501
        Suzanne Brehmer, a single woman                                 1235 White Avenue             HFA-Clear Lake 2nd                       Unknown         Y
                                                                        Grand Junction, CO 81501
        Suzanne Brehmer, a single woman                                 1235 White Avenue             Marlton Square                           Unknown         Y
                                                                        Grand Junction, CO 81501
        Suzanne Brehmer, a single woman                                 1235 White Avenue             Marlton Square 2nd                       Unknown         Y
                                                                        Grand Junction, CO 81501
        Suzanne Brehmer, a single woman                                 1235 White Avenue             Tapia Ranch                              Unknown         Y
                                                                        Grand Junction, CO 81501
        Suzanne L. Arbogast, an unmarried woman                         1005 W Buffington St          Bay Pompano Beach                        Unknown         Y
                                                                        Upland, CA 91784
        Suzanne L. Arbogast, an unmarried woman                         1005 W Buffington St          Bay Pompano Beach                        Unknown         Y
                                                                        Upland , CA 91784
        Suzanne L. Arbogast, an unmarried woman                         1005 W Buffington St          Opaque/Mt. Edge $7,350,000               Unknown         Y
                                                                        Upland, CA 91784
        Suzanne L. Arbogast, an unmarried woman                         1005 W Buffington St          Opaque/Mt. Edge $7,350,000               Unknown         Y
                                                                        Upland , CA 91784
        Suzanne Liewer Trustee of the Suzanne Liewer 2000 Revocable     6 Eddystone Ct                HFA- Clear Lake                          Unknown         Y
        Trust dated 1/18/00                                             Redwood City, CA 94065
        Suzanne M. Halvorson Trustee of the Suzanne M. Halvorson        21820 Quartz Way              Eagle Meadows Development                Unknown         Y
        Trust dated 3/21/03                                             Wildomar, CA 92595
        Suzanne M. Halvorson Trustee of the Suzanne M. Halvorson        21820 Quartz Way              Fiesta Oak Valley                        Unknown         Y
        Trust dated 3/21/03                                             Wildomar, CA 92595
        Suzanne Nichols, an unmarried woman                             2561 Seascape Drive           Amesbury/Hatters Point                   Unknown         Y
                                                                        Las Vegas, NV 89123
        Suze Harrington, an unmarried woman                             2131 Connor Park Cove         Wasco Investments                        Unknown         Y
                                                                        Salt Lake City, UT 84109
        Suze Harrington, an unmarried woman                             2131 Connor Park Cove         Marlton Square                           Unknown         Y
                                                                        Salt Lake City, UT 84109
        Sven-Eric Levin & Linda Levin Co-Trustees of the Sven-Eric &    8000 Castle Pines Avenue      Gilroy                                   Unknown         Y
        Linda Levin 1994 Trust dated 04/22/94                           Las Vegas, NV 89113
        Sven-Eric Levin & Linda Levin Co-Trustees of the Sven-Eric &    8000 Castle Pines Avenue      Marlton Square 2nd                       Unknown         Y
        Linda Levin 1994 Trust dated 04/22/94                           Las Vegas, NV 89113
        Sven-Eric Levin & Linda Levin Co-Trustees of the Sven-Eric &    8000 Castle Pines Avenue      Placer Vineyards 2nd                     Unknown         Y
        Linda Levin 1994 Trust dated 04/22/94                           Las Vegas, NV 89113
        Sven-Eric Levin & Linda Levin Co-Trustees of the Sven-Eric &    8000 Castle Pines Avenue      Eagle Meadows Development                Unknown         Y
        Linda Levin 1994 Trust dated 04/22/94                           Las Vegas, NV 89113
        Sven-Eric Levin & Linda Levin Co-Trustees of the Sven-Eric &    8000 Castle Pines Avenue      Goss Road                                Unknown         Y
        Linda Levin 1994 Trust dated 04/22/94                           Las Vegas, NV 89113
        Sydney J. Siemens Trustee of the Sydney J. Siemens 1997         652 E Valerio Street          BarUSA/$15,300,000                       Unknown         Y
        Revocable Trust dated 5/23/97                                   Santa Barbara, CA 93103
        Sydney J. Siemens Trustee of the Sydney J. Siemens 1997         652 E Valerio Street          Riviera - Homes for America Holdings,    Unknown         Y
        Revocable Trust dated 5/23/97                                   Santa Barbara, CA 93103       L.L.C.
        Sydney J. Siemens Trustee of the Sydney J. Siemens 1997         652 E Valerio Street          Amesbury/Hatters Point                   Unknown         Y
        Revocable Trust dated 5/23/97                                   Santa Barbara, CA 93103
        Sydney Quinn, a married woman dealing with her sole and         P O Box 340                   Gateway Stone                            Unknown         Y
        separate property                                               Big Pine, CA 93513
        Sylvia Goldenthal & Jack Goldenthal, husband & wife, as joint   20155 NE 38th Ct Unit 1603    Eagle Meadows Development                Unknown         Y
        tenants with right of survivorship                              Aventura, FL 33180




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In re            USA Commercial Mortgage Company                        ,                                                              Case No. 06-10725-LBR
                                    Debtor                                                                                                          (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                              Description and Location of Property                                             Property


                                 Legal vesting                                      Mailing Address                    Loan Name          Amount    Contingent
        Sylvia Goldenthal & Jack Goldenthal, husband & wife, as joint   20155 NE 38th Ct Unit 1603    Lerin Hills                       Unknown            Y
        tenants with right of survivorship                              Aventura, FL 33180
        Sylvia Goldenthal & Jack Goldenthal, husband & wife, as joint   20155 NE 38th Ct Unit 1603    Marlton Square 2nd                Unknown            Y
        tenants with right of survivorship                              Aventura, FL 33180
        Sylvia M. Good Successor Trustee under the Sylvia M. Good       610 Cole Place                Marquis Hotel                     Unknown            Y
        Survivor's Trust established under the Sam Good Family Trust    Beverly Hills, CA 90210
        dated 6/25/86 as amended & restated 3/14/91
        Sylvia M. Good Successor Trustee under the Sylvia M. Good       610 Cole Place                Placer Vineyards                  Unknown            Y
        Survivor's Trust established under the Sam Good Family Trust    Beverly Hills, CA 90210
        dated 6/25/86 as amended & restated 3/14/91
        Sylvia M. Good Successor Trustee under the Sylvia M. Good       610 Cole Place                Shamrock Tower, LP                Unknown            Y
        Survivor's Trust established under the Sam Good Family Trust    Beverly Hills, CA 90210
        dated 6/25/86 as amended & restated 3/14/91
        Sylvia M. Good Successor Trustee under the Sylvia M. Good       610 Cole Place                Gramercy Court Condos             Unknown            Y
        Survivor's Trust established under the Sam Good Family Trust    Beverly Hills, CA 90210
        dated 6/25/86 as amended & restated 3/14/91
        Sylvia M. Good Successor Trustee under the Sylvia M. Good       610 Cole Place                Ashby Financial $7,200,000        Unknown            Y
        Survivor's Trust established under the Sam Good Family Trust    Beverly Hills, CA 90210
        dated 6/25/86 as amended & restated 3/14/91
        Sylvia M. Good Successor Trustee under the Sylvia M. Good       610 Cole Place                Fiesta Oak Valley                 Unknown            Y
        Survivor's Trust established under the Sam Good Family Trust    Beverly Hills, CA 90210
        dated 6/25/86 as amended & restated 3/14/91
        T. Claire Harper Trustee of the Harper Family Trust dated       541 West 2nd St               HFA- North Yonkers                Unknown            Y
        2/28/84                                                         Reno, NV 89503
        T. Claire Harper Trustee of the Harper Family Trust dated       541 West 2nd St               Margarita Annex                   Unknown            Y
        2/28/84                                                         Reno, NV 89503
        T. Claire Harper Trustee of the Harper Family Trust dated       541 West 2nd St               Huntsville                        Unknown            Y
        2/28/84                                                         Reno, NV 89503
        T. Claire Harper Trustee of the Harper Family Trust dated       541 West 2nd St               Gateway Stone                     Unknown            Y
        2/28/84                                                         Reno, NV 89503
        T. Claire Harper Trustee of the Harper Family Trust dated       541 West 2nd St               Bay Pompano Beach                 Unknown            Y
        2/28/84                                                         Reno, NV 89503
        T. Claire Harper Trustee of the Harper Family Trust dated       541 West 2nd St               Marquis Hotel                     Unknown            Y
        2/28/84                                                         Reno, NV 89503
        T. Claire Harper Trustee of the Harper Family Trust dated       541 West 2nd St               Gramercy Court Condos             Unknown            Y
        2/28/84                                                         Reno, NV 89503
        T. Claire Harper Trustee of the Harper Family Trust dated       541 West 2nd St               Clear Creek Plantation            Unknown            Y
        2/28/84                                                         Reno, NV 89503
        T. Dwight Sper & Bonnie J. Sper Trustees of the T.D.S.          1005 Cypress Ridge Lane       Ashby Financial $7,200,000        Unknown            Y
        Revocable Family Trust dated 9/29/98                            Las Vegas, NV 89144
        T. Dwight Sper & Bonnie J. Sper Trustees of the T.D.S.          1005 Cypress Ridge Lane       Marlton Square                    Unknown            Y
        Revocable Family Trust dated 9/29/98                            Las Vegas, NV 89144
        T. Dwight Sper & Bonnie J. Sper Trustees of the T.D.S.          1005 Cypress Ridge Lane       HFA- Windham                      Unknown            Y
        Revocable Family Trust dated 9/29/98                            Las Vegas, NV 89144
        T. Dwight Sper & Bonnie J. Sper Trustees of the T.D.S.          1005 Cypress Ridge Lane       Harbor Georgetown                 Unknown            Y
        Revocable Family Trust dated 9/29/98                            Las Vegas, NV 89144
        T. Dwight Sper & Bonnie J. Sper Trustees of the T.D.S.          1005 Cypress Ridge Lane       Gateway Stone                     Unknown            Y
        Revocable Family Trust dated 9/29/98                            Las Vegas, NV 89144
        T. Dwight Sper & Bonnie J. Sper Trustees of the T.D.S.          1005 Cypress Ridge Lane       Castaic Partners II, LLC          Unknown            Y
        Revocable Family Trust dated 9/29/98                            Las Vegas, NV 89144
        T. Dwight Sper & Bonnie J. Sper Trustees of the T.D.S.          1005 Cypress Ridge Lane       Fiesta USA/Stoneridge             Unknown            Y
        Revocable Family Trust dated 9/29/98                            Las Vegas, NV 89144
        T-2 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street               Harbor Georgetown                 Unknown            Y
                                                                        Sparks, NV 89431
        T-2 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street               Harbor Georgetown                 Unknown            Y
                                                                        Sparks, NV 89431
        T-2 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street               Harbor Georgetown                 Unknown            Y
                                                                        Sparks, NV 89431
        T-2 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street               Harbor Georgetown                 Unknown            Y
                                                                        Sparks, NV 89431




SCHEDULES                                                                            Exhibit B-21                                                     PAGE 244
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In re             USA Commercial Mortgage Company                       ,                                                              Case No. 06-10725-LBR
                                     Debtor                                                                                                         (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                                Description and Location of Property                                           Property


                                  Legal vesting                                      Mailing Address                 Loan Name            Amount    Contingent
        T-2 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                Harbor Georgetown                Unknown            Y
                                                                        Sparks, NV 89431
        T-2 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                6425 Gess, LTD                   Unknown            Y
                                                                        Sparks, NV 89431
        T-2 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                6425 Gess, LTD                   Unknown            Y
                                                                        Sparks, NV 89431
        T-2 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                6425 Gess, LTD                   Unknown            Y
                                                                        Sparks, NV 89431
        T-2 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                6425 Gess, LTD                   Unknown            Y
                                                                        Sparks, NV 89431
        T-2 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                6425 Gess, LTD                   Unknown            Y
                                                                        Sparks, NV 89431
        T-2 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                Shamrock Tower, LP               Unknown            Y
                                                                        Sparks, NV 89431
        T-2 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                Shamrock Tower, LP               Unknown            Y
                                                                        Sparks, NV 89431
        T-2 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                Shamrock Tower, LP               Unknown            Y
                                                                        Sparks, NV 89431
        T-2 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                Shamrock Tower, LP               Unknown            Y
                                                                        Sparks, NV 89431
        T-2 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                Shamrock Tower, LP               Unknown            Y
                                                                        Sparks, NV 89431
        T-3 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                Shamrock Tower, LP               Unknown            Y
                                                                        Sparks, NV 89431
        T-3 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                Shamrock Tower, LP               Unknown            Y
                                                                        Sparks, NV 89431
        T-3 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                Shamrock Tower, LP               Unknown            Y
                                                                        Sparks, NV 89431
        T-3 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                Shamrock Tower, LP               Unknown            Y
                                                                        Sparks, NV 89431
        T-3 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                Shamrock Tower, LP               Unknown            Y
                                                                        Sparks, NV 89431
        T-3 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                6425 Gess, LTD                   Unknown            Y
                                                                        Sparks, NV 89431
        T-3 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                6425 Gess, LTD                   Unknown            Y
                                                                        Sparks, NV 89431
        T-3 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                6425 Gess, LTD                   Unknown            Y
                                                                        Sparks, NV 89431
        T-3 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                6425 Gess, LTD                   Unknown            Y
                                                                        Sparks, NV 89431
        T-3 Enterprises, LLC. Manager, Warren W. Tripp                  250 Greg Street                6425 Gess, LTD                   Unknown            Y
                                                                        Sparks, NV 89431
        Tad Stephen & Diane Stephen, husband & wife, as joint tenants   120 E South Ave                Fiesta Oak Valley                Unknown            Y
        with right of survivorship                                      Redlands, CA 92373
        Tamara Dias Trustee of the Helms Grandchildren Educational      1316 Sonia Court               Placer Vineyards                 Unknown            Y
        Trust For the Benefit of Jarod Dias dated 7/21/98               Vista , CA 92084
        Tamara Dias Trustee of the Separate Property Trust of Tamara    1316 Sonia Court               Placer Vineyards                 Unknown            Y
        Dias dated 12/04/00                                             Vista , CA 92084
        Tamara M. Johnson, a single woman                               310 Parkhurst Dr               Marlton Square 2nd               Unknown            Y
                                                                        Caldwell, ID 83605
        Tamra A. Mamuad, a married woman as her sole and separate       7935 Placid Street             HFA- Clear Lake                  Unknown            Y
        property                                                        Las Vegas, NV 89123
        Tara Sindler, dealing with her sole and separate property       2112 Plaza Del Fuentes         HFA- Clear Lake                  Unknown            Y
                                                                        Las Vegas, NV 89102
        Tara Sindler, dealing with her sole and separate property       2112 Plaza Del Fuentes         HFA- Clear Lake                  Unknown            Y
                                                                        Las Vegas, NV 89102
        Tara Sindler, dealing with her sole and separate property       2112 Plaza Del Fuentes         HFA- Clear Lake                  Unknown            Y
                                                                        Las Vegas, NV 89102
        Tara Sindler, dealing with her sole and separate property       2112 Plaza Del Fuentes         HFA- Clear Lake                  Unknown            Y
                                                                        Las Vegas, NV 89102




SCHEDULES                                                                            Exhibit B-21                                                     PAGE 245
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In re             USA Commercial Mortgage Company                        ,                                                              Case No. 06-10725-LBR
                                     Debtor                                                                                                          (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                                 Description and Location of Property                                           Property


                                  Legal vesting                                      Mailing Address                     Loan Name        Amount     Contingent
        Tara Sindler, dealing with her sole and separate property        2112 Plaza Del Fuentes         Amesbury/Hatters Point           Unknown           Y
                                                                         Las Vegas, NV 89102
        Tara Sindler, dealing with her sole and separate property        2112 Plaza Del Fuentes         Amesbury/Hatters Point           Unknown           Y
                                                                         Las Vegas, NV 89102
        Tara Sindler, dealing with her sole and separate property        2112 Plaza Del Fuentes         Amesbury/Hatters Point           Unknown           Y
                                                                         Las Vegas, NV 89102
        Tara Sindler, dealing with her sole and separate property        2112 Plaza Del Fuentes         Amesbury/Hatters Point           Unknown           Y
                                                                         Las Vegas, NV 89102
        Taylor Samuels Trustee of the Samuels 1999 Trust                 198 Concho Drive               Tapia Ranch                      Unknown           Y
                                                                         Reno, NV 89521
        Taylor Samuels Trustee of the Samuels 1999 Trust                 198 Concho Drive               Tapia Ranch                      Unknown           Y
                                                                         Reno, NV 89521
        Taylor Samuels Trustee of the Samuels 1999 Trust                 198 Concho Drive               HFA- North Yonkers               Unknown           Y
                                                                         Reno, NV 89521
        Taylor Samuels Trustee of the Samuels 1999 Trust                 198 Concho Drive               HFA- North Yonkers               Unknown           Y
                                                                         Reno, NV 89521
        Taylor Samuels Trustee of the Samuels 1999 Trust                 198 Concho Drive               Golden State Investments II      Unknown           Y
                                                                         Reno, NV 89521
        Taylor Samuels Trustee of the Samuels 1999 Trust                 198 Concho Drive               Golden State Investments II      Unknown           Y
                                                                         Reno, NV 89521
        Taylor Samuels Trustee of the Samuels 1999 Trust                 198 Concho Drive               Bay Pompano Beach                Unknown           Y
                                                                         Reno, NV 89521
        Taylor Samuels Trustee of the Samuels 1999 Trust                 198 Concho Drive               Bay Pompano Beach                Unknown           Y
                                                                         Reno, NV 89521
        Taylor Samuels Trustee of the Samuels 1999 Trust                 198 Concho Drive               6425 Gess, LTD                   Unknown           Y
                                                                         Reno, NV 89521
        Taylor Samuels Trustee of the Samuels 1999 Trust                 198 Concho Drive               6425 Gess, LTD                   Unknown           Y
                                                                         Reno, NV 89521
        Terence C. Honikman & Jane I Honikman, Trustees of the           927 N Kellogg Ave.             Eagle Meadows Development        Unknown           Y
        Honikman 1992 Trust dated 12/28/92                               Santa Barbara, CA 93111
        Terence C. Honikman & Jane I Honikman, Trustees of the           927 N Kellogg Ave.             Marlton Square                   Unknown           Y
        Honikman 1992 Trust dated 12/28/92                               Santa Barbara, CA 93111
        Teresa Anne Bell Trustee of the Teresa Anne Bell Living Trust    1944 Grey Eagle St             Fiesta USA/Stoneridge            Unknown           Y
                                                                         Henderson, NV 89074
        Teresa Anne Bell Trustee of the Teresa Anne Bell Living Trust    1944 Grey Eagle St             Placer Vineyards                 Unknown           Y
                                                                         Henderson, NV 89074
        Teresa Conger, an unmarried woman                                13108 Woodstock Drive          Marlton Square                   Unknown           Y
                                                                         Nevada City, CA 95959
        Teresa G. Zeller Trustee of the Teresa G. Zeller Trust           2920 Whalers Cove Circle       Placer Vineyards                 Unknown           Y
                                                                         Las Vegas, NV 89117
        Teresa G. Zeller Trustee of the Teresa G. Zeller Trust           2920 Whalers Cove Circle       6425 Gess, LTD                   Unknown           Y
                                                                         Las Vegas, NV 89117
        Teresa G. Zeller Trustee of the Teresa G. Zeller Trust           2920 Whalers Cove Circle       Eagle Meadows Development        Unknown           Y
                                                                         Las Vegas, NV 89117
        Teresa H. Lee, Trustee of the William W. Lee & Teresa H. Lee     9050 Double R Blvd Unit 421    Gateway Stone                    Unknown           Y
        2003 Family Trust Agreement dated 6/26/03                        Reno, NV 89521
        Teri E. Nelson, a single woman                                   465 Puesta Del Sol             Wasco Investments                Unknown           Y
                                                                         Arroyo Grande, CA 93420
        Teri L. Melvin, a single woman                                   2704 Chokecherry Way           Bay Pompano Beach                Unknown           Y
                                                                         Henderson, NV 89014
        Teri L. Melvin, a single woman                                   2704 Chokecherry Way           Fiesta Oak Valley                Unknown           Y
                                                                         Henderson, NV 89014
        Teri L. Melvin, a single woman                                   2704 Chokecherry Way           Harbor Georgetown                Unknown           Y
                                                                         Henderson, NV 89014
        Teri L. Melvin, a single woman                                   2704 Chokecherry Way           Opaque/Mt. Edge $7,350,000       Unknown           Y
                                                                         Henderson, NV 89014
        Terrance E. Reay and Debra L. Barnes Reay, husband and wife,     25 Mainsail Drive              Gateway Stone                    Unknown           Y
        as Joint Tenants with Right of Survivorship                      Corona Del Mar, CA 92625
        Terrance H. Smith, a single man                                  22 Pelican Place               Shamrock Tower, LP               Unknown           Y
                                                                         Belle Air, FL 33756




SCHEDULES                                                                             Exhibit B-21                                                    PAGE 246
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In re            USA Commercial Mortgage Company                        ,                                                             Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                            Description and Location of Property                                              Property


                                Legal vesting                                      Mailing Address                    Loan Name          Amount    Contingent
        Terrence D. Conrad and Doreen C. Conrad, husband and wife, as   8035 North Casas Carmen      HFA- North Yonkers                Unknown            Y
        joint tenants with the right of survivorship                    Tucson, AZ 85742
        Terrence D. Conrad and Doreen C. Conrad, husband and wife, as   8035 North Casas Carmen      Tapia Ranch                       Unknown            Y
        joint tenants with the right of survivorship                    Tucson, AZ 85742
        Terrence Johnson, an unmarried man                              1739 Sand Storm Drive        HFA- Riviera 2nd                  Unknown            Y
                                                                        Henderson, NV 89074
        Terry A. Zimmerman Trustee of the Terry Audbrey Zimmerman 2274 Trafalgar Court               Bay Pompano Beach                 Unknown            Y
        Living Trust dated 9/4/90                                       Henderson, NV 89014
        Terry A. Zimmerman Trustee of the Terry Audbrey Zimmerman 2274 Trafalgar Court               HFA- Clear Lake                   Unknown            Y
        Living Trust dated 9/4/90                                       Henderson, NV 89014
        Terry A. Zimmerman Trustee of the Terry Audbrey Zimmerman 2274 Trafalgar Court               Tapia Ranch                       Unknown            Y
        Living Trust dated 9/4/90                                       Henderson, NV 89014
        Terry Bombard Trustee of the Terry Bombard 1998 Trust dated 3570 W Post Road                 Bay Pompano Beach                 Unknown            Y
        1/23/98                                                         Las Vegas, NV 89118
        Terry Coffing, a married man dealing with his sole and separate 10001 Park Run Dr            Lerin Hills                       Unknown            Y
        property                                                        Las Vegas, NV 89145
        Terry Helms Trustee of the Terry Helms Living Trust dated       809 Upland Blvd              Gramercy Court Condos             Unknown            Y
        11/11/94                                                        Las Vegas, NV 89107
        Terry Helms Trustee of the Terry Helms Living Trust dated       809 Upland Blvd              HFA- Clear Lake                   Unknown            Y
        11/11/94                                                        Las Vegas, NV 89107
        Terry Helms Trustee of the Terry Helms Living Trust dated       809 Upland Blvd              Marlton Square                    Unknown            Y
        11/11/94                                                        Las Vegas, NV 89107
        Terry Helms Trustee of the Terry Helms Living Trust dated       809 Upland Blvd              Placer Vineyards                  Unknown            Y
        11/11/94                                                        Las Vegas, NV 89107
        Terry Helms Trustee of the Terry Helms Living Trust dated       809 Upland Blvd              6425 Gess, LTD                    Unknown            Y
        11/11/94                                                        Las Vegas, NV 89107
        Terry L. Hansen Trustee of the Terry L. Hansen Revocable        P O Box 458                  Eagle Meadows Development         Unknown            Y
        Living Trust dated 9/25/03                                      Sparks, NV 89432
        Terry L. Hansen Trustee of the Terry L. Hansen Revocable        P O Box 458                  HFA- Windham                      Unknown            Y
        Living Trust dated 9/25/03                                      Sparks, NV 89432
        Terry Markwell & Christiane Markwell Trustees of the Markwell 12765 Silver Wolf Rd           Fiesta Oak Valley                 Unknown            Y
        Family Trust                                                    Reno, NV 89511
        Terry Markwell & Christiane Markwell Trustees of the Markwell 12765 Silver Wolf Rd           Fiesta Oak Valley                 Unknown            Y
        Family Trust                                                    Reno, NV 89511
        Terry Markwell & Christiane Markwell Trustees of the Markwell 12765 Silver Wolf Rd           Eagle Meadows Development         Unknown            Y
        Family Trust                                                    Reno, NV 89511
        Terry Markwell & Christiane Markwell Trustees of the Markwell 12765 Silver Wolf Rd           Eagle Meadows Development         Unknown            Y
        Family Trust                                                    Reno, NV 89511
        Terry Markwell Trustee of theTerry Markwell Profit Sharing Plan 12765 Silver Wolf Rd         Placer Vineyards                  Unknown            Y
        & Trust                                                         Reno, NV 89511
        Terry Markwell Trustee of theTerry Markwell Profit Sharing Plan 12765 Silver Wolf Rd         Placer Vineyards                  Unknown            Y
        & Trust                                                         Reno, NV 89511
        Terry Markwell Trustee of theTerry Markwell Profit Sharing Plan 12765 Silver Wolf Rd         Bay Pompano Beach                 Unknown            Y
        & Trust                                                         Reno, NV 89511
        Terry Markwell Trustee of theTerry Markwell Profit Sharing Plan 12765 Silver Wolf Rd         Bay Pompano Beach                 Unknown            Y
        & Trust                                                         Reno, NV 89511
        Terry Markwell Trustee of theTerry Markwell Profit Sharing Plan 12765 Silver Wolf Rd         Eagle Meadows Development         Unknown            Y
        & Trust                                                         Reno, NV 89511
        Terry Markwell Trustee of theTerry Markwell Profit Sharing Plan 12765 Silver Wolf Rd         Eagle Meadows Development         Unknown            Y
        & Trust                                                         Reno, NV 89511
        TGBA Properties                                                 6223 Buffalo Run             Margarita Annex                   Unknown            Y
                                                                        Littleton, CO 80125
        TGBA Properties                                                 6223 Buffalo Run             Margarita Annex                   Unknown            Y
                                                                        Littleton, CO 80125
        TGBA Properties                                                 6223 Buffalo Run             Margarita Annex                   Unknown            Y
                                                                        Littleton, CO 80125
        TGBA Properties                                                 6223 Buffalo Run             Margarita Annex                   Unknown            Y
                                                                        Littleton, CO 80125
        TGBA Properties                                                 6223 Buffalo Run             Gramercy Court Condos             Unknown            Y
                                                                        Littleton, CO 80125




SCHEDULES                                                                           Exhibit B-21                                                     PAGE 247
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In re             USA Commercial Mortgage Company                       ,                                                                           Case No. 06-10725-LBR
                                    Debtor                                                                                                                       (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                     Current Market Value of
                                                                                                                                                       Debtor's Interest in
                                                               Description and Location of Property                                                         Property


                                 Legal vesting                                       Mailing Address                             Loan Name            Amount     Contingent
        TGBA Properties                                                 6223 Buffalo Run                         Gramercy Court Condos               Unknown         Y
                                                                        Littleton, CO 80125
        TGBA Properties                                                 6223 Buffalo Run                         Gramercy Court Condos               Unknown         Y
                                                                        Littleton, CO 80125
        TGBA Properties                                                 6223 Buffalo Run                         Gramercy Court Condos               Unknown         Y
                                                                        Littleton, CO 80125
        TGBA Properties                                                 6223 Buffalo Run                         Copper Sage Commerce Center, LLC    Unknown         Y
                                                                        Littleton, CO 80125
        TGBA Properties                                                 6223 Buffalo Run                         Copper Sage Commerce Center, LLC    Unknown         Y
                                                                        Littleton, CO 80125
        TGBA Properties                                                 6223 Buffalo Run                         Copper Sage Commerce Center, LLC    Unknown         Y
                                                                        Littleton, CO 80125
        TGBA Properties                                                 6223 Buffalo Run                         Copper Sage Commerce Center, LLC    Unknown         Y
                                                                        Littleton, CO 80125
        Thalia Nicholas Routsis Trustee of the Thalia Routsis Family    P O Box 4311                             Bay Pompano Beach                   Unknown         Y
        Trust dated 7/24/90                                             Incline Village, NV 89450
        Thalia Nicholas Routsis Trustee of the Thalia Routsis Family    P O Box 4311                             Fiesta Oak Valley                   Unknown         Y
        Trust dated 7/24/90                                             Incline Village, NV 89450
        Thalia Nicholas Routsis Trustee of the Thalia Routsis Family    P O Box 4311                             HFA- Windham                        Unknown         Y
        Trust dated 7/24/90                                             Incline Village, NV 89450
        The Baltes Company, a Michigan Corporation                      211 Copper Ridge Court                   Marlton Square 2nd                  Unknown         Y
                                                                        Boulder City, NV 89005
        The Baltes Company, a Michigan Corporation                      211 Copper Ridge Court                   Marlton Square 2nd                  Unknown         Y
                                                                        Boulder City, NV 89005
        The Durand Jensen Ltd Family Partnership, Harold E. & Norma     PO Box 420161                            Eagle Meadows Development           Unknown         Y
        Lea Jensen G.P.                                                 Kanarraville, UT 84742
        The Janet L. Leedham Revocable Trust, dtd 12/21/98, Janet L.    Realty Executives, Attn: Janet Leedham   Marquis Hotel                       Unknown         Y
        Leedham, TTEE                                                   10750 W Charleston Blvd, Ste 180
                                                                        Las Vegas, NV 89135
        The Mark Combs Pension & Profit Sharing Plans                   4790 Caughlin Parkway                    Golden State Investments II         Unknown         Y
                                                                        Reno, NV 89509
        The Sherriff Family, LLC, a Nevada limited liability company    774 Mays Blvd 10 PMB 313                 Brookmere/Matteson $27,050,000      Unknown         Y
                                                                        Incline Village, NV 89451
        The Sisk Family Foundation, Daryl B. Sisk, Trustee              1813 E Cranberry Way                     Eagle Meadows Development           Unknown         Y
                                                                        Springville, UT 84663
        The Sisk Family Foundation, Tommie W. Sisk Trustee              164 E 4635 N                             6425 Gess, LTD                      Unknown         Y
                                                                        Provo, UT 84604
        The Sisk Family Foundation, Tommie W. Sisk Trustee              164 East 4635 North                      6425 Gess, LTD                      Unknown         Y
                                                                        Provo, UT 84604
        The Wild Water Limited Partnership, a Nevada limited            P O Box 9288                             Castaic Partners II, LLC            Unknown         Y
        partnership                                                     Incline Village, NV 89452
        The Wild Water Limited Partnership, a Nevada limited            P O Box 7804                             Castaic Partners II, LLC            Unknown         Y
        partnership                                                     Incline Village, NV 89452
        The Wild Water Limited Partnership, a Nevada limited            P. O. Box 7804                           Castaic Partners II, LLC            Unknown         Y
        partnership                                                     Incline Village, NV 89452
        Theodora Gottwald, an unmarried woman                           P O Box 16532                            Huntsville                          Unknown         Y
                                                                        San Francisco, CA 94116
        Theodore J. Fuller, President of the Fuller Family Foundation   P. O. Box 7800                           Castaic Partners II, LLC            Unknown         Y
                                                                        Incline Village, NV 89452
        Theodore J. Fuller, President of the Fuller Family Foundation   C/O Ashley Quinn CPA'S                   Castaic Partners II, LLC            Unknown         Y
                                                                        P O Box 7800
                                                                        Incline Village, NV 89452
        Theodore J. Fuller, President of the Fuller Family Foundation   P. O. Box 7800                           Midvale Marketplace, LLC            Unknown         Y
                                                                        Incline Village, NV 89452
        Theodore J. Fuller, President of the Fuller Family Foundation   C/O Ashley Quinn CPA'S                   Midvale Marketplace, LLC            Unknown         Y
                                                                        P O Box 7800
                                                                        Incline Village, NV 89452
        Theodore S. Saulino and Alicia Saulino, husband and wife as     11720 Capri Drive                        Eagle Meadows Development           Unknown         Y
        joint tenants with the right of survivorship                    Whittier, CA 90601




SCHEDULES                                                                             Exhibit B-21                                                                PAGE 248
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In re            USA Commercial Mortgage Company                   ,                                                                    Case No. 06-10725-LBR
                                   Debtor                                                                                                            (If known)




                                                                  SCHEDULE B - PERSONAL PROPERTY
                                                                           EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                          Description and Location of Property                                                  Property


                                Legal vesting                                  Mailing Address                        Loan Name           Amount     Contingent
        Theresa M. Farrah, a single woman                            1410 Murchison Drive            Eagle Meadows Development           Unknown          Y
                                                                     Millbrae, CA 94030
        Third Party Nevada Services                                  6825 Antler Court               Marlton Square                      Unknown          Y
                                                                     Las Vegas, NV 89149
        Thomas A. Brunton & Grace M. Brunton Trustees of the T & G P. O. Box 11949                   Gilroy                              Unknown          Y
        Brunton Trust dated 7/30/97                                  Zephyr Cove, NV 89448
        Thomas A. C. Arnott Trustee of the Thomas A.C. Arnott        3839 Mariposa Drive             Marlton Square                      Unknown          Y
        Revocable Trust dated 11/9/02                                Honolulu, HI 96816
        Thomas Avena & Cindy Avena, husband & wife, as joint tenants 235 Mountain View Dr            Fiesta USA/Stoneridge               Unknown          Y
        with right of survivorship                                   Swall MeadowsBishop, CA 93514
        Thomas Avena & Cindy Avena, husband & wife, as joint tenants 235 Mountain View Dr            Marquis Hotel                       Unknown          Y
        with right of survivorship                                   Swall MeadowsBishop, CA 93514
        Thomas Avena & Cindy Avena, husband & wife, as joint tenants 235 Mountain View Dr            Placer Vineyards 2nd                Unknown          Y
        with right of survivorship                                   Swall MeadowsBishop, CA 93514
        Thomas B. Harrison & Marguerite F. Harrison Trustees of the  930 Dorcey Drive                Freeway 101                         Unknown          Y
        Harrison Family Trust dated 7/27/99                          Incline Village, NV 89451
        Thomas B. Harrison & Marguerite F. Harrison Trustees of the  930 Dorcey Drive                Gilroy                              Unknown          Y
        Harrison Family Trust dated 7/27/99                          Incline Village, NV 89451
        Thomas B. Harrison & Marguerite F. Harrison Trustees of the  930 Dorcey Drive                Tapia Ranch                         Unknown          Y
        Harrison Family Trust dated 7/27/99                          Incline Village, NV 89451
        Thomas B. Harrison & Marguerite F. Harrison Trustees of the  930 Dorcey Drive                Wasco Investments                   Unknown          Y
        Harrison Family Trust dated 7/27/99                          Incline Village, NV 89451
        Thomas C. Eastland and Christiana Eastland, Trustees of the  172 Belle Ave.                  Clear Creek Plantation              Unknown          Y
        Eastland Joint Living Trust dated 10/8/01                    Pleasant Hill, CA 94523
        Thomas D. Lynch President of The Thomas D. Lynch Family      2511 Harmony Grove Rd           Gramercy Court Condos               Unknown          Y
        Foundation                                                   Escondito, CA 92029
        Thomas D. Lynch President of The Thomas D. Lynch Family      1011 Armadillo Court            Gramercy Court Condos               Unknown          Y
        Foundation                                                   Henderson, NV 89015
        Thomas D. Lynch President of The Thomas D. Lynch Family      1011 Armadillo Ct               Gramercy Court Condos               Unknown          Y
        Foundation                                                   Henderson, NV 89015
        Thomas D. Lynch President of The Thomas D. Lynch Family      2511 Harmony Grove Rd           Copper Sage Commerce Center, LLC    Unknown          Y
        Foundation                                                   Escondito, CA 92029
        Thomas D. Lynch President of The Thomas D. Lynch Family      1011 Armadillo Court            Copper Sage Commerce Center, LLC    Unknown          Y
        Foundation                                                   Henderson, NV 89015
        Thomas D. Lynch President of The Thomas D. Lynch Family      1011 Armadillo Ct               Copper Sage Commerce Center, LLC    Unknown          Y
        Foundation                                                   Henderson, NV 89015
        Thomas D. Lynch Trustee of The Thomas D. Lynch 1995          2511 Harmony Grove Rd           Placer Vineyards                    Unknown          Y
        Revocable Living Trust                                       Escondito, CA 92029
        Thomas D. Lynch Trustee of The Thomas D. Lynch 1995          1011 Armadillo Court            Placer Vineyards                    Unknown          Y
        Revocable Living Trust                                       Henderson, NV 89015
        Thomas D. Lynch Trustee of The Thomas D. Lynch 1995          1011 Armadillo Ct               Placer Vineyards                    Unknown          Y
        Revocable Living Trust                                       Henderson, NV 89015
        Thomas Di Jorio & Antonette Di Jorio, husband & wife         30249 N 49 Place                6425 Gess, LTD                      Unknown          Y
                                                                     Cave Creek, AZ 85331
        Thomas Di Jorio & Antonette Di Jorio, husband & wife         30249 N 49 Place                6425 Gess, LTD                      Unknown          Y
                                                                     Cave Creek, AZ 85331
        Thomas Di Jorio & Antonette Di Jorio, husband & wife         30249 N 49 Place                Gateway Stone                       Unknown          Y
                                                                     Cave Creek, AZ 85331
        Thomas Di Jorio & Antonette Di Jorio, husband & wife         30249 N 49 Place                Gateway Stone                       Unknown          Y
                                                                     Cave Creek, AZ 85331
        Thomas Di Jorio, an unmarried man                            30249 N 49 Place                Amesbury/Hatters Point              Unknown          Y
                                                                     Cave Creek, AZ 85331
        Thomas Di Jorio, an unmarried man                            30249 N 49 Place                Amesbury/Hatters Point              Unknown          Y
                                                                     Cave Creek, AZ 85331
        Thomas E. Bishofberger & Betty Bishofberger Trustees of the  2176 Tiger Willow Drive         Freeway 101                         Unknown          Y
        Bishofberger Char. Rem. Trust UAD 11/3/94                    Henderson, NV 89012
        Thomas E. Bishofberger & Betty Bishofberger Trustees of the  2176 Tiger Willow Drive         Freeway 101                         Unknown          Y
        Bishofberger Char. Rem. Trust UAD 11/3/94                    Henderson, NV 89012
        Thomas E. Bishofberger & Betty Bishofberger Trustees of the  2176 Tiger Willow               Freeway 101                         Unknown          Y
        Bishofberger Char. Rem. Trust UAD 11/3/94                    Henderson, NV 89012




SCHEDULES                                                                       Exhibit B-21                                                          PAGE 249
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In re            USA Commercial Mortgage Company                         ,                                                              Case No. 06-10725-LBR
                                   Debtor                                                                                                            (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                             Description and Location of Property                                               Property


                                Legal vesting                                       Mailing Address                  Loan Name            Amount     Contingent
        Thomas E. Bishofberger & Betty Bishofberger Trustees of the      2176 Tiger Willow Drive       Amesbury/Hatters Point            Unknown          Y
        Bishofberger Char. Rem. Trust UAD 11/3/94                        Henderson, NV 89012
        Thomas E. Bishofberger & Betty Bishofberger Trustees of the      2176 Tiger Willow Drive       Amesbury/Hatters Point            Unknown          Y
        Bishofberger Char. Rem. Trust UAD 11/3/94                        Henderson, NV 89012
        Thomas E. Bishofberger & Betty Bishofberger Trustees of the      2176 Tiger Willow             Amesbury/Hatters Point            Unknown          Y
        Bishofberger Char. Rem. Trust UAD 11/3/94                        Henderson, NV 89012
        Thomas E. Bishofberger & Betty Bishofberger Trustees of the      2176 Tiger Willow Drive       Ashby Financial $7,200,000        Unknown          Y
        Bishofberger Char. Rem. Trust UAD 11/3/94                        Henderson, NV 89012
        Thomas E. Bishofberger & Betty Bishofberger Trustees of the      2176 Tiger Willow Drive       Ashby Financial $7,200,000        Unknown          Y
        Bishofberger Char. Rem. Trust UAD 11/3/94                        Henderson, NV 89012
        Thomas E. Bishofberger & Betty Bishofberger Trustees of the      2176 Tiger Willow             Ashby Financial $7,200,000        Unknown          Y
        Bishofberger Char. Rem. Trust UAD 11/3/94                        Henderson, NV 89012
        Thomas E. Bishofberger & Betty Bishofberger Trustees of the      2176 Tiger Willow Drive       Fiesta USA/Stoneridge             Unknown          Y
        Bishofberger Char. Rem. Trust UAD 11/3/94                        Henderson, NV 89012
        Thomas E. Bishofberger & Betty Bishofberger Trustees of the      2176 Tiger Willow Drive       Fiesta USA/Stoneridge             Unknown          Y
        Bishofberger Char. Rem. Trust UAD 11/3/94                        Henderson, NV 89012
        Thomas E. Bishofberger & Betty Bishofberger Trustees of the      2176 Tiger Willow             Fiesta USA/Stoneridge             Unknown          Y
        Bishofberger Char. Rem. Trust UAD 11/3/94                        Henderson, NV 89012
        Thomas E. Bishofberger & Betty Bishofberger Trustees of the      2176 Tiger Willow Drive       Brookmere/Matteson $27,050,000    Unknown          Y
        Bishofberger Char. Rem. Trust UAD 11/3/94                        Henderson, NV 89012
        Thomas E. Bishofberger & Betty Bishofberger Trustees of the      2176 Tiger Willow Drive       Brookmere/Matteson $27,050,000    Unknown          Y
        Bishofberger Char. Rem. Trust UAD 11/3/94                        Henderson, NV 89012
        Thomas E. Bishofberger & Betty Bishofberger Trustees of the      2176 Tiger Willow             Brookmere/Matteson $27,050,000    Unknown          Y
        Bishofberger Char. Rem. Trust UAD 11/3/94                        Henderson, NV 89012
        Thomas E. Bishofberger & Betty T. Bishofberger Trustees of the   2176 Tiger Willow Drive       Harbor Georgetown                 Unknown          Y
        Bishofberger Restated Family Trust U/A 9/8/95                    Henderson, NV 89012
        Thomas E. Bishofberger & Betty T. Bishofberger Trustees of the   2176 Tiger Willow Drive       Harbor Georgetown                 Unknown          Y
        Bishofberger Restated Family Trust U/A 9/8/95                    Henderson, NV 89012
        Thomas E. Bishofberger & Betty T. Bishofberger Trustees of the   2176 Tiger Willow             Harbor Georgetown                 Unknown          Y
        Bishofberger Restated Family Trust U/A 9/8/95                    Henderson, NV 89012
        Thomas E. Bishofberger & Betty T. Bishofberger Trustees of the   2176 Tiger Willow Drive       HFA- North Yonkers                Unknown          Y
        Bishofberger Restated Family Trust U/A 9/8/95                    Henderson, NV 89012
        Thomas E. Bishofberger & Betty T. Bishofberger Trustees of the   2176 Tiger Willow Drive       HFA- North Yonkers                Unknown          Y
        Bishofberger Restated Family Trust U/A 9/8/95                    Henderson, NV 89012
        Thomas E. Bishofberger & Betty T. Bishofberger Trustees of the   2176 Tiger Willow             HFA- North Yonkers                Unknown          Y
        Bishofberger Restated Family Trust U/A 9/8/95                    Henderson, NV 89012
        Thomas E. Bishofberger & Betty T. Bishofberger Trustees of the   2176 Tiger Willow Drive       Gramercy Court Condos             Unknown          Y
        Bishofberger Restated Family Trust U/A 9/8/95                    Henderson, NV 89012
        Thomas E. Bishofberger & Betty T. Bishofberger Trustees of the   2176 Tiger Willow Drive       Gramercy Court Condos             Unknown          Y
        Bishofberger Restated Family Trust U/A 9/8/95                    Henderson, NV 89012
        Thomas E. Bishofberger & Betty T. Bishofberger Trustees of the   2176 Tiger Willow             Gramercy Court Condos             Unknown          Y
        Bishofberger Restated Family Trust U/A 9/8/95                    Henderson, NV 89012
        Thomas E. Bishofberger & Betty T. Bishofberger Trustees of the   2176 Tiger Willow Drive       Ashby Financial $7,200,000        Unknown          Y
        Bishofberger Restated Family Trust U/A 9/8/95                    Henderson, NV 89012
        Thomas E. Bishofberger & Betty T. Bishofberger Trustees of the   2176 Tiger Willow Drive       Ashby Financial $7,200,000        Unknown          Y
        Bishofberger Restated Family Trust U/A 9/8/95                    Henderson, NV 89012
        Thomas E. Bishofberger & Betty T. Bishofberger Trustees of the   2176 Tiger Willow             Ashby Financial $7,200,000        Unknown          Y
        Bishofberger Restated Family Trust U/A 9/8/95                    Henderson, NV 89012
        Thomas E. Bishofberger & Betty T. Bishofberger Trustees of the   2176 Tiger Willow Drive       Amesbury/Hatters Point            Unknown          Y
        Bishofberger Restated Family Trust U/A 9/8/95                    Henderson, NV 89012
        Thomas E. Bishofberger & Betty T. Bishofberger Trustees of the   2176 Tiger Willow Drive       Amesbury/Hatters Point            Unknown          Y
        Bishofberger Restated Family Trust U/A 9/8/95                    Henderson, NV 89012
        Thomas E. Bishofberger & Betty T. Bishofberger Trustees of the   2176 Tiger Willow             Amesbury/Hatters Point            Unknown          Y
        Bishofberger Restated Family Trust U/A 9/8/95                    Henderson, NV 89012
        Thomas E. Clarke, Transfer on Death to Michael T. Clarke         11316 East Persimmon Avenue   Bay Pompano Beach                 Unknown          Y
                                                                         Mesa, AZ 85212
        Thomas E. Clarke, Transfer on Death to Michael T. Clarke         11316 East Persimmon Avenue   Eagle Meadows Development         Unknown          Y
                                                                         Mesa, AZ 85212
        Thomas E. Clarke, Transfer on Death to Michael T. Clarke         11316 East Persimmon Avenue   Gramercy Court Condos             Unknown          Y
                                                                         Mesa, AZ 85212




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In re            USA Commercial Mortgage Company                      ,                                                                            Case No. 06-10725-LBR
                                   Debtor                                                                                                                       (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                    Current Market Value of
                                                                                                                                                      Debtor's Interest in
                                                            Description and Location of Property                                                           Property


                                Legal vesting                                      Mailing Address                          Loan Name                Amount     Contingent
        Thomas F. Fallon, a married man dealing with his sole and       USAID/Jordan Unit 70206            Riviera - Homes for America Holdings,    Unknown         Y
        separate property                                               APO, AE                            L.L.C.
        Thomas F. Fallon, a married man dealing with his sole and       USAID/Jordan Unit 70206            Marlton Square 2nd                       Unknown         Y
        separate property                                               APO, AE
        Thomas F. Fallon, a married man dealing with his sole and       USAID/Jordan Unit 70206            Eagle Meadows Development                Unknown         Y
        separate property                                               APO, AE
        Thomas G. Turner & Diane M. Turner, Husband and wife as joint 5686 Church Hill Green Dr            Brookmere/Matteson $27,050,000           Unknown         Y
        tenants with right of survivorship                              Sparks, NV 89436
        Thomas G. Waters and Anne M. Waters, husband and wife, as       13906 Man Of War Ct                Margarita Annex                          Unknown         Y
        joint tenants with the right of survivorship                    Corpus Christi, TX 78418
        Thomas G. Waters and Anne M. Waters, husband and wife, as       13906 Man Of War Ct                Shamrock Tower, LP                       Unknown         Y
        joint tenants with the right of survivorship                    Corpus Christi, TX 78418
        Thomas H. Gloy, a married man dealing with his sole and         P. O. Box 4497                     Cabernet                                 Unknown         Y
        separate property                                               Incline Village, NV 89450
        Thomas H. Trimble, Jr. Trustee of the Charmaine Trimble         P O Box 12340                      Amesbury/Hatters Point                   Unknown         Y
        Exemption Trust                                                 Reno, NV 89510
        Thomas H. Wilkinson & Susan L. Wilkinson Trustees of the        173 Mandarin Dr                    Brookmere/Matteson $27,050,000           Unknown         Y
        Thomas H. Wilkinson Living Trust dated 5/21/02                  Mooresville, NC 28117
        Thomas J. Kapp & Cynthia S. Roher Trustees of T. & C. Kapp      3861 Hildebrand Lane               Castaic Partners II, LLC                 Unknown         Y
        Family Trust                                                    Las Vegas, NV 89121
        Thomas J. Karren, Sole Trustee of the Thomas J. Karren Living 20483 Powder Mountain Court          Eagle Meadows Development                Unknown         Y
        Trust                                                           Bend, OR 97702
        Thomas John Farano, an unmarried man                            24 Van Keuren Ave                  Amesbury/Hatters Point                   Unknown         Y
                                                                        Bound Brook, NJ 8805
        Thomas L. Halvorson & Joanne Halvorson, husband & wife, as 3295 Palm Grove Dr                      Ashby Financial $7,200,000               Unknown         Y
        joint tenants with right of survivorship                        Lake Havasu, AZ 86404
        Thomas L. Halvorson & Joanne Halvorson, husband & wife, as 3295 Palm Grove Dr                      Freeway 101                              Unknown         Y
        joint tenants with right of survivorship                        Lake Havasu, AZ 86404
        Thomas L. Halvorson & Joanne Halvorson, husband & wife, as 3295 Palm Grove Dr                      HFA- North Yonkers                       Unknown         Y
        joint tenants with right of survivorship                        Lake Havasu, AZ 86404
        Thomas L. Halvorson & Joanne Halvorson, husband & wife, as 3295 Palm Grove Dr                      Marquis Hotel                            Unknown         Y
        joint tenants with right of survivorship                        Lake Havasu, AZ 86404
        Thomas L. Terrell & Judith J. Terrell, husband & wife, as joint 40 Churchill Dr                    Hasley Canyon                            Unknown         Y
        tenants with right of survivorship                              Bella Vista, AR 72714
        Thomas Maruna and Sayuri Maruna, husband and wife, as joint 7 Calle Alamitos                       Gateway Stone                            Unknown         Y
        tenants with the right of survivorship                          Rancho Santa Margarita, CA 92688
        Thomas Maruna and Sayuri Maruna, husband and wife, as joint 7 Calle Alamitos                       Gramercy Court Condos                    Unknown         Y
        tenants with the right of survivorship                          Rancho Santa Margarita, CA 92688
        Thomas Maruna and Sayuri Maruna, husband and wife, as joint 7 Calle Alamitos                       Bay Pompano Beach                        Unknown         Y
        tenants with the right of survivorship                          Rancho Santa Margarita, CA 92688
        Thomas Mazza & Marie Mazza Trustees of the 1997 Mazza           634 Marracco Drive                 Ashby Financial $7,200,000               Unknown         Y
        Family Trust dated 7/23/97                                      Sparks, NV 89431
        Thomas N. Smith & Deborah L. Bertossa, husband & wife, as       P O Box 589                        HFA- North Yonkers                       Unknown         Y
        joint tenants with right of survivorship                        New Meadows, ID 83654
        Thomas R. Sanford & Anne H. Sanford                             22225 Misner Road                  Gilroy                                   Unknown         Y
                                                                        Lapwai, ID 83540
        Thomas R. Sanford & Anne H. Sanford                             22225 Misner Road                  Margarita Annex                          Unknown         Y
                                                                        Lapwai, ID 83540
        Thomas R. Sanford & Anne H. Sanford                             22225 Misner Road                  Marlton Square                           Unknown         Y
                                                                        Lapwai, ID 83540
        Thomas R. Sanford & Anne H. Sanford                             22225 Misner Road                  Opaque/Mt. Edge $7,350,000               Unknown         Y
                                                                        Lapwai, ID 83540
        Thomas R. Sanford & Anne H. Sanford                             22225 Misner Road                  Brookmere/Matteson $27,050,000           Unknown         Y
                                                                        Lapwai, ID 83540
        Thomas Raymond Conway & Victoria C. E. Conway, husband & 12835 Ridge Road                          Golden State Investments II              Unknown         Y
        wife, as joint tenants with right of survivorship               Grass Valley, CA 95945
        Thomas T. Harrington and Beverly J. Harrington, husband and     160 Norwegian Ave Apt B            Eagle Meadows Development                Unknown         Y
        wife, as joint tenants with the right of survivorship           Modesto, CA 95350
        Thomas T. Harrington and Beverly J. Harrington, husband and     160 Norwegian Ave. Apt B           Eagle Meadows Development                Unknown         Y
        wife, as joint tenants with the right of survivorship           Modesto, CA 95350




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In re            USA Commercial Mortgage Company                      ,                                                                      Case No. 06-10725-LBR
                                   Debtor                                                                                                                 (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                              Current Market Value of
                                                                                                                                                Debtor's Interest in
                                                            Description and Location of Property                                                     Property


                                Legal vesting                                      Mailing Address                   Loan Name                 Amount     Contingent
        Thomas Turner & Judy K. Turner Trustees of the T.J. Trust dated 6425 Meadow Country Dr       HFA- North Yonkers                       Unknown         Y
        7/24/97                                                         Reno, NV 89509
        Thomas Turner & Judy K. Turner Trustees of the T.J. Trust dated 6425 Meadow Country Dr       Marquis Hotel                            Unknown         Y
        7/24/97                                                         Reno, NV 89509
        Thomas Turner & Judy K. Turner Trustees of the T.J. Trust dated 6425 Meadow Country Dr       6425 Gess, LTD                           Unknown         Y
        7/24/97                                                         Reno, NV 89509
        Tiki Investment Enterprises LP, a Nevada Limited Partnership    2578 Highmore Ave            HFA-Clear Lake 2nd                       Unknown         Y
                                                                        Henderson, NV 89052
        Tiki Investment Enterprises LP, a Nevada Limited Partnership    2578 Highmore Avenue         HFA-Clear Lake 2nd                       Unknown         Y
                                                                        Henderson, NV 89052
        Tiki Investment Enterprises LP, a Nevada Limited Partnership    2578 Highmore                HFA-Clear Lake 2nd                       Unknown         Y
                                                                        Henderson, NV 89052
        Tiki Investment Enterprises LP, a Nevada Limited Partnership    2578 Highmore Ave            Riviera - Homes for America Holdings,    Unknown         Y
                                                                        Henderson, NV 89052          L.L.C.
        Tiki Investment Enterprises LP, a Nevada Limited Partnership    2578 Highmore Avenue         Riviera - Homes for America Holdings,    Unknown         Y
                                                                        Henderson, NV 89052          L.L.C.
        Tiki Investment Enterprises LP, a Nevada Limited Partnership    2578 Highmore                Riviera - Homes for America Holdings,    Unknown         Y
                                                                        Henderson, NV 89052          L.L.C.
        Tiki Investment Enterprises LP, a Nevada Limited Partnership    2578 Highmore Ave            Placer Vineyards 2nd                     Unknown         Y
                                                                        Henderson, NV 89052
        Tiki Investment Enterprises LP, a Nevada Limited Partnership    2578 Highmore Avenue         Placer Vineyards 2nd                     Unknown         Y
                                                                        Henderson, NV 89052
        Tiki Investment Enterprises LP, a Nevada Limited Partnership    2578 Highmore                Placer Vineyards 2nd                     Unknown         Y
                                                                        Henderson, NV 89052
        Tiki Investment Enterprises LP, a Nevada Limited Partnership    2578 Highmore Ave            Marlton Square 2nd                       Unknown         Y
                                                                        Henderson, NV 89052
        Tiki Investment Enterprises LP, a Nevada Limited Partnership    2578 Highmore Avenue         Marlton Square 2nd                       Unknown         Y
                                                                        Henderson, NV 89052
        Tiki Investment Enterprises LP, a Nevada Limited Partnership    2578 Highmore                Marlton Square 2nd                       Unknown         Y
                                                                        Henderson, NV 89052
        Tiki Investment Enterprises LP, a Nevada Limited Partnership    2578 Highmore Ave            Hasley Canyon                            Unknown         Y
                                                                        Henderson, NV 89052
        Tiki Investment Enterprises LP, a Nevada Limited Partnership    2578 Highmore Avenue         Hasley Canyon                            Unknown         Y
                                                                        Henderson, NV 89052
        Tiki Investment Enterprises LP, a Nevada Limited Partnership    2578 Highmore                Hasley Canyon                            Unknown         Y
                                                                        Henderson, NV 89052
        Tiki Investment Enterprises LP, a Nevada Limited Partnership    2578 Highmore Ave            Amesbury/Hatters Point                   Unknown         Y
                                                                        Henderson, NV 89052
        Tiki Investment Enterprises LP, a Nevada Limited Partnership    2578 Highmore Avenue         Amesbury/Hatters Point                   Unknown         Y
                                                                        Henderson, NV 89052
        Tiki Investment Enterprises LP, a Nevada Limited Partnership    2578 Highmore                Amesbury/Hatters Point                   Unknown         Y
                                                                        Henderson, NV 89052
        Tim J. Clark & Tracy E. Clark, husband & wife, as joint tenants 1161 W. Sunrise Place        HFA- Riviera 2nd                         Unknown         Y
        with right of survivorship                                      Chandler, AZ 85248
        Tim S. Partch & Kathleen L. Partch, husband & wife, as joint    41536 Chiltern Drive         Shamrock Tower, LP                       Unknown         Y
        tenants with right of survivorship                              Fremont, CA 94539
        Tim S. Partch & Kathleen L. Partch, husband & wife, as joint    41536 Chiltern Drive         Riviera - Homes for America Holdings,    Unknown         Y
        tenants with right of survivorship                              Fremont, CA 94539            L.L.C.
        Timothy F. Burrus & Joann Ortiz-Burrus, husband & wife, as      3880 W Hidden Valley Dr      Copper Sage Commerce Center, LLC         Unknown         Y
        joint tenants with right of survivorship                        Reno, NV 89502
        Timothy F. Burrus & Joann Ortiz-Burrus, husband & wife, as      3880 W Hidden Valley Dr      Shamrock Tower, LP                       Unknown         Y
        joint tenants with right of survivorship                        Reno, NV 89502
        Timothy T. Kelly, an unmarried man, and P. Michael Kelly, an    155 Gardner St Apt #12       Castaic Partners II, LLC                 Unknown         Y
        unmarried man, as joint tenants with the right of survivorship  Reno, NV 89503
        Timothy T. Kelly, an unmarried man, and P. Michael Kelly, an    155 Gardner Street           Castaic Partners II, LLC                 Unknown         Y
        unmarried man, as joint tenants with the right of survivorship  Reno, NV 89503
        Tina K.L. Low Wood Trustee of the Wood Family Trust dated       7195 Lighthouse Ln           Fiesta Oak Valley                        Unknown         Y
        9/29/98                                                         Reno, NV 89511
        Titan Management, LTD Trustee of the Gaston Trust dated         2578 Highmore Ave            Amesbury/Hatters Point                   Unknown         Y
        12/31/02                                                        Henderson, NV 89052




SCHEDULES                                                                           Exhibit B-21                                                           PAGE 252
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In re            USA Commercial Mortgage Company                      ,                                                                Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                            Description and Location of Property                                               Property


                                Legal vesting                                     Mailing Address                        Loan Name       Amount     Contingent
        Titan Management, LTD Trustee of the Gaston Trust dated        2578 Highmore Avenue             Amesbury/Hatters Point          Unknown           Y
        12/31/02                                                       Henderson, NV 89052
        Titan Management, LTD Trustee of the Gaston Trust dated        2578 Highmore                    Amesbury/Hatters Point          Unknown           Y
        12/31/02                                                       Henderson, NV 89052
        TK & Associates, a Minnesota company                           31140 361 Lane                   6425 Gess, LTD                  Unknown           Y
                                                                       Le Sueur, MN 56058
        TK & Associates, a Minnesota company                           31140 361 Lane                   HFA- Clear Lake                 Unknown           Y
                                                                       Le Sueur, MN 56058
        Tobias J. Voneuw Trustee of the Tobias J. Voneuw Revocable     10405 Shoalhaven Dr              BarUSA/$15,300,000              Unknown           Y
        Trust dated 11/23/04                                           Las Vegas, NV 89134
        Tobias Von Euw Trustee of the Tobias Von Euw Revocable Trust 10405 Shoalhaven Dr                Hasley Canyon                   Unknown           Y
        dated 11/23/04                                                 Las Vegas, NV 89134
        Tobias Von Euw Trustee of the Tobias Von Euw Revocable Trust 10405 Shoalhaven Dr                Placer Vineyards 2nd            Unknown           Y
        dated 11/23/04                                                 Las Vegas, NV 89134
        Tobias Von Euw Trustee of the Tobias Von Euw Revocable Trust 10405 Shoalhaven Dr                Tapia Ranch                     Unknown           Y
        dated 11/23/04                                                 Las Vegas, NV 89134
        Toby A. Gunning, an unmarried man                              7245 Brockway Court              Lerin Hills                     Unknown           Y
                                                                       Reno, NV 89523
        Toby A. Gunning, an unmarried man                              7245 Brockway Court              Eagle Meadows Development       Unknown           Y
                                                                       Reno, NV 89523
        Toby Lee Rosenblum Trustee of the Toby Lee Rosenblum Trust 1882 Colvin Avenue                   Opaque/Mt. Edge $7,350,000      Unknown           Y
        dated 9/11/95                                                  St Paul, MN 55116
        Toby Lee Rosenblum Trustee of the Toby Lee Rosenblum Trust 1882 Colvin Avenue                   Marlton Square                  Unknown           Y
        dated 9/11/95                                                  St Paul, MN 55116
        Toby Lee Rosenblum Trustee of the Toby Lee Rosenblum Trust 1882 Colvin Avenue                   Huntsville                      Unknown           Y
        dated 9/11/95                                                  St Paul, MN 55116
        Toby Lee Rosenblum Trustee of the Toby Lee Rosenblum Trust 1882 Colvin Avenue                   BarUSA/$15,300,000              Unknown           Y
        dated 9/11/95                                                  St Paul, MN 55116
        Toby Lee Rosenblum Trustee of the Toby Lee Rosenblum Trust 1882 Colvin Avenue                   HFA- North Yonkers              Unknown           Y
        dated 9/11/95                                                  St Paul, MN 55116
        Todd Charles Maurer, a single man                              3100 Chino Hills Pkwy Apt 1411   Cabernet                        Unknown           Y
                                                                       Chino Hills, CA 91709
        Todd Charles Maurer, a single man                              3100 Chino Hills Pkwy Apt 1411   Cabernet                        Unknown           Y
                                                                       Chino Hills, CA 91709
        Todd Davis, an unmarried man                                   322 W 57th St Apt 12R            Harbor Georgetown               Unknown           Y
                                                                       New York, NY 10019
        Todd Davis, an unmarried man                                   322 W 57th St Apt 12R            Margarita Annex                 Unknown           Y
                                                                       New York, NY 10019
        Todd Davis, an unmarried man                                   322 W 57th St Apt 12R            Bay Pompano Beach               Unknown           Y
                                                                       New York, NY 10019
        Todd O. Mitchell & Michelle L. Mitchell, husband & wife, as    4596 Creeping Fig Court          Eagle Meadows Development       Unknown           Y
        joint tenants with right of survivorship                       Las Vegas, NV 89129
        Tomie S. Ford, an unmarried woman                              335 Desert Meadow Ct.            Fiesta Oak Valley               Unknown           Y
                                                                       Reno , NV 89502
        Tony Chamoun & Carmen Chamoun, husband & wife, as joint        1935 Parkside Circle South       HFA- Clear Lake                 Unknown           Y
        tenants with right of survivorship                             Boca Raton, FL 33486
        Tony Chamoun & Carmen Chamoun, husband & wife, as joint        1935 Parkside Circle South       Bay Pompano Beach               Unknown           Y
        tenants with right of survivorship                             Boca Raton, FL 33486
        Tony Suarez, an unmarried man                                  16 Bland Street                  Bay Pompano Beach               Unknown           Y
                                                                       Emerson, NJ 7630
        Traci Landig, a married woman dealing with her sole & separate 654 Moonlight Stroll St          Amesbury/Hatters Point          Unknown           Y
        property & Jacqueline Thurmond, a married woman dealing with Henderson, NV 89015
        her sole & separate property, as joint tenants with right of
        survivorship
        Tracy A. DeBerry, an unmarried man                             1616 Scott Place                 HFA- Clear Lake                 Unknown           Y
                                                                       Encinitas, CA 92024
        Tracy A. DeBerry, an unmarried man                             1616 Scott Place                 Placer Vineyards 2nd            Unknown           Y
                                                                       Encinitas, CA 92024
        Tracy A. DeBerry, an unmarried man                             1616 Scott Place                 Marquis Hotel                   Unknown           Y
                                                                       Encinitas, CA 92024




SCHEDULES                                                                          Exhibit B-21                                                      PAGE 253
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In re             USA Commercial Mortgage Company                       ,                                                               Case No. 06-10725-LBR
                                    Debtor                                                                                                           (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                              Description and Location of Property                                              Property


                                 Legal vesting                                       Mailing Address                    Loan Name         Amount     Contingent
        Tracy A. DeBerry, an unmarried man                              1616 Scott Place               6425 Gess, LTD                    Unknown           Y
                                                                        Encinitas, CA 92024
        Tracy A. DeBerry, an unmarried man                              1616 Scott Place               HFA- North Yonkers                Unknown           Y
                                                                        Encinitas, CA 92024
        Tracy A. DeBerry, an unmarried man                              1616 Scott Place               Hasley Canyon                     Unknown           Y
                                                                        Encinitas, CA 92024
        Tracy A. DeBerry, an unmarried man                              1616 Scott Place               Harbor Georgetown                 Unknown           Y
                                                                        Encinitas, CA 92024
        Tracy A. DeBerry, an unmarried man                              1616 Scott Place               Gramercy Court Condos             Unknown           Y
                                                                        Encinitas, CA 92024
        Tracy A. DeBerry, an unmarried man                              1616 Scott Place               Fiesta Oak Valley                 Unknown           Y
                                                                        Encinitas, CA 92024
        Tracy A. DeBerry, an unmarried man                              1616 Scott Place               Ashby Financial $7,200,000        Unknown           Y
                                                                        Encinitas, CA 92024
        Tracy A. DeBerry, an unmarried man                              1616 Scott Place               HFA- Riviera 2nd                  Unknown           Y
                                                                        Encinitas, CA 92024
        Tracy Belnap, an unmarried woman & Stanley W. Belnap &          4268 East Cassia Way           Brookmere/Matteson $27,050,000    Unknown           Y
        Gloria C. Belnap, husband & wife                                Phoenix, AZ 85044
        Tracy Cavin Trustee Of The Tracy Cavin Family Trust UTD         1424 W Hereford Dr             Eagle Meadows Development         Unknown           Y
        11/10/03                                                        Eagle, ID 83616
        Tracy Cavin Trustee Of The Tracy Cavin Family Trust UTD         1424 W Hereford Dr             Huntsville                        Unknown           Y
        11/10/03                                                        Eagle, ID 83616
        Travis L. Killebrew & Lorna F. Killebrew, husband & wife, as    1520 Palomino Drive            Placer Vineyards                  Unknown           Y
        joint tenants with right of survivorship                        Henderson, NV 89015
        Trevin B. Eckersley & Cynthia L. Eckersley, husband & wife      14710 Lido Park Ct             6425 Gess, LTD                    Unknown           Y
                                                                        Humble, TX 77396
        Tripp Enterprises Inc., a Nevada corporation                    250 Greg Street                Harbor Georgetown                 Unknown           Y
                                                                        Sparks, NV 89431
        Tripp Enterprises Inc., a Nevada corporation                    250 Greg Street                Harbor Georgetown                 Unknown           Y
                                                                        Sparks, NV 89431
        Tripp Enterprises Inc., a Nevada corporation                    250 Greg Street                Harbor Georgetown                 Unknown           Y
                                                                        Sparks, NV 89431
        Tripp Enterprises Inc., a Nevada corporation                    250 Greg Street                Harbor Georgetown                 Unknown           Y
                                                                        Sparks, NV 89431
        Tripp Enterprises Inc., a Nevada corporation                    250 Greg Street                Harbor Georgetown                 Unknown           Y
                                                                        Sparks, NV 89431
        Tripp Enterprises Inc., a Nevada corporation                    250 Greg Street                Bay Pompano Beach                 Unknown           Y
                                                                        Sparks, NV 89431
        Tripp Enterprises Inc., a Nevada corporation                    250 Greg Street                Bay Pompano Beach                 Unknown           Y
                                                                        Sparks, NV 89431
        Tripp Enterprises Inc., a Nevada corporation                    250 Greg Street                Bay Pompano Beach                 Unknown           Y
                                                                        Sparks, NV 89431
        Tripp Enterprises Inc., a Nevada corporation                    250 Greg Street                Bay Pompano Beach                 Unknown           Y
                                                                        Sparks, NV 89431
        Tripp Enterprises Inc., a Nevada corporation                    250 Greg Street                Bay Pompano Beach                 Unknown           Y
                                                                        Sparks, NV 89431
        Tripp Enterprises Inc., a Nevada corporation                    250 Greg Street                6425 Gess, LTD                    Unknown           Y
                                                                        Sparks, NV 89431
        Tripp Enterprises Inc., a Nevada corporation                    250 Greg Street                6425 Gess, LTD                    Unknown           Y
                                                                        Sparks, NV 89431
        Tripp Enterprises Inc., a Nevada corporation                    250 Greg Street                6425 Gess, LTD                    Unknown           Y
                                                                        Sparks, NV 89431
        Tripp Enterprises Inc., a Nevada corporation                    250 Greg Street                6425 Gess, LTD                    Unknown           Y
                                                                        Sparks, NV 89431
        Tripp Enterprises Inc., a Nevada corporation                    250 Greg Street                6425 Gess, LTD                    Unknown           Y
                                                                        Sparks, NV 89431
        Troy A. Nearpass and Brenda L. Nearpass, husband and wife, as   4024 Palisades Park Dr         Marlton Square                    Unknown           Y
        joint tenants with the right of survivorship                    Billings, MT 59106
        Troy C. Groves Trustee of the Troy C. Groves Trust              2328 Airlands St               Huntsville                        Unknown           Y
                                                                        Las Vegas, NV 89134




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In re            USA Commercial Mortgage Company                     ,                                                                          Case No. 06-10725-LBR
                                   Debtor                                                                                                                    (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                 Current Market Value of
                                                                                                                                                   Debtor's Interest in
                                                             Description and Location of Property                                                       Property


                                 Legal vesting                                    Mailing Address                        Loan Name                Amount     Contingent
        Troy C. Groves Trustee of the Troy C. Groves Trust              2328 Airlands St                Marquis Hotel                            Unknown         Y
                                                                        Las Vegas, NV 89134
        Trust Company of the Pacific Custodian for Arthur I. Kriss IRA 2398 W 1050 North                Tapia Ranch                              Unknown         Y
                                                                        Hurricane, UT 84737
        Trust Company of the Pacific Custodian for Arthur I. Kriss IRA 2398 West 1050 North             Tapia Ranch                              Unknown         Y
                                                                        Hurricane, UT 84737
        Trust Company of the Pacific Custodian for Arthur I. Kriss IRA 2398 W 1050 North                HFA- North Yonkers                       Unknown         Y
                                                                        Hurricane, UT 84737
        Trust Company of the Pacific Custodian for Arthur I. Kriss IRA 2398 West 1050 North             HFA- North Yonkers                       Unknown         Y
                                                                        Hurricane, UT 84737
        Trust Company of the Pacific Custodian for Arthur I. Kriss IRA 2398 W 1050 North                Anchor B, LLC                            Unknown         Y
                                                                        Hurricane, UT 84737
        Trust Company of the Pacific Custodian for Arthur I. Kriss IRA 2398 West 1050 North             Anchor B, LLC                            Unknown         Y
                                                                        Hurricane, UT 84737
        Trust Company of the Pacific Custodian for Arthur I. Kriss IRA 2398 W 1050 North                Brookmere/Matteson $27,050,000           Unknown         Y
                                                                        Hurricane, UT 84737
        Trust Company of the Pacific Custodian for Arthur I. Kriss IRA 2398 West 1050 North             Brookmere/Matteson $27,050,000           Unknown         Y
                                                                        Hurricane, UT 84737
        Turner Development, LLC, a California limited liability company 461 N. Carlisle Pl.             Placer Vineyards                         Unknown         Y
                                                                        Orange, CA 92869
        Una B. Essaff Trustee of the Una B. Essaff Trust dated 10/23/96 269 Castenada Drive             HFA- North Yonkers                       Unknown         Y
                                                                        Millbrae, CA 94030
        Uncnu C. Hummel and Robert W. Hummel, wife and husband, as 9045 Jerlyn St.                      Riviera - Homes for America Holdings,    Unknown         Y
        joint tenants with the rights of survivorship                   Las Vegas, NV 89113             L.L.C.
        Universal Management, Inc., a Nevada Corporation                14375 White Star Lane           Bay Pompano Beach                        Unknown         Y
                                                                        Valley Center, CA 92082
        Universal Management, Inc., a Nevada Corporation                14375 White Star Lane           Marlton Square                           Unknown         Y
                                                                        Valley Center, CA 92082
        Universe Partners, LLC, a Nevada limited liability company      774 Mays Blvd Ste #10 PMB 295   Wasco Investments                        Unknown         Y
                                                                        Incline Village, NV 89451
        Universe Partners, LLC, a Nevada limited liability company      774 Mays Blvd #10-295           Wasco Investments                        Unknown         Y
                                                                        Incline Village, NV 89451
        Universe Partners, LLC, a Nevada limited liability company      774 Mays Blvd Ste #10 PMB 295   Wasco Investments                        Unknown         Y
                                                                        Incline Village, NV 89451
        USA Capital Diversified Trust Deed Fund                         4484 S Pecos Rd                 HFA- Clear Lake                          Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Capital Diversified Trust Deed Fund                         4484 S Pecos Rd                 CREC Building Colt                       Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Capital Diversified Trust Deed Fund                         4484 S Pecos Rd                 Huntsville                               Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Capital Diversified Trust Deed Fund                         4484 S Pecos Rd                 Ten-Ninety, Ltd./$4,150,000              Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Capital Diversified Trust Deed Fund                         4484 S Pecos Rd                 Franklin - Stratford Investments, LLC    Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Capital Diversified Trust Deed Fund                         4484 S Pecos Rd                 Colt DIV added #2                        Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Capital Diversified Trust Deed Fund                         4484 S Pecos Rd                 Colt DIV added #1                        Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Capital Diversified Trust Deed Fund                         4484 S Pecos Rd                 Bay Pompano Beach                        Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Capital Diversified Trust Deed Fund                         4484 S Pecos Rd                 Ashby Financial $7,200,000               Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Capital Diversified Trust Deed Fund                         4484 S Pecos Rd                 Amesbury/Hatters Point                   Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Capital Diversified Trust Deed Fund                         4484 S Pecos Rd                 Ten-Ninety                               Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Capital Diversified Trust Deed Fund                         4484 S Pecos Rd                 Colt Gateway                             Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Capital Diversified Trust Deed Fund                         4484 S Pecos Rd                 Brookmere/Matteson $27,050,000           Unknown         Y
                                                                        Las Vegas, NV 89121




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In re            USA Commercial Mortgage Company              ,                                                                            Case No. 06-10725-LBR
                                  Debtor                                                                                                                (If known)




                                                             SCHEDULE B - PERSONAL PROPERTY
                                                                      EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                     Description and Location of Property                                                          Property


                                Legal vesting                            Mailing Address                            Loan Name                Amount     Contingent
        USA Capital Diversified Trust Deed Fund               4484 S Pecos Rd                      Cloudbreak LV                            Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Wasco Investments                        Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      HFAH/Monaco                              Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      HFA- North Yonkers                       Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Huntsville                               Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Margarita Annex                          Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Marlton Square                           Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Midvale Marketplace, LLC                 Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Harbor Georgetown                        Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Tapia Ranch                              Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Gilroy                                   Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Shamrock Tower, LP                       Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Golden State Investments II              Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Gateway Stone                            Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Franklin - Stratford Investments, LLC    Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Eagle Meadows Development                Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Castaic Partners II, LLC                 Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Bay Pompano Beach                        Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Anchor B, LLC                            Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Amesbury/Hatters Point                   Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      6425 Gess, LTD                           Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Gramercy Court Condos                    Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Cloudbreak LV                            Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Fiesta Development $6.6                  Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Clear Creek Plantation                   Unknown         Y
                                                              Las Vegas, NV 89121
        USA Capital First Trust Deed Fund                     4484 S Pecos Rd                      Brookmere/Matteson $27,050,000           Unknown         Y
                                                              Las Vegas, NV 89121
        USA Commercial Mortgage Company                       4484 S Pecos Rd                      Amesbury/Hatters Point                   Unknown         Y
                                                              Las Vegas, NV 89121
        USA Commercial Mortgage Company                       4484 S Pecos Rd                      Marquis Hotel                            Unknown         Y
                                                              Las Vegas, NV 89121
        USA Commercial Mortgage Company                       4484 S Pecos Rd                      Marlton Square                           Unknown         Y
                                                              Las Vegas, NV 89121
        USA Commercial Mortgage Company                       4484 S Pecos Rd                      HFA-Clear Lake 2nd                       Unknown         Y
                                                              Las Vegas, NV 89121




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In re            USA Commercial Mortgage Company                      ,                                                                   Case No. 06-10725-LBR
                                   Debtor                                                                                                              (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                           Current Market Value of
                                                                                                                                             Debtor's Interest in
                                                            Description and Location of Property                                                  Property


                                Legal vesting                                      Mailing Address                     Loan Name            Amount     Contingent
        USA Commercial Mortgage Company                                 4484 S Pecos Rd                Fiesta Oak Valley                   Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Commercial Mortgage Company                                 4484 S Pecos Rd                BarUSA/$15,300,000                  Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Commercial Mortgage Company                                 4484 S Pecos Rd                Colt Second TD                      Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Commercial Mortgage Company                                 4484 S Pecos Rd                Goss Road                           Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Commercial Real Estate Group                                4484 S Pecos Rd                Copper Sage Commerce Center, LLC    Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Commercial Real Estate Group                                4484 S Pecos Rd                HFA- Clear Lake                     Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Commercial Real Estate Group                                4484 S Pecos Rd                Amesbury/Hatters Point              Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Investment Partners                                         4484 S Pecos Rd                Amesbury/Hatters Point              Unknown         Y
                                                                        Las Vegas, NV 89121
        USA Investment Partners                                         4484 S Pecos Rd                HFA- North Yonkers                  Unknown         Y
                                                                        Las Vegas, NV 89121
        V. R. Marrone & Reba F. Marrone Trustees of the V. R. & Reba 8975 430 Lawrence Welk Dr         Eagle Meadows Development           Unknown         Y
        F. Marrone Trust dated 10/22/01                                 Escondido, CA 92026
        V. R. Marrone & Reba F. Marrone Trustees of the V. R. & Reba 8975 430 Lawrence Welk Dr         Fiesta Oak Valley                   Unknown         Y
        F. Marrone Trust dated 10/22/01                                 Escondido, CA 92026
        Valda L. Kennedy, an unmarried woman                            P. O. Box 2845                 Wasco Investments                   Unknown         Y
                                                                        Reno, NV 89505
        Valerie Callahan, an unmarried woman, & Charles R. Maraden, 12585 Creek Crest Drive            6425 Gess, LTD                      Unknown         Y
        an unmarried man, as joint tenants with right of survivorship   Reno, NV 89511
        Valerie Callahan, an unmarried woman, & Charles R. Maraden, 10170 Robilee Ct                   6425 Gess, LTD                      Unknown         Y
        an unmarried man, as joint tenants with right of survivorship   Reno, NV 89521
        Valon R. Bishop Trustee of the Valon R. Bishop Trust dated      P.O. Box 50041                 Gramercy Court Condos               Unknown         Y
        5/7/03                                                          Reno, NV 89513
        Valon R. Bishop Trustee of the Valon R. Bishop Trust dated      P.O. Box 50041                 Midvale Marketplace, LLC            Unknown         Y
        5/7/03                                                          Reno, NV 89513
        Valon R. Bishop Trustee of the Valon R. Bishop Trust dated      P.O. Box 50041                 Copper Sage Commerce Center, LLC    Unknown         Y
        5/7/03                                                          Reno, NV 89513
        Vanguard Financial, LTD                                         1390 Willow Pass Rd Ste #190   Eagle Meadows Development           Unknown         Y
                                                                        Concord, CA 94520
        Vanguard Financial, LTD                                         2006 Marconi Way               Eagle Meadows Development           Unknown         Y
                                                                        South Lake Tahoe, CA 96150
        Varnell O. Padgett & Dorothy A. Padgett Trustees of the Padgett 1520 Sky Valley Dr #106        Tapia Ranch                         Unknown         Y
        Family Trust dated 3/25/03                                      Reno, NV 89523
        Varnell O. Padgett & Dorothy A. Padgett Trustees of the Padgett 1520 Sky Valley Dr #106        Marquis Hotel                       Unknown         Y
        Family Trust dated 3/25/03                                      Reno, NV 89523
        Varnell O. Padgett & Dorothy A. Padgett Trustees of the Padgett 1520 Sky Valley Dr #106        Amesbury/Hatters Point              Unknown         Y
        Family Trust dated 3/25/03                                      Reno, NV 89523
        Verena Mehler Trustee of The Verena Mehler Family Trust dated 3913 Oakhill Avenue              Gramercy Court Condos               Unknown         Y
        1/12/05                                                         Las Vegas, NV 89121
        Verle R. Grauberger & Darla Kay Grauberger Trustees of the      1533 Merialdo Lane             Gilroy                              Unknown         Y
        Grauberger Family Trust dated 5/20/00                           Las Vegas, NV 89117
        Vernon Olson, a single man                                      9628 Blue Bell Drive           Marquis Hotel                       Unknown         Y
                                                                        Las Vegas, NV 89134
        Vernon K. Chun & Kerri J. Chun Trustees of the Chun Living      9 Auburn Crest Court           Shamrock Tower, LP                  Unknown         Y
        Trust dated 2/17/98                                             Chico, CA 95973
        Vernon K. Chun & Kerri J. Chun Trustees of the Chun Living      9 Auburn Crest Court           Shamrock Tower, LP                  Unknown         Y
        Trust dated 2/17/98                                             Chico, CA 95973
        Verusio Solutions, LLC                                          208 Clarence Way               Gateway Stone                       Unknown         Y
                                                                        Fremont, CA 94539
        Verusio Solutions, LLC                                          208 Clarence Way               Gateway Stone                       Unknown         Y
                                                                        Fremont, CA 94539
        Verusio Solutions, LLC                                          208 Clarence Way               HFA- Clear Lake                     Unknown         Y
                                                                        Fremont, CA 94539




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In re             USA Commercial Mortgage Company                        ,                                                                       Case No. 06-10725-LBR
                                    Debtor                                                                                                                    (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                  Current Market Value of
                                                                                                                                                    Debtor's Interest in
                                                               Description and Location of Property                                                      Property


                                 Legal vesting                                      Mailing Address                      Loan Name                 Amount     Contingent
        Verusio Solutions, LLC                                           208 Clarence Way                HFA- Clear Lake                          Unknown         Y
                                                                         Fremont, CA 94539
        Vickie Pieper Trustee of the Vickie Pieper Living Trust dated    2664 San Lago Court             Margarita Annex                          Unknown         Y
        Sept 16, 2005                                                    Las Vegas, NV 89121
        Vickie Pieper Trustee of the Vickie Pieper Living Trust dated    2664 San Lago Court             Margarita Annex                          Unknown         Y
        Sept 16, 2005                                                    Las Vegas, NV 89121
        Vickie Pieper Trustee of the Vickie Pieper Living Trust dated    2664 San Lago Court             HFA- North Yonkers                       Unknown         Y
        Sept 16, 2005                                                    Las Vegas, NV 89121
        Vickie Pieper Trustee of the Vickie Pieper Living Trust dated    2664 San Lago Court             HFA- North Yonkers                       Unknown         Y
        Sept 16, 2005                                                    Las Vegas, NV 89121
        Vickie Pieper, an unmarried woman                                2664 San Lago Court             Brookmere/Matteson $27,050,000           Unknown         Y
                                                                         Las Vegas, NV 89121
        Vickie Pieper, an unmarried woman                                2664 San Lago Court             Brookmere/Matteson $27,050,000           Unknown         Y
                                                                         Las Vegas, NV 89121
        Vicky L. Nakashima, an unmarried woman                           1681 Fairburn Ave               BarUSA/$15,300,000                       Unknown         Y
                                                                         Los Angeles, CA 90024
        Vicky L. Nakashima, an unmarried woman                           1681 Fairburn Ave               Placer Vineyards                         Unknown         Y
                                                                         Los Angeles, CA 90024
        Victor Bruckner & Sally Bruckner, husband & wife, as joint       P O Box 232                     Eagle Meadows Development                Unknown         Y
        tenants with right of survivorship                               Calpine, CA 96124
        Victor M. Shappell, an unmarried man & Evelyn M. Scholl, a       P. O. Box 54309                 Amesbury/Hatters Point                   Unknown         Y
        widow, as joint tenants with right of survivorship               Phoenix, AZ 85078
        Victor Santiago, a single man                                    4604 Gretel Circle              HFA- Riviera 2nd                         Unknown         Y
                                                                         Las Vegas, NV 89102
        Victor Santiago, a single man                                    4604 Gretel Circle              HFA- Riviera 2nd                         Unknown         Y
                                                                         Las Vegas, NV 89102
        Victor Santiago, a single man                                    4604 Gretel Circle              Cabernet                                 Unknown         Y
                                                                         Las Vegas, NV 89102
        Victor Santiago, a single man                                    4604 Gretel Circle              Cabernet                                 Unknown         Y
                                                                         Las Vegas, NV 89102
        Victoria L. Smith, an unmarried woman, payable on death to       2016 Wildwood Dr.               BarUSA/$15,300,000                       Unknown         Y
        Gregory P. Ovalle                                                Modesto, CA 95350
        Vijay Shah & Bina Shah, husband & wife, as joint tenants with    18539 Deloise Avenue            Riviera - Homes for America Holdings,    Unknown         Y
        right of survivorship                                            Cerritos, CA 90703              L.L.C.
        Vijay Shah & Bina Shah, husband & wife, as joint tenants with    18539 Deloise Avenue            Gramercy Court Condos                    Unknown         Y
        right of survivorship                                            Cerritos, CA 90703
        Vincent Anthony Cimorelli, an unmarried man                      2300 Silverado Ranch #1085      Amesbury/Hatters Point                   Unknown         Y
                                                                         Las Vegas, NV 89123
        Vincent H. Bruno and Cristina J. Bruno, husband and wife as      9050 W Warm Springs Rd # 2075   Gramercy Court Condos                    Unknown         Y
        joint tenants with the right of survivorship                     Las Vegas, NV 89148
        Virgil L. Birgen & La Donna F. Birgen Trustees of the Birgen     2837 Bluffpoint Drive           Amesbury/Hatters Point                   Unknown         Y
        Charitable Trust dated 8/1/90                                    Las Vegas, NV 89134
        Virgil L. Birgen & La Donna F. Birgen Trustees of the Birgen     2837 Bluffpoint Drive           Placer Vineyards                         Unknown         Y
        Charitable Trust dated 8/1/90                                    Las Vegas, NV 89134
        Virgil L. Birgen & La Donna F. Birgen Trustees of the Birgen     2837 Bluffpoint Drive           Huntsville                               Unknown         Y
        Charitable Trust dated 8/1/90                                    Las Vegas, NV 89134
        Virgil L. Birgen & La Donna F. Birgen Trustees of the Birgen     2837 Bluffpoint Drive           HFA- Clear Lake                          Unknown         Y
        Charitable Trust dated 8/1/90                                    Las Vegas, NV 89134
        Virgil L. Birgen & La Donna F. Birgen Trustees of the Birgen     2837 Bluffpoint Drive           Ashby Financial $7,200,000               Unknown         Y
        Charitable Trust dated 8/1/90                                    Las Vegas, NV 89134
        Virgil Leo Birgen & La Donna Frances Birgen Trustees of the      2837 Bluffpoint Drive           Amesbury/Hatters Point                   Unknown         Y
        Birgen Family Trust                                              Las Vegas, NV 89134
        Virgil Leo Birgen & La Donna Frances Birgen Trustees of the      2837 Bluffpoint Drive           Ashby Financial $7,200,000               Unknown         Y
        Birgen Family Trust                                              Las Vegas, NV 89134
        Virgil Leo Birgen & La Donna Frances Birgen Trustees of the      2837 Bluffpoint Drive           HFA- Clear Lake                          Unknown         Y
        Birgen Family Trust                                              Las Vegas, NV 89134
        Virgil Leo Birgen & La Donna Frances Birgen Trustees of the      2837 Bluffpoint Drive           Marquis Hotel                            Unknown         Y
        Birgen Family Trust                                              Las Vegas, NV 89134
        Virgil P. Hennen & Judith J. Hennen, husband and wife as joint   P O Box 1416                    Eagle Meadows Development                Unknown         Y
        tenants with the right of survivorship                           Friday Harbor, WA 98250




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In re            USA Commercial Mortgage Company                         ,                                                             Case No. 06-10725-LBR
                                    Debtor                                                                                                          (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                               Description and Location of Property                                            Property


                                 Legal vesting                                      Mailing Address                    Loan Name          Amount    Contingent
        Virgil P. Hennen & Judith J. Hennen, husband and wife as joint    P O Box 1416                Lerin Hills                       Unknown            Y
        tenants with the right of survivorship                            Friday Harbor, WA 98250
        Virgil P. Hennen & Judith J. Hennen, husband and wife as joint    P O Box 1416                Marlton Square                    Unknown            Y
        tenants with the right of survivorship                            Friday Harbor, WA 98250
        Virginia M. Hansen, a widow                                       10403 Sawmill Ave           Marlton Square                    Unknown            Y
                                                                          Las Vegas, NV 89134
        Vito P. Minerva Trustee of the Minerva Family Trust dated         P O Box 8973                Shamrock Tower, LP                Unknown            Y
        11/14/96                                                          Incline Village, NV 89452
        Wald Financial Group Inc. Defined Benefit Pension Trust           249 Margo Way               Castaic Partners II, LLC          Unknown            Y
                                                                          Pismo Beach, CA 93449
        Wald Financial Group Inc. Defined Benefit Pension Trust           249 Margo Way P O Box 307   Castaic Partners II, LLC          Unknown            Y
                                                                          Pismo Beach, CA 93449
        Wald Financial Group Inc. Defined Benefit Pension Trust           249 Margo Way P O Box 307   Castaic Partners II, LLC          Unknown            Y
                                                                          Pismo Beach, CA 93449
        Wald Financial Group Inc. Defined Benefit Pension Trust           249 Margo Way               Gramercy Court Condos             Unknown            Y
                                                                          Pismo Beach, CA 93449
        Wald Financial Group Inc. Defined Benefit Pension Trust           249 Margo Way P O Box 307   Gramercy Court Condos             Unknown            Y
                                                                          Pismo Beach, CA 93449
        Wald Financial Group Inc. Defined Benefit Pension Trust           249 Margo Way P O Box 307   Gramercy Court Condos             Unknown            Y
                                                                          Pismo Beach, CA 93449
        Waldemar Hanslik & Katharina Hanslik Trustees of the Hanslik 10420 Marymont Place             Placer Vineyards                  Unknown            Y
        Family Trust dated 12/23/91                                       Las Vegas, NV 89134
        Wallace Hollander Trustee of the P & W Trust dated 8/19/93        2728 Hope Forest Dr         HFA- North Yonkers                Unknown            Y
                                                                          Las Vegas, NV 89134
        Walter C. Tripp Trustee of The Tripp Family Trust                 5590 Briarhills Lane        Brookmere/Matteson $27,050,000    Unknown            Y
                                                                          Reno, NV 89502
        Walter C. Tripp, a married man dealing with his sole and separate 5590 Briarhill Ln           6425 Gess, LTD                    Unknown            Y
        property                                                          Reno, NV 89502
        Walter E. Seebach Trustee of the Walter E. Seebach Living Trust P O Box 6912                  Ashby Financial $7,200,000        Unknown            Y
        dated 11/1/85                                                     San Jose, CA 95150
        Walter E. Seebach Trustee of the Walter E. Seebach Living Trust P O Box 6912                  BarUSA/$15,300,000                Unknown            Y
        dated 11/1/85                                                     San Jose, CA 95150
        Walter E. Seebach Trustee of the Walter E. Seebach Living Trust P O Box 6912                  HFA- North Yonkers                Unknown            Y
        dated 11/1/85                                                     San Jose, CA 95150
        Walter E. Seebach Trustee of the Walter E. Seebach Living Trust P O Box 6912                  HFA- Riviera 2nd                  Unknown            Y
        dated 11/1/85                                                     San Jose, CA 95150
        Walter E. Seebach Trustee of the Walter E. Seebach Living Trust P O Box 6912                  Marlton Square 2nd                Unknown            Y
        dated 11/1/85                                                     San Jose, CA 95150
        Walter E. Seebach Trustee of the Walter E. Seebach Living Trust P O Box 6912                  Opaque/Mt. Edge $7,350,000        Unknown            Y
        dated 11/1/85                                                     San Jose, CA 95150
        Walter E. Seebach Trustee of the Walter E. Seebach Living Trust P O Box 6912                  Placer Vineyards 2nd              Unknown            Y
        dated 11/1/85                                                     San Jose, CA 95150
        Walter E. Seebach Trustee of the Walter E. Seebach Living Trust P O Box 6912                  Shamrock Tower, LP                Unknown            Y
        dated 11/1/85                                                     San Jose, CA 95150
        Walter E. Seebach Trustee of the Walter E. Seebach Living Trust P O Box 6912                  Brookmere/Matteson $27,050,000    Unknown            Y
        dated 11/1/85                                                     San Jose, CA 95150
        Walter F. Henningsen Trustee of the Walter F. Henningsen          5470 S W Spruce Ave         Gateway Stone                     Unknown            Y
        Revocable Trust dated 2/18/03                                     Beaverton, OR 97005
        Walter Klevay & Gail Klevay, husband & wife                       818 N Victoria Park Rd      Placer Vineyards                  Unknown            Y
                                                                          Fort Lauderdale, FL 33304
        Walter Klevay & Gail Klevay, husband & wife                       818 N Victoria Park Rd      Eagle Meadows Development         Unknown            Y
                                                                          Fort Lauderdale, FL 33304
        Walter Klevay & Gail Klevay, husband & wife                       818 N Victoria Park Rd      HFA- Clear Lake                   Unknown            Y
                                                                          Fort Lauderdale, FL 33304
        Walter M. Jagodzinski & Jacqueline F. Jagodzinski Trustees of     2000 S Tenaya Way           Fiesta Oak Valley                 Unknown            Y
        the Walter Jagodzinski Family Trust dated 10/31/90                Las Vegas, NV 89117
        Walter Mumm & Arlys Mumm, husband & wife, as joint tenants 8055 50th Ave. NW                  Wasco Investments                 Unknown            Y
        with right of survivorship                                        Montevideo, MN 56265




SCHEDULES                                                                           Exhibit B-21                                                      PAGE 259
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In re            USA Commercial Mortgage Company                       ,                                                              Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                             Description and Location of Property                                             Property


                                Legal vesting                                       Mailing Address                    Loan Name         Amount    Contingent
        Walter Musso & Barbara Musso Trustees of the Musso Living       2535 Lupine Canyon Rd          Marquis Hotel                   Unknown            Y
        Trust dated 11/30/92                                            P O Box 2566
                                                                        Avila Beach, CA 93424
        Walter Musso & Barbara Musso Trustees of the Musso Living       2535 Lupine Canyon Rd          Huntsville                      Unknown            Y
        Trust dated 11/30/92                                            P O Box 2566
                                                                        Avila Beach, CA 93424
        Walter Musso & Barbara Musso Trustees of the Musso Living       2535 Lupine Canyon Rd          6425 Gess, LTD                  Unknown            Y
        Trust dated 11/30/92                                            P O Box 2566
                                                                        Avila Beach, CA 93424
        Walter Musso & Barbara Musso Trustees of the Musso Living       2535 Lupine Canyon Rd          BarUSA/$15,300,000              Unknown            Y
        Trust dated 11/30/92                                            P O Box 2566
                                                                        Avila Beach, CA 93424
        Walter Musso & Barbara Musso Trustees of the Musso Living       2535 Lupine Canyon Rd          Hasley Canyon                   Unknown            Y
        Trust dated 11/30/92                                            P O Box 2566
                                                                        Avila Beach, CA 93424
        Wanda C. Wright, Trustee of The Wanda Wright Revocable          16500 Pyramid Hwy              Gramercy Court Condos           Unknown            Y
        Living Trust                                                    Reno, NV 89510
        Wara LP, a Pennsylvania limited partnership                     2546 General Armistead Ave     Bay Pompano Beach               Unknown            Y
                                                                        Valley Forge Business Center
                                                                        Norristown, PA 19403
        Wara LP, a Pennsylvania limited partnership                     2546 General Armistead Ave     Marquis Hotel                   Unknown            Y
                                                                        Valley Forge Business Center
                                                                        Norristown, PA 19403
        Wara LP, a Pennsylvania limited partnership                     2546 General Armistead Ave     Placer Vineyards                Unknown            Y
                                                                        Valley Forge Business Center
                                                                        Norristown, PA 19403
        Warren W. Tripp Trustee of the Tripp Enterprises, Inc. Restated 250 Greg Street                Harbor Georgetown               Unknown            Y
        Profit Sharing Plan                                             Sparks, NV 89431
        Warren W. Tripp Trustee of the Tripp Enterprises, Inc. Restated 250 Greg Street                Harbor Georgetown               Unknown            Y
        Profit Sharing Plan                                             Sparks, NV 89431
        Warren W. Tripp Trustee of the Tripp Enterprises, Inc. Restated 250 Greg Street                Harbor Georgetown               Unknown            Y
        Profit Sharing Plan                                             Sparks, NV 89431
        Warren W. Tripp Trustee of the Tripp Enterprises, Inc. Restated 250 Greg Street                Harbor Georgetown               Unknown            Y
        Profit Sharing Plan                                             Sparks, NV 89431
        Warren W. Tripp Trustee of the Tripp Enterprises, Inc. Restated 250 Greg Street                Harbor Georgetown               Unknown            Y
        Profit Sharing Plan                                             Sparks, NV 89431
        Warren W. Tripp Trustee of the Tripp Enterprises, Inc. Restated 250 Greg Street                Bay Pompano Beach               Unknown            Y
        Profit Sharing Plan                                             Sparks, NV 89431
        Warren W. Tripp Trustee of the Tripp Enterprises, Inc. Restated 250 Greg Street                Bay Pompano Beach               Unknown            Y
        Profit Sharing Plan                                             Sparks, NV 89431
        Warren W. Tripp Trustee of the Tripp Enterprises, Inc. Restated 250 Greg Street                Bay Pompano Beach               Unknown            Y
        Profit Sharing Plan                                             Sparks, NV 89431
        Warren W. Tripp Trustee of the Tripp Enterprises, Inc. Restated 250 Greg Street                Bay Pompano Beach               Unknown            Y
        Profit Sharing Plan                                             Sparks, NV 89431
        Warren W. Tripp Trustee of the Tripp Enterprises, Inc. Restated 250 Greg Street                Bay Pompano Beach               Unknown            Y
        Profit Sharing Plan                                             Sparks, NV 89431
        Warren W. Tripp Trustee of the Tripp Enterprises, Inc. Restated 250 Greg Street                6425 Gess, LTD                  Unknown            Y
        Profit Sharing Plan                                             Sparks, NV 89431
        Warren W. Tripp Trustee of the Tripp Enterprises, Inc. Restated 250 Greg Street                6425 Gess, LTD                  Unknown            Y
        Profit Sharing Plan                                             Sparks, NV 89431
        Warren W. Tripp Trustee of the Tripp Enterprises, Inc. Restated 250 Greg Street                6425 Gess, LTD                  Unknown            Y
        Profit Sharing Plan                                             Sparks, NV 89431
        Warren W. Tripp Trustee of the Tripp Enterprises, Inc. Restated 250 Greg Street                6425 Gess, LTD                  Unknown            Y
        Profit Sharing Plan                                             Sparks, NV 89431
        Warren W. Tripp Trustee of the Tripp Enterprises, Inc. Restated 250 Greg Street                6425 Gess, LTD                  Unknown            Y
        Profit Sharing Plan                                             Sparks, NV 89431
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                Bay Pompano Beach               Unknown            Y
        property                                                        Sparks, NV 89431
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                Bay Pompano Beach               Unknown            Y
        property                                                        Sparks, NV 89431




SCHEDULES                                                                            Exhibit B-21                                                    PAGE 260
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In re            USA Commercial Mortgage Company                        ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                            (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                              Description and Location of Property                                              Property


                                 Legal vesting                                       Mailing Address                   Loan Name          Amount     Contingent
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                Bay Pompano Beach                 Unknown          Y
        property                                                          Sparks, NV 89431
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                Bay Pompano Beach                 Unknown          Y
        property                                                          Sparks, NV 89431
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                Bay Pompano Beach                 Unknown          Y
        property                                                          Sparks, NV 89431
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                Shamrock Tower, LP                Unknown          Y
        property                                                          Sparks, NV 89431
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                Shamrock Tower, LP                Unknown          Y
        property                                                          Sparks, NV 89431
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                Shamrock Tower, LP                Unknown          Y
        property                                                          Sparks, NV 89431
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                Shamrock Tower, LP                Unknown          Y
        property                                                          Sparks, NV 89431
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                Shamrock Tower, LP                Unknown          Y
        property                                                          Sparks, NV 89431
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                Harbor Georgetown                 Unknown          Y
        property                                                          Sparks, NV 89431
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                Harbor Georgetown                 Unknown          Y
        property                                                          Sparks, NV 89431
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                Harbor Georgetown                 Unknown          Y
        property                                                          Sparks, NV 89431
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                Harbor Georgetown                 Unknown          Y
        property                                                          Sparks, NV 89431
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                Harbor Georgetown                 Unknown          Y
        property                                                          Sparks, NV 89431
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                6425 Gess, LTD                    Unknown          Y
        property                                                          Sparks, NV 89431
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                6425 Gess, LTD                    Unknown          Y
        property                                                          Sparks, NV 89431
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                6425 Gess, LTD                    Unknown          Y
        property                                                          Sparks, NV 89431
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                6425 Gess, LTD                    Unknown          Y
        property                                                          Sparks, NV 89431
        Warren W. Tripp, a married man dealing with his sole & separate 250 Greg Street                6425 Gess, LTD                    Unknown          Y
        property                                                          Sparks, NV 89431
        Wayne A. Dutt & Cynthia Deann Dutt Trustees of the Wayne A. 2929 Harbor Cove Dr                Gramercy Court Condos             Unknown          Y
        Dutt Trust                                                        Las Vegas, NV 89128
        Wayne A. Dutt & Cynthia Deann Dutt Trustees of the Wayne A. 2929 Harbor Cove Dr                Tapia Ranch                       Unknown          Y
        Dutt Trust                                                        Las Vegas, NV 89128
        Wayne A. Dutt & Cynthia Deann Dutt Trustees of the Wayne A. 2929 Harbor Cove Dr                Gateway Stone                     Unknown          Y
        Dutt Trust                                                        Las Vegas, NV 89128
        Wayne A. Dutt & Cynthia Deann Dutt Trustees of the Wayne A. 2929 Harbor Cove Dr                Clear Creek Plantation            Unknown          Y
        Dutt Trust                                                        Las Vegas, NV 89128
        Wayne Dotson Co., a Nevada company                                P O Box 3663                 Huntsville                        Unknown          Y
                                                                          Incline Village, NV 89451
        Wayne Dotson Co., a Nevada company                                P O Box 3663                 Opaque/Mt. Edge $7,350,000        Unknown          Y
                                                                          Incline Village, NV 89451
        Wayne K. Bisbee & Mae M. Bisbee, husband & wife, as joint         3020 Rosanna Street          Harbor Georgetown                 Unknown          Y
        tenants with right of survivorship                                Las Vegas, NV 89117
        Wayne K. Bisbee & Mae M. Bisbee, husband & wife, as joint         3020 Rosanna Street          Tapia Ranch                       Unknown          Y
        tenants with right of survivorship                                Las Vegas, NV 89117
        Wayne P. Tarr & Elizabeth G. Tarr, as joint tenants with right of 251 Western Drive            Amesbury/Hatters Point            Unknown          Y
        survivorship                                                      Point Richmond, CA 94801
        Wayne P. Tarr & Elizabeth G. Tarr, as joint tenants with right of 251 Western Drive            Hasley Canyon                     Unknown          Y
        survivorship                                                      Point Richmond, CA 94801
        Wayne P. Tarr & Elizabeth G. Tarr, as joint tenants with right of 251 Western Drive            Huntsville                        Unknown          Y
        survivorship                                                      Point Richmond, CA 94801
        Wayne P. Tarr & Elizabeth G. Tarr, as joint tenants with right of 251 Western Drive            Brookmere/Matteson $27,050,000    Unknown          Y
        survivorship                                                      Point Richmond, CA 94801




SCHEDULES                                                                             Exhibit B-21                                                    PAGE 261
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In re            USA Commercial Mortgage Company                       ,                                                              Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                             Description and Location of Property                                             Property


                                Legal vesting                                       Mailing Address                    Loan Name         Amount    Contingent
        Wayne S. Miller and Kathryn A. Miller, husband and wife, as       1237 County Road TT         HFA- Windham                     Unknown            Y
        joint tenants with the right of survivorship                      Roberts, WI 54023
        Webster I. Beadle & Susanne Beadle, husband & wife, as            4834 Venner Rd              Marquis Hotel                    Unknown            Y
        community property with right of survivorship                     Martinez, CA 94553
        Wen Dai & Zhimin Chen, wife & husband, as joint tenants with      14840 Redmond Drive         Ashby Financial $7,200,000       Unknown            Y
        the right of survivorship                                         Reno, NV 89511
        Wen Dai & Zhimin Chen, wife & husband, as joint tenants with      14840 Redmond Drive         HFA- Clear Lake                  Unknown            Y
        the right of survivorship                                         Reno, NV 89511
        Wen Dai & Zhimin Chen, wife & husband, as joint tenants with      14840 Redmond Drive         Marlton Square                   Unknown            Y
        the right of survivorship                                         Reno, NV 89511
        Wen Dai & Zhimin Chen, wife & husband, as joint tenants with      14840 Redmond Drive         Tapia Ranch                      Unknown            Y
        the right of survivorship                                         Reno, NV 89511
        Wendell Andersen and Barbara Andersen, husband and wife as        626 Sugar Leo Circle        Marlton Square                   Unknown            Y
        joint tenant with rights of survivorship                          St. George, UT 84790
        Wendy Beadle                                                      1440 Yosemite Ave           BarUSA/$15,300,000               Unknown            Y
                                                                          San Jose, CA 95126
        Wesley L. Monroe & Jeannie M. Monroe, as joint tenants with       510 East Jackpine CT        Placer Vineyards                 Unknown            Y
        right of survivorship                                             Spokane, WA 99208
        Wesley L. Monroe & Jeannie M. Monroe, as joint tenants with       510 E. Jackpine Ct          Placer Vineyards                 Unknown            Y
        right of survivorship                                             Spokane , WA 99208
        Wesley L. Monroe & Jeannie M. Monroe, as joint tenants with       510 East Jackpine CT        Anchor B, LLC                    Unknown            Y
        right of survivorship                                             Spokane, WA 99208
        Wesley L. Monroe & Jeannie M. Monroe, as joint tenants with       510 E. Jackpine Ct          Anchor B, LLC                    Unknown            Y
        right of survivorship                                             Spokane , WA 99208
        Wesley L. Monroe & Jeannie M. Monroe, as joint tenants with       510 East Jackpine CT        Marquis Hotel                    Unknown            Y
        right of survivorship                                             Spokane, WA 99208
        Wesley L. Monroe & Jeannie M. Monroe, as joint tenants with       510 E. Jackpine Ct          Marquis Hotel                    Unknown            Y
        right of survivorship                                             Spokane , WA 99208
        Wesley L. Monroe, a married man dealing with his sole &           510 East Jackpine CT        Huntsville                       Unknown            Y
        separate property                                                 Spokane, WA 99208
        Wesley L. Monroe, a married man dealing with his sole &           510 E. Jackpine Ct          Huntsville                       Unknown            Y
        separate property                                                 Spokane , WA 99208
        West Philly Enterprises, Inc., a Nevada corporation               595 N Nova Road 113         HFA- Riviera 2nd                 Unknown            Y
                                                                          Ormond Beach, FL 32174
        Western Sierra Bank Custodian For Myron G. Sayan IRA              101 Winters Creek Ln        Gramercy Court Condos            Unknown            Y
                                                                          Carson City, NV 89704
        Western Sierra Bank Custodian For Myron G. Sayan IRA              101 Winters Creek Ln        Gramercy Court Condos            Unknown            Y
                                                                          Carson City, NV 89704
        Western Sierra Bank Custodian For Myron G. Sayan IRA              101 Winters Creek Ln        Margarita Annex                  Unknown            Y
                                                                          Carson City, NV 89704
        Western Sierra Bank Custodian For Myron G. Sayan IRA              101 Winters Creek Ln        Margarita Annex                  Unknown            Y
                                                                          Carson City, NV 89704
        What's On LP, a Nevada limited partnership                        4425 Dean Martin Dr         Marlton Square                   Unknown            Y
                                                                          Las Vegas, NV 89103
        What's On LP, a Nevada limited partnership                        2013 Grouse Street          Marlton Square                   Unknown            Y
                                                                          Las Vegas, NV 89134
        Whitehurst Fund LLC, Linda Kelly Carson, Manager                  P O Box 8927                Eagle Meadows Development        Unknown            Y
                                                                          Aspen, CO 81612
        Whitney H. Lauren Trustee of the Whitney H. Lauren Family         2581 Rampart Terrace        Marquis Hotel                    Unknown            Y
        Trust dated 3/5/98                                                Reno, NV 89509
        Wilbur A. Schaff and Judy K. Schaff, joint tenants with rights of 1330 Athens Point           Marlton Square                   Unknown            Y
        survivorship                                                      Las Vegas, NV 89123
        William A. Banos a married man, as his sole and separate          7431 Dorie Drive            Hasley Canyon                    Unknown            Y
        property & Angel J. Banos, an unmarried man, as joint tenants     West Hills, CA 91307
        with right of survivorship
        William A. Banos a married man, as his sole and separate          7431 Dorie Drive            Marlton Square 2nd               Unknown            Y
        property & Angel J. Banos, an unmarried man, as joint tenants     West Hills, CA 91307
        with right of survivorship




SCHEDULES                                                                            Exhibit B-21                                                    PAGE 262
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In re            USA Commercial Mortgage Company                       ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                             Description and Location of Property                                              Property


                                Legal vesting                                       Mailing Address                   Loan Name          Amount     Contingent
        William A. Banos a married man, as his sole and separate         7431 Dorie Drive             Marquis Hotel                     Unknown           Y
        property & Angel J. Banos, an unmarried man, as joint tenants    West Hills, CA 91307
        with right of survivorship
        William A. Banos a married man, as his sole and separate         7431 Dorie Drive             6425 Gess, LTD                    Unknown           Y
        property & Angel J. Banos, an unmarried man, as joint tenants    West Hills, CA 91307
        with right of survivorship
        William A. Banos a married man, as his sole and separate         7431 Dorie Drive             HFA- Riviera 2nd                  Unknown           Y
        property & Angel J. Banos, an unmarried man, as joint tenants    West Hills, CA 91307
        with right of survivorship
        William A. Banos a married man, as his sole and separate         7431 Dorie Drive             HFA- North Yonkers                Unknown           Y
        property & Angel J. Banos, an unmarried man, as joint tenants    West Hills, CA 91307
        with right of survivorship
        William A. Downey, married man dealing with his sole &           3637 Larch Ave Suite 3       Amesbury/Hatters Point            Unknown           Y
        separate property                                                South Tahoe, CA 96150
        William A. Downey, married man dealing with his sole &           3637 Larch Ave Suite 3       Fiesta USA/Stoneridge             Unknown           Y
        separate property                                                South Tahoe, CA 96150
        William A. Drago & Loraine A. Drago, husband & wife, as joint 645 Sage Brush St               Amesbury/Hatters Point            Unknown           Y
        tenants with right of survivorship                               Portola, CA 96122
        William A. Drago & Loraine A. Drago, husband & wife, as joint 645 Sage Brush St               Huntsville                        Unknown           Y
        tenants with right of survivorship                               Portola, CA 96122
        William A. Kayser & Kristie Kayser, husband & wife, as joint     8647 Solera Drive            HFA- North Yonkers                Unknown           Y
        tenants with right of survivorship                               San Jose, CA 95135
        William A. Kayser & Kristie Kayser, husband & wife, as joint     8647 Solera Drive            Brookmere/Matteson $27,050,000    Unknown           Y
        tenants with right of survivorship                               San Jose, CA 95135
        William B. Fitzgerald & Sharon R. Fitzgerald, husband & wife, 24 Carrington Way               Anchor B, LLC                     Unknown           Y
        as joint tenants with right of survivorship                      Reno, NV 89506
        William B. Fitzgerald & Sharon R. Fitzgerald, husband & wife, 24 Carrington Way               Anchor B, LLC                     Unknown           Y
        as joint tenants with right of survivorship                      Reno, NV 89506
        William B. Fitzgerald, a married man dealing with his sole &     24 Carrington Way            6425 Gess, LTD                    Unknown           Y
        separate property                                                Reno, NV 89506
        William B. Fitzgerald, a married man dealing with his sole &     24 Carrington Way            6425 Gess, LTD                    Unknown           Y
        separate property                                                Reno, NV 89506
        William B. Fraser, a single man and Judy A. Garrett, a single    1250 E. Ave J-2              Anchor B, LLC                     Unknown           Y
        woman as joint tenants with right of survivorship                Lancaster, CA 93535
        William Bolding & Carolyn Bolding, husband & wife, as joint      3961 Arizona Ave             HFA- Clear Lake                   Unknown           Y
        tenants with right of survivorship                               Las Vegas, NV 89104
        William Bolding & Carolyn Bolding, husband & wife, as joint      3961 Arizona Ave             Fiesta Oak Valley                 Unknown           Y
        tenants with right of survivorship                               Las Vegas, NV 89104
        William Boyce II & Alice D. Boyce, husband & wife, as joint      3448 Monte Carlo Drive       Amesbury/Hatters Point            Unknown           Y
        tenants with right of survivorship                               Las Vegas, NV 89121
        William C. Campbell & Lois M. Campbell Trustees of the 2001 1733 Warrington Drive             Placer Vineyards                  Unknown           Y
        Campbell Family Trust dated 10/03/01                             Henderson, NV 89052
        William C. Campbell & Lois M. Campbell Trustees of the 2001 1733 Warrington Drive             Gramercy Court Condos             Unknown           Y
        Campbell Family Trust dated 10/03/01                             Henderson, NV 89052
        William C. Eastland & Carol A. Eastland Trustees of the Eastland 2100 Mulberry Lane           Placer Vineyards                  Unknown           Y
        Family Joint Living Trust dated 1/18/00                          Placerville, CA 95667
        William C. Wallace II & Patricia M. Wallace, husband & wife, as 3851 Canyon Cove Dr.          Freeway 101                       Unknown           Y
        joint tenants with right of survivorship                         Lake Havasu City, AZ 86404
        William C. Wallace II & Patricia M. Wallace, husband & wife, as 3851 Canyon Cove Dr.          Freeway 101                       Unknown           Y
        joint tenants with right of survivorship                         Lake Havasu , AZ 86404
        William C. Wallace, III & Anna Marie K. Wallace                  5620 Madras Street           Amesbury/Hatters Point            Unknown           Y
                                                                         Carson City, NV 89704
        William Chad Berry, a single man                                 11136 Acama St # 312         Placer Vineyards                  Unknown           Y
                                                                         Studio City, CA 91602
        William D. Botton Trustee of the Botton Living Trust dated       9815 Sam Furr Rd # J115      Harbor Georgetown                 Unknown           Y
        11/17/00                                                         Huntersville, NC 28078
        William D. Wickland & Victoria R. Wickland, husband & wife, P O Box 283                       Fiesta Oak Valley                 Unknown           Y
        as joint tenants with right of survivorship                      Tahoe Vista, CA 96148
        William D. Wickland & Victoria R. Wickland, husband & wife, P O Box 283                       Placer Vineyards                  Unknown           Y
        as joint tenants with right of survivorship                      Tahoe Vista, CA 96148




SCHEDULES                                                                            Exhibit B-21                                                    PAGE 263
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In re            USA Commercial Mortgage Company                      ,                                                               Case No. 06-10725-LBR
                                  Debtor                                                                                                           (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                            Description and Location of Property                                              Property


                                Legal vesting                                      Mailing Address                   Loan Name           Amount    Contingent
        William Daniel Carter Trustee of the W D Carter Trust dated    8170 54th Ave East            Bay Pompano Beach                 Unknown            Y
        3/22/99                                                        Bradenton, FL 34211
        William Dupin & Penny Dupin, husband & wife, as joint tenants 545 Cole Circle                Golden State Investments II       Unknown            Y
        with right of survivorship                                     Incline Village, NV 89451
        William Dupin & Penny Dupin, husband & wife, as joint tenants 545 Cole Circle                Margarita Annex                   Unknown            Y
        with right of survivorship                                     Incline Village, NV 89451
        William Dupin & Penny Dupin, husband & wife, as joint tenants 545 Cole Circle                Bay Pompano Beach                 Unknown            Y
        with right of survivorship                                     Incline Village, NV 89451
        William Dupin & Penny Dupin, husband & wife, as joint tenants 545 Cole Circle                6425 Gess, LTD                    Unknown            Y
        with right of survivorship                                     Incline Village, NV 89451
        William Dupin & Penny Dupin, husband & wife, as joint tenants 545 Cole Circle                Opaque/Mt. Edge $7,350,000        Unknown            Y
        with right of survivorship                                     Incline Village, NV 89451
        William Dupin & Penny Dupin, husband & wife, as joint tenants 545 Cole Circle                Castaic Partners II, LLC          Unknown            Y
        with right of survivorship                                     Incline Village, NV 89451
        William E. Buck & Eleanor F. Buck Co-Trustees of the W.E.      PO Box 5127                   Eagle Meadows Development         Unknown            Y
        Buck Family Trust dated 7/2/87 & William E. Buck & Eleanor F. Reno, NV 89513
        Buck General Partners of GRB Company
        William E. Buck & Eleanor F. Buck Co-Trustees of the W.E.      P. O. Box 5127                Eagle Meadows Development         Unknown            Y
        Buck Family Trust dated 7/2/87 & William E. Buck & Eleanor F. Reno, NV 89513
        Buck General Partners of GRB Company
        William E. Buck & Eleanor F. Buck Co-Trustees of the W.E.      P.O. Box 5127                 Eagle Meadows Development         Unknown            Y
        Buck Family Trust dated 7/2/87 & William E. Buck & Eleanor F. Reno, NV 89513
        Buck General Partners of GRB Company
        William E. Buck & Eleanor F. Buck Co-Trustees of the W.E.      P O Box 5127                  Eagle Meadows Development         Unknown            Y
        Buck Family Trust dated 7/2/87 & William E. Buck & Eleanor F. Reno, NV 89513
        Buck General Partners of GRB Company
        William E. Buck & Elenor F. Buck Trustees of the W. E. Buck    PO Box 5127                   Castaic Partners II, LLC          Unknown            Y
        Family Trust dated 7/02/87                                     Reno, NV 89513
        William E. Buck & Elenor F. Buck Trustees of the W. E. Buck    P. O. Box 5127                Castaic Partners II, LLC          Unknown            Y
        Family Trust dated 7/02/87                                     Reno, NV 89513
        William E. Buck & Elenor F. Buck Trustees of the W. E. Buck    P.O. Box 5127                 Castaic Partners II, LLC          Unknown            Y
        Family Trust dated 7/02/87                                     Reno, NV 89513
        William E. Buck & Elenor F. Buck Trustees of the W. E. Buck    P O Box 5127                  Castaic Partners II, LLC          Unknown            Y
        Family Trust dated 7/02/87                                     Reno, NV 89513
        William E. Schnadt & Janet E. Schnadt Trustees of the Schnadt 1471 Bear Creek Drive          Lerin Hills                       Unknown            Y
        Trust dated 6/18/93                                            Bishop, CA 93514
        William E. Schnadt & Janet E. Schnadt Trustees of the Schnadt 1471 Bear Creek Drive          Placer Vineyards 2nd              Unknown            Y
        Trust dated 6/18/93                                            Bishop, CA 93514
        William E. Schnadt & Janet E. Schnadt Trustees of the Schnadt 1471 Bear Creek Drive          Tapia Ranch                       Unknown            Y
        Trust dated 6/18/93                                            Bishop, CA 93514
        William E. Schnadt & Janet E. Schnadt Trustees of the Schnadt 1471 Bear Creek Drive          Marlton Square 2nd                Unknown            Y
        Trust dated 6/18/93                                            Bishop, CA 93514
        William E. Schnadt & Janet E. Schnadt Trustees of the Schnadt 1471 Bear Creek Drive          HFA- Riviera 2nd                  Unknown            Y
        Trust dated 6/18/93                                            Bishop, CA 93514
        William E. Schnadt & Janet E. Schnadt Trustees of the Schnadt 1471 Bear Creek Drive          Gramercy Court Condos             Unknown            Y
        Trust dated 6/18/93                                            Bishop, CA 93514
        William E. Schnadt & Janet E. Schnadt Trustees of the Schnadt 1471 Bear Creek Drive          Bay Pompano Beach                 Unknown            Y
        Trust dated 6/18/93                                            Bishop, CA 93514
        William E. Schnadt & Janet E. Schnadt Trustees of the Schnadt 1471 Bear Creek Drive          Huntsville                        Unknown            Y
        Trust dated 6/18/93                                            Bishop, CA 93514
        William E. Schnadt & Janet E. Schnadt Trustees of the Schnadt 1471 Bear Creek Drive          Cabernet                          Unknown            Y
        Trust dated 6/18/93                                            Bishop, CA 93514
        William E. Thomas, Jr. & Ingeborg Thomas Trustees and/or their P O Box 323                   Wasco Investments                 Unknown            Y
        successors of the Thomas Family Trust dated 4/13/00            Genoa, NV 89411
        William F. Errington, single man                               1335 South Santa Barbara      Margarita Annex                   Unknown            Y
                                                                       Minden, NV 89423
        William G. Homer, a married man dealing with his sole &        648 Pinnacle Ct               Hasley Canyon                     Unknown            Y
        separate property                                              Mesquite, NV 89027
        William G. McMurtrey and Janet L. McMurtrey, husband and       79920 Kingston Drive          Bay Pompano Beach                 Unknown            Y
        wife as joint tenants with right of survivorship               Bermuda Dunes, CA 92203




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In re            USA Commercial Mortgage Company                         ,                                                                Case No. 06-10725-LBR
                                    Debtor                                                                                                             (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                           Current Market Value of
                                                                                                                                             Debtor's Interest in
                                                              Description and Location of Property                                                Property


                                 Legal vesting                                        Mailing Address                     Loan Name         Amount     Contingent
        William G. Warwick & Virginia B. Warwick, husband & wife, as 170 Dayton Street                   HFA- Windham                      Unknown         Y
        joint tenants with right of survivorship                          Danvers, MA 1923
        William H. Favro & Carol M. Favro Trustees of the Favro Trust 8909 W Rocky Shore Drive           Fiesta USA/Stoneridge             Unknown         Y
        dated 9/14/00                                                     Las Vegas, NV 89117
        William H. Favro & Carol M. Favro Trustees of the Favro Trust 8909 W Rocky Shore Drive           Tapia Ranch                       Unknown         Y
        dated 9/14/00                                                     Las Vegas, NV 89117
        William H. Favro & Carol M. Favro Trustees of the Favro Trust 8909 W Rocky Shore Drive           Placer Vineyards                  Unknown         Y
        dated 9/14/00                                                     Las Vegas, NV 89117
        William H. Favro & Carol M. Favro Trustees of the Favro Trust 8909 W Rocky Shore Drive           HFA- Clear Lake                   Unknown         Y
        dated 9/14/00                                                     Las Vegas, NV 89117
        William H. Favro & Carol M. Favro Trustees of the Favro Trust 8909 W Rocky Shore Drive           Fiesta Oak Valley                 Unknown         Y
        dated 9/14/00                                                     Las Vegas, NV 89117
        William H. Favro & Carol M. Favro Trustees of the Favro Trust 8909 W Rocky Shore Drive           Eagle Meadows Development         Unknown         Y
        dated 9/14/00                                                     Las Vegas, NV 89117
        William H. Favro & Carol M. Favro Trustees of the Favro Trust 8909 W Rocky Shore Drive           Amesbury/Hatters Point            Unknown         Y
        dated 9/14/00                                                     Las Vegas, NV 89117
        William H. Favro & Carol M. Favro Trustees of the Favro Trust 8909 W Rocky Shore Drive           6425 Gess, LTD                    Unknown         Y
        dated 9/14/00                                                     Las Vegas, NV 89117
        William H. Favro & Carol M. Favro Trustees of the Favro Trust 8909 W Rocky Shore Drive           Huntsville                        Unknown         Y
        dated 9/14/00                                                     Las Vegas, NV 89117
        William H. Favro & Carol M. Favro Trustees of the Favro Trust 8909 W Rocky Shore Drive           Brookmere/Matteson $27,050,000    Unknown         Y
        dated 9/14/00                                                     Las Vegas, NV 89117
        William H. Jacobsen, Jr., a single man                            1411 Samuel Way                BarUSA/$15,300,000                Unknown         Y
                                                                          Reno, NV 89509
        William H. Jacobsen, Jr., a single man                            1411 Samuel Way                Brookmere/Matteson $27,050,000    Unknown         Y
                                                                          Reno, NV 89509
        William H. Lenhart Trustee of the William H. Lenhart Living       1209 Wilshire St               Tapia Ranch                       Unknown         Y
        Trust                                                             Las Vegas, NV 89146
        William H. Lenhart Trustee of the William H. Lenhart Living       1209 Wilshire St               Placer Vineyards                  Unknown         Y
        Trust                                                             Las Vegas, NV 89146
        William Harrison Goulding and Elizabeth R. Goulding, husband 5444 Clovercrest Drive              Lerin Hills                       Unknown         Y
        & wife, as joint tenants with right of survivorship               San Jose, CA 95118
        William J. Buttram, a single man                                  1929 Davina Street             Bay Pompano Beach                 Unknown         Y
                                                                          Henderson, NV 89074
        William J. Hinson, Jr., an unmarried man                          13305 Woodstock Drive          BarUSA/$15,300,000                Unknown         Y
                                                                          Nevada City, CA 95959
        William J. Hinson, Jr., an unmarried man                          13305 Woodstock Drive          HFA- North Yonkers                Unknown         Y
                                                                          Nevada City, CA 95959
        William J. Hinson, Jr., an unmarried man                          13305 Woodstock Drive          Fiesta Oak Valley                 Unknown         Y
                                                                          Nevada City, CA 95959
        William J. Hinson, Jr., an unmarried man                          13305 Woodstock Drive          6425 Gess, LTD                    Unknown         Y
                                                                          Nevada City, CA 95959
        William J. Hinson, Jr., an unmarried man                          13305 Woodstock Drive          Gramercy Court Condos             Unknown         Y
                                                                          Nevada City, CA 95959
        William J. Hinson, Jr., an unmarried man                          13305 Woodstock Drive          Brookmere/Matteson $27,050,000    Unknown         Y
                                                                          Nevada City, CA 95959
        William J. Kassel Trustee of the Kassel 1988 Trust                4533 Pony Express St           Placer Vineyards                  Unknown         Y
                                                                          North Las Vegas, NV 89031
        William J. Ovca, Jr. Trustee of the Ovca Associates, Inc. Defined 16872 Baruna Lane              HFA- Clear Lake                   Unknown         Y
        Pension Plan                                                      Huntington Beach, CA 92649
        William J. Ovca, Jr. Trustee of the Ovca Associates, Inc. Defined 16872 Baruna Lane              Gramercy Court Condos             Unknown         Y
        Pension Plan                                                      Huntington Beach, CA 92649
        William J. Rozak, Jr., an unmarried man                           3928 Placita Del Lazo Street   Fiesta USA/Stoneridge             Unknown         Y
                                                                          Las Vegas, NV 89120
        William J. Rozak, Jr., an unmarried man                           3928 Placita Del Lazo Street   Marlton Square                    Unknown         Y
                                                                          Las Vegas, NV 89120
        William J. Rozak, Jr., an unmarried man                           3928 Placita Del Lazo Street   Amesbury/Hatters Point            Unknown         Y
                                                                          Las Vegas, NV 89120
        William J. Sandberg & Shang'Ling J. Tsai, husband and wife as 9588 Vervain Street                Lerin Hills                       Unknown         Y
        joint tenants with the right of survivorship                      San Diego, CA 92129




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In re            USA Commercial Mortgage Company                      ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                             Description and Location of Property                                             Property


                                Legal vesting                                      Mailing Address                   Loan Name           Amount    Contingent
        William Kostechko, Trustee of The William Kostechko              5415 W Harmon Ave #1035     Gramercy Court Condos             Unknown            Y
        Revocable Trust dated October 31, 2005                           Las Vegas, NV 89103
        William L. Hane & Marcia L. Hane Trustees of the William L.      P O Box 31450               Placer Vineyards                  Unknown            Y
        Hane Family Trust dated 9/1/95                                   Mesa, AZ 85275
        William L. Hane & Marcia L. Hane Trustees of the William L.      P O Box 31450               Placer Vineyards                  Unknown            Y
        Hane Family Trust dated 9/1/95                                   Mesa, AZ 85275
        William L. Harper, a single man                                  375 River Flow Drive        6425 Gess, LTD                    Unknown            Y
                                                                         Reno, NV 89523
        William L. Harper, a single man                                  375 River Flow Drive        Marquis Hotel                     Unknown            Y
                                                                         Reno, NV 89523
        William L. McQuerry, Trustee of the McQuerry Family Trust        318 Singing Brook Circle    Placer Vineyards                  Unknown            Y
        dated 1/25/80                                                    Santa Rosa, CA 95409
        William L. McQuerry, Trustee of the McQuerry Family Trust        318 Singing Brook Circle    HFA- North Yonkers                Unknown            Y
        dated 1/25/80                                                    Santa Rosa, CA 95409
        William L. McQuerry, Trustee of the McQuerry Family Trust        318 Singing Brook Circle    BarUSA/$15,300,000                Unknown            Y
        dated 1/25/80                                                    Santa Rosa, CA 95409
        William L. McQuerry, Trustee of the McQuerry Family Trust        318 Singing Brook Circle    Eagle Meadows Development         Unknown            Y
        dated 1/25/80                                                    Santa Rosa, CA 95409
        William L. Montgomery, Jr. Guaranty Loan Account                 630 Garfield                Lerin Hills                       Unknown            Y
                                                                         Denver, CO 80206
        William L. Montgomery, Jr. Guaranty Loan Account                 630 Garfield St             Lerin Hills                       Unknown            Y
                                                                         Denver, CO 80206
        William L. Montgomery, Jr. Guaranty Loan Account                 630 Garfield St             Lerin Hills                       Unknown            Y
                                                                         Denver, CO 80206
        William L. Montgomery, Jr., an unmarried man                     630 Garfield                Placer Vineyards                  Unknown            Y
                                                                         Denver, CO 80206
        William L. Montgomery, Jr., an unmarried man                     630 Garfield St             Placer Vineyards                  Unknown            Y
                                                                         Denver, CO 80206
        William L. Montgomery, Jr., an unmarried man                     630 Garfield St             Placer Vineyards                  Unknown            Y
                                                                         Denver, CO 80206
        William Lee Reeves, an unmarried man                             P O Box 3933                Eagle Meadows Development         Unknown            Y
                                                                         Carson City, NV 89702
        William Lukasavage & Joanne Lukasavage, husband & wife, as 8641 Castle Hill Ave              6425 Gess, LTD                    Unknown            Y
        joint tenants with right of survivorship                         Las Vegas, NV 89129
        William Lukasavage & Joanne Lukasavage, husband & wife, as 8641 Castle Hill Ave              Bay Pompano Beach                 Unknown            Y
        joint tenants with right of survivorship                         Las Vegas, NV 89129
        William Lukasavage & Joanne Lukasavage, husband & wife, as 8641 Castle Hill Ave              HFA- North Yonkers                Unknown            Y
        joint tenants with right of survivorship                         Las Vegas, NV 89129
        William Lukasavage & Joanne Lukasavage, husband & wife, as 8641 Castle Hill Ave              HFA- Riviera 2nd                  Unknown            Y
        joint tenants with right of survivorship                         Las Vegas, NV 89129
        William Lukasavage & Joanne Lukasavage, husband & wife, as 8641 Castle Hill Ave              Tapia Ranch                       Unknown            Y
        joint tenants with right of survivorship                         Las Vegas, NV 89129
        William M. Bettencourt, Jr. and Joan E. Bettencourt, Trustees of 52 Williams Dr.             Bay Pompano Beach                 Unknown            Y
        the Bettencourt Family Living Trust dated 9/3/97                 Moraga, CA 94556
        William M. Bettencourt, Jr. and Joan E. Bettencourt, Trustees of 52 Williams Dr.             Bay Pompano Beach                 Unknown            Y
        the Bettencourt Family Living Trust dated 9/3/97                 Moraga, CA 94556
        William M. Spangler & Jean A. Spangler, husband & wife, as       711 Gordon Ave              BarUSA/$15,300,000                Unknown            Y
        joint tenants with right of survivorship                         Reno, NV 89509
        William M. Spangler & Jean A. Spangler, husband & wife, as       711 Gordon Ave              Fiesta Oak Valley                 Unknown            Y
        joint tenants with right of survivorship                         Reno, NV 89509
        William M. Spangler & Jean A. Spangler, husband & wife, as       711 Gordon Ave              Amesbury/Hatters Point            Unknown            Y
        joint tenants with right of survivorship                         Reno, NV 89509
        William P. Austin & Mary Lee Austin, joint tenants with right of 453 Head Street             Placer Vineyards                  Unknown            Y
        survivorship                                                     Victoria, BC
        William P. Kenny and Nancy J. Costello, husband and wife, as     P O Box 4242                Fiesta USA/Stoneridge             Unknown            Y
        joint tenants with right of survivorship                         Truckee, CA 96160
        William R. Godfrey & Cynthia Godfrey, husband & wife as Joint 9520 Coral Way                 Bay Pompano Beach                 Unknown            Y
        Tenants with Right of Survivorship                               Las Vegas, NV 89117
        William R. Godfrey & Cynthia Godfrey, husband & wife as Joint 9520 Coral way                 Bay Pompano Beach                 Unknown            Y
        Tenants with Right of Survivorship                               Las Vegas, NV 89117




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In re            USA Commercial Mortgage Company                         ,                                                             Case No. 06-10725-LBR
                                    Debtor                                                                                                          (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                              Description and Location of Property                                             Property


                                 Legal vesting                                      Mailing Address                    Loan Name          Amount    Contingent
        William R. Godfrey and Cynthia J. Godfrey trustees of the        9520 Coral Way               Bay Pompano Beach                 Unknown            Y
        William R. and Cynthia J. Godfrey Living Trust 2005              Las Vegas, NV 89117
        William R. Godfrey and Cynthia J. Godfrey trustees of the        9520 Coral way               Bay Pompano Beach                 Unknown            Y
        William R. and Cynthia J. Godfrey Living Trust 2005              Las Vegas, NV 89117
        William R. Gresher & Sandra C. Gresher Trustees of the Gresher   5705 Camino De Bryant        Huntsville                        Unknown            Y
        Family Trust dated 10/18/02                                      Yorba Linda, CA 92887
        William R. Gresher & Sandra C. Gresher Trustees of the Gresher   5705 Camino De Bryant        Marquis Hotel                     Unknown            Y
        Family Trust dated 10/18/02                                      Yorba Linda, CA 92887
        William R. Gresher & Sandra C. Gresher Trustees of the Gresher   5705 Camino De Bryant        Amesbury/Hatters Point            Unknown            Y
        Family Trust dated 10/18/02                                      Yorba Linda, CA 92887
        William R. Gresher & Sandra C. Gresher Trustees of the Gresher   5705 Camino De Bryant        Tapia Ranch                       Unknown            Y
        Family Trust dated 10/18/02                                      Yorba Linda, CA 92887
        William R. Long                                                  93 Broken Rock Drive         Amesbury/Hatters Point            Unknown            Y
                                                                         Henderson, NV 89074
        William R. Long                                                  93 Broken Rock Drive         Amesbury/Hatters Point            Unknown            Y
                                                                         Henderson, NV 89074
        William R. Long, a single man                                    93 Broken Rock Drive         Placer Vineyards 2nd              Unknown            Y
                                                                         Henderson, NV 89074
        William R. Long, a single man                                    93 Broken Rock Drive         Placer Vineyards 2nd              Unknown            Y
                                                                         Henderson, NV 89074
        William Richard Moreno, a married man as his sole & separate     10016 Rolling Glen Court     Gateway Stone                     Unknown            Y
        property                                                         Las Vegas, NV 89117
        William Richard Moreno, a married man as his sole & separate     10016 Rolling Glen Court     Bay Pompano Beach                 Unknown            Y
        property                                                         Las Vegas, NV 89117
        William Rizzo, an unmarried man                                  146 Triberg Court            Amesbury/Hatters Point            Unknown            Y
                                                                         Henderson, NV 89014
        William S. Reeves, a married man                                 2930 Serene St               Marlton Square                    Unknown            Y
                                                                         Henderson, NV 89074
        William Spitzner & Kathleen Spitzner, husband & wife, as joint   9900 Wilbur May Pkwy #3405   Gateway Stone                     Unknown            Y
        tenants with right of survivorship                               Reno, NV 89521
        William Sugar & Marilyn R. Sugar Trustees of the Sugar 1990      4 Stern Grove Court          Anchor B, LLC                     Unknown            Y
        Living Revocable Trust dated 10/4/90                             San Francisco, CA 94132
        William Sugar & Marilyn R. Sugar Trustees of the Sugar 1990      7408 Doe Avenue              Anchor B, LLC                     Unknown            Y
        Living Revocable Trust dated 10/4/90                             Las Vegas, NV 89117
        William T. Hoover, a married man dealing with his sole &         1340 N. Desoto St            Shamrock Tower, LP                Unknown            Y
        seperate property                                                Chandler, AZ 85224
        William T. McHugh                                                335 Desert Meadow Court      Fiesta Oak Valley                 Unknown            Y
                                                                         Reno, NV 89502
        William Taylor & Lyla Taylor Trustees of the Taylor Family       8604 Soneto Lane             HFA- North Yonkers                Unknown            Y
        Trust dated 12/23/86                                             Las Vegas, NV 89117
        William Taylor & Lyla Taylor Trustees of the Taylor Family       8604 Soneto Lane             Marlton Square                    Unknown            Y
        Trust dated 12/23/86                                             Las Vegas, NV 89117
        William Taylor & Lyla Taylor Trustees of the Taylor Family       8604 Soneto Lane             Brookmere/Matteson $27,050,000    Unknown            Y
        Trust dated 12/23/86                                             Las Vegas, NV 89117
        William Thomas Younger & Lisa K. Younger, husband & wife,        1746 Lake Street             Opaque/Mt. Edge $7,350,000        Unknown            Y
        as joint tenants with right of survivorship                      Huntington Beach, CA 92648
        William W. Ogren & Betty R. Ogren, husband & wife, as joint      421 Schoolhouse Lane         Margarita Annex                   Unknown            Y
        tenants with right of survivorship                               Devon, PA 19333
        William W. Ogren & Betty R. Ogren, husband & wife, as joint      421 Schoolhouse Lane         Placer Vineyards                  Unknown            Y
        tenants with right of survivorship                               Devon, PA 19333
        Wilson Investments                                               5909 Bartlett Avenue         BarUSA/$15,300,000                Unknown            Y
                                                                         Las Vegas, NV 89108
        Wilson J. Richards & Virginia F. Richards, husband & wife, as    20075 Black Butte Road       Margarita Annex                   Unknown            Y
        joint tenants with right of survivorship                         Lewistown, MT 59457
        Wm. Penn Fisher & Mary Dae Fisher Trustees of the Wm. Penn       309 Fruitland Avenue N.      HFA- Riviera 2nd                  Unknown            Y
        Fisher Family Revocable Living Trust dated 1/2/92                Buhl, ID 83316
        Wolf Dieter Voss & Claudia Voss Trustees of The Voss Family      14 Via Ambra                 Marlton Square                    Unknown            Y
        Trust Under Trust dated 10/4/99                                  Newport Beach, CA 92657
        Wolf Dieter Voss & Claudia Voss Trustees of The Voss Family      14 Via Ambra                 Wasco Investments                 Unknown            Y
        Trust Under Trust dated 10/4/99                                  Newport Beach, CA 92657




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In re             USA Commercial Mortgage Company                        ,                                                              Case No. 06-10725-LBR
                                    Debtor                                                                                                           (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                               Description and Location of Property                                             Property


                                 Legal vesting                                       Mailing Address                    Loan Name         Amount     Contingent
        Wolf Dieter Voss & Claudia Voss Trustees of The Voss Family      14 Via Ambra                  Placer Vineyards                  Unknown           Y
        Trust Under Trust dated 10/4/99                                  Newport Beach, CA 92657
        Wolf Dieter Voss & Claudia Voss Trustees of The Voss Family      14 Via Ambra                  6425 Gess, LTD                    Unknown           Y
        Trust Under Trust dated 10/4/99                                  Newport Beach, CA 92657
        Wolf Dieter Voss & Claudia Voss Trustees of The Voss Family      14 Via Ambra                  Marquis Hotel                     Unknown           Y
        Trust Under Trust dated 10/4/99                                  Newport Beach, CA 92657
        Wolf Dieter Voss & Claudia Voss Trustees of The Voss Family      14 Via Ambra                  Huntsville                        Unknown           Y
        Trust Under Trust dated 10/4/99                                  Newport Beach, CA 92657
        Wolf Dieter Voss & Claudia Voss Trustees of The Voss Family      14 Via Ambra                  HFA- North Yonkers                Unknown           Y
        Trust Under Trust dated 10/4/99                                  Newport Beach, CA 92657
        Wolf Dieter Voss & Claudia Voss Trustees of The Voss Family      14 Via Ambra                  Ashby Financial $7,200,000        Unknown           Y
        Trust Under Trust dated 10/4/99                                  Newport Beach, CA 92657
        Wolf Dieter Voss & Claudia Voss Trustees of The Voss Family      14 Via Ambra                  Margarita Annex                   Unknown           Y
        Trust Under Trust dated 10/4/99                                  Newport Beach, CA 92657
        Wolf Dieter Voss & Claudia Voss Trustees of The Voss Family      14 Via Ambra                  Gramercy Court Condos             Unknown           Y
        Trust Under Trust dated 10/4/99                                  Newport Beach, CA 92657
        Woodrow Smith & Mary Alyce Smith, as joint tenants with right    6847 W Tree Haven Court       Placer Vineyards                  Unknown           Y
        of survivorship                                                  Las Vegas, NV 89146
        Woods Family Trust, Robert D. Woods, Trustee                     1032 Paisley Ct               Amesbury/Hatters Point            Unknown           Y
                                                                         Sparks, NV 89434
        Work Holdings Inc., an Arizona corporation                       317 E. Wildwood Drive         Placer Vineyards 2nd              Unknown           Y
                                                                         Phoenix, AZ 85048
        Work Holdings Inc., an Arizona corporation                       317 E. Wildwood Drive         Lerin Hills                       Unknown           Y
                                                                         Phoenix, AZ 85048
        World Links Group, LLC, a California limited liability company   2053 Columbus Way             Eagle Meadows Development         Unknown           Y
                                                                         Vista, CA 92081
        World Links Group, LLC, a California limited liability company   2053 Columbus Way             Eagle Meadows Development         Unknown           Y
                                                                         Vista, CA 92081
        Wormack E Smith III & Christina C Smith, husband & wife, as      700 Washington St Apt 910     Eagle Meadows Development         Unknown           Y
        joint tenants with right of survivorship                         Denver, CO 80203
        Wormack E Smith III & Christina C Smith, husband & wife, as      700 Washington St Apt 910     Brookmere/Matteson $27,050,000    Unknown           Y
        joint tenants with right of survivorship                         Denver, CO 80203
        Wynn A. Gunderson & Lorraine J. Gunderson, husband and wife      33941 N 67th Street           Gramercy Court Condos             Unknown           Y
        as joint tenants with the right of survivorship                  Scottsdale, AZ 85262
        Wynn A. Gunderson & Lorraine J. Gunderson, husband and wife      33941 N 67th Street           HFA-Clear Lake 2nd                Unknown           Y
        as joint tenants with the right of survivorship                  Scottsdale, AZ 85262
        X-Factor, Inc., a Nevada corporation                             4012 S Rainbow Ste D92        Fiesta Oak Valley                 Unknown           Y
                                                                         Las Vegas, NV 89103
        X-Factor, Inc., a Nevada corporation                             4012 S Rainbow Ste D92        Fiesta USA/Stoneridge             Unknown           Y
                                                                         Las Vegas, NV 89103
        X-Factor, Inc., a Nevada corporation                             4012 S Rainbow Ste D92        BarUSA/$15,300,000                Unknown           Y
                                                                         Las Vegas, NV 89103
        X-Factor, Inc., a Nevada corporation                             4012 S Rainbow Ste D92        6425 Gess, LTD                    Unknown           Y
                                                                         Las Vegas, NV 89103
        X-Factor, Inc., a Nevada corporation                             4012 S Rainbow Ste D92        Eagle Meadows Development         Unknown           Y
                                                                         Las Vegas, NV 89103
        X-Factor, Inc., a Nevada corporation                             4012 S Rainbow Ste D92        Brookmere/Matteson $27,050,000    Unknown           Y
                                                                         Las Vegas, NV 89103
        Yadira C. Vigil Trustee of the Yadira C. Vigil Revocable Trust   298 San Felipe Way            Wasco Investments                 Unknown           Y
        dated 5/28/02                                                    Novato, CA 94945
        Yankee Holdings, LLC, a Arizona corporation                      455 Montazona Trail           Gramercy Court Condos             Unknown           Y
                                                                         Sedona, AZ 86351
        Young Jin Park,a married woman and Sejin Park, a married man,    4417 Los Reyes Court          Gramercy Court Condos             Unknown           Y
        as joint tenants with the righs of survivorship                  Las Vegas, NV 89121
        Yukiyo Matsumura and Machi Liu, mother and daughter as joint     728 N Rockbury Drive          Marlton Square                    Unknown           Y
        tenants with the right of survivorship                           Beverly Hills, CA 90210
        Zawacki, a California LLC                                        P.O. Box 5156                 Clear Creek Plantation            Unknown           Y
                                                                         Bear Valley, CA 95223
        Zawacki, a California LLC                                        P.O. Box 5156                 Gramercy Court Condos             Unknown           Y
                                                                         Bear Valley, CA 95223




SCHEDULES                                                                             Exhibit B-21                                                    PAGE 268
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In re            USA Commercial Mortgage Company                      ,                                                               Case No. 06-10725-LBR
                                    Debtor                                                                                                         (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                           Description and Location of Property                                               Property


                                Legal vesting                                     Mailing Address                    Loan Name           Amount    Contingent
        Zawacki, a California LLC                                     P.O. Box 5156                 Marlton Square                     Unknown            Y
                                                                      Bear Valley, CA 95223
        Zawacki, a California LLC                                     P.O. Box 5156                 Placer Vineyards                   Unknown            Y
                                                                      Bear Valley, CA 95223
        Zawacki, a California LLC                                     P.O. Box 5156                 Placer Vineyards 2nd               Unknown            Y
                                                                      Bear Valley, CA 95223
        Zawacki, a California LLC                                     P.O. Box 5156                 Tapia Ranch                        Unknown            Y
                                                                      Bear Valley, CA 95223
        Zeev Mansdorf & Cila Mansdorf Trustees of the Mansdorf 1993   2816 Brianwood Court          Brookmere/Matteson $27,050,000     Unknown            Y
        Trust                                                         Las Vegas, NV 89134
        Zoe Brown Trustee of the Zoe Brown 1989 Family Trust          2877 Paradise Road 803        Fiesta USA/Stoneridge              Unknown            Y
                                                                      Las Vegas, NV 89109
        Zoe Brown Trustee of the Zoe Brown 1989 Family Trust          2877 Paradise Road 803        Marlton Square                     Unknown            Y
                                                                      Las Vegas, NV 89109


                                                                                                    Total                              Unknown




SCHEDULES                                                                          Exhibit B-21                                                      PAGE 269
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In re         USA Commercial Mortgage Company            ,                                    Case No. 06-10725-LBR
                          Debtor                                                                         (If known)




                               SCHEDULE B - PERSONAL PROPERTY
                                            EXHIBIT B-23
                              Licenses, Franchises and General Intangibles

                                                                                                    Current Market
                                                                                                   Value of Debtor's
                           Description and Location of Property                                   Interest in Property


        Description                                      Address


Mortgage Broker License                                  4484 South Pecos Road                         Unknown
                                                         Las Vegas, Nevada 89121



                                              Licenses, Franchises and General Intangibles             Unknown




SCHEDULES                                            Exhibit B-23                                              PAGE 1
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In re         USA Commercial Mortgage Company                  ,                                 Case No. 06-10725-LBR
                              Debtor                                                                        (If known)


                                     SCHEDULE B - PERSONAL PROPERTY
                                                  EXHIBIT B-28
                                     Office Equipment, Furnishings and Supplies

                                                                                                       Current Market
                                                                                                      Value of Debtor's
                                  Description and Location of Property                               Interest in Property

        Description                                            Address

        Office Equipment                                       4484 South Pecos Road                           $74,754.00
                                                               Las Vegas, NV 89121


        Computer Hardware                                      4484 South Pecos Road                         $183,679.00
                                                               Las Vegas, NV 89121


        Furniture                                              4484 South Pecos Road                         $136,252.00
                                                               Las Vegas, NV 89121


        Leasehold Improvements:                                4484 South Pecos Road
             Signs                                             Las Vegas, NV 89121                              $5,354.00
             Doors                                                                                              $9,661.00
             Air conditioners                                                                                  $41,558.00




                                             Total Office Equipment, Furnishings and Supplies                $451,258.00




SCHEDULES                                                   Exhibit B-28                                           PAGE 1
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 In re
         USA Commercial Mortgage Company                                                        Case No.
                                                                                                                 06-10725-LBR
                          Debtor                                                                                     (If known)

                                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
     State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
 claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any
 account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses
 to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens,
 mortgages, deeds of trust, and other security interests. List creditors in alphabetical order to the extent practicable. If a
 minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. §
 112; Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled
 "Codebtor", including the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint
 petition is filed, state whether husband, wife, both of them, or the marital community may be liable on each claim by
 placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
    If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in
 the column labeled "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may
 need to place an "X" in more than one of these three columns.)
    Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed
 schedule. Report this total also on the Summary of Schedules.
           Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                             CODEBTOR                                       CONTINGENT

                                                 HUSBAND, WIFE, JOINT                            UNLIQUIDATED
                                                  OR COMMUNITY                                       DISPUTED
        CREDITOR'S NAME AND
           MAILING ADDRESS                            DATE CLAIM WAS INCURRED, NATURE OF                 AMOUNT OF CLAIM          UNSECURED
   INCLUDING ZIP CODE AND ACCOUNT                     LIEN , AND DESCRIPTION AND VALUE OF              WITHOUT DEDUCTING           PORTION,
     NUMBER (See instructions Above)                        PROPERTY SUBJECT TO LIEN                   VALUE OF COLLATERAL           IF ANY

         Vendor No:
BANKERS LEASING COMPANY AS                            UCC FILING                            X    X          UNKNOWN               UNKNOWN
SECURED PARTY                                         12/2/02, COMPUTER EQUIPMENT
10052 JUSTIN DR
STE A
URBANDALE, IA 50322
                                                        Value:                    UNKNOWN
         Vendor No:
CITIBANK NEVADA AS SECURED                            UCC FILING                            X    X          UNKNOWN               UNKNOWN
PARTY                                                 12/23/99, TERMINATED 2/13/04,
3900 PARADISE ROAD                                    CONTINUED 9/30/04 PERSONAL
LAS VEGAS, NV 89121                                   PROPERTY AND FIXTURES
                                                        Value:                    UNKNOWN
         Vendor No:
CITICORP VENDOR FINANCE AS                            UCC FILING                            X    X          UNKNOWN               UNKNOWN
SECURED PARTY                                         11/20/2001, XEROX COPIER/FAX
PO BOX 728                                            MACHINE LEASE
PARK RIDGE, NJ 07656
                                                        Value:                    UNKNOWN




            Sheet no. 1 of 3 sheets attached to Schedule of
                             Creditors Holding Secured Claims
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                                                                                                                                   2

  In re
          USA Commercial Mortgage Company                                                        Case No.
                                                                                                                   06-10725-LBR
                           Debtor                                                                                     (If known)


                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                (Continuation Sheet)
                                            CODEBTOR                                         CONTINGENT

                                                HUSBAND, WIFE, JOINT                             UNLIQUIDATED
                                                 OR COMMUNITY
                                                                                                     DISPUTED
          CREDITOR'S NAME AND                           DATE CLAIM WAS INCURRED AND                     AMOUNT OF CLAIM            UNSECURED
            MAILING ADDRESS                           CONSIDERATION FOR CLAIM, IF CLAIM IS            WITHOUT DEDUCTING             PORTION,
           INCLUDING ZIP CODE                            SUBJECT TO SETOFF, SO STATE                  VALUE OF COLLATERAL             IF ANY

      Vendor No:
FLEET BUSINESS CREDIT, LLC AS                        UCC FILING                              X   X          UNKNOWN                UNKNOWN
SECURED PARTY                                        1/3/03, OFFICE FURNITURE
PO BOX 7023
TROY, MI 48007-7023
                                                       Value:                      UNKNOWN
      Vendor No:
FLEET BUSINESS CREDIT, LLC AS                        UCC FILING                              X   X          UNKNOWN                UNKNOWN
SECURED PARTY                                        1/24/03, COMPUTER SERVERS
PO BOX 7023
TROY, MI 48007-7023
                                                       Value:                      UNKNOWN
      Vendor No:
HEWLETT PACKARD FINANCIAL                            UCC FILING                              X   X          UNKNOWN                UNKNOWN
SERVICES CORP AS SECURED PARTY                       8/15/2002, COMPUTER EQUIPMENT
420 MOUNTAIN AVE
MURRAY HILL, NJ 07974
                                                       Value:                      UNKNOWN
      Vendor No:
KYJAIDEN AS SECURED PARTY                            UCC FILING                              X   X          UNKNOWN                UNKNOWN
2010 MAIN STREET                                     3/25/04, LEASED FURNITURE/FIXTURES
IRVINE, CA 92614
                                                       Value:                      UNKNOWN
      Vendor No:
MARLIN LEASING CORP AS SECURED                       UCC FILING                              X   X          UNKNOWN                UNKNOWN
PARTY                                                1/24/03, COMPUTER SERVERS
124 GAITHER DRIVE
SUITE 170
MOUNT LAUREL, NJ 08054
                                                       Value:                      UNKNOWN
      Vendor No:
NATIONAL CITY COMMERCIAL                             UCC FILING                              X   X          UNKNOWN                UNKNOWN
CAPITAL CORPORATION AS SECURED                       2/17/04, ASSIGNED 10/7/04 TO
PARTY                                                NATIONAL CITY COMMERCIAL CAPITAL
995 DALTON AVE                                       CORPORATION, LEASED EQUIPMENT
CINCINNATI, OH 45203
                                                       Value:                      UNKNOWN




           Sheet no. 2 of 3 sheets attached to Schedule of
                            Creditors Holding Secured Claims
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  In re
          USA Commercial Mortgage Company                                                              Case No.
                                                                                                                         06-10725-LBR
                           Debtor                                                                                              (If known)


                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                (Continuation Sheet)
                                            CODEBTOR                                              CONTINGENT

                                                HUSBAND, WIFE, JOINT                                   UNLIQUIDATED
                                                 OR COMMUNITY
                                                                                                           DISPUTED
          CREDITOR'S NAME AND                           DATE CLAIM WAS INCURRED AND                            AMOUNT OF CLAIM              UNSECURED
            MAILING ADDRESS                           CONSIDERATION FOR CLAIM, IF CLAIM IS                   WITHOUT DEDUCTING               PORTION,
           INCLUDING ZIP CODE                            SUBJECT TO SETOFF, SO STATE                         VALUE OF COLLATERAL               IF ANY

      Vendor No:
SIERRACITIES COM AS SECURED                          UCC FILING                                   X   X             UNKNOWN                 UNKNOWN
PARTY                                                12/19/02, LEASED EQUIPMENT
600 TRAVIS STREET
SUITE 1300
HOUSTON, TX 77002
                                                       Value:                         UNKNOWN
      Vendor No:
STANLEY E FULTON                                     UCC FILING                                   X   X             UNKNOWN                 UNKNOWN
815 PILOT RD                                         2/28/2001
SUITE G
LAS VEGAS, NV 89121
                                                       Value:                         UNKNOWN
      Vendor No:
STERLING NATIONAL BANK AS                            UCC FILING                                   X   X             UNKNOWN                 UNKNOWN
SECURED PARTY                                        5/2/03, LEASED EQUIPMENT
500 SEVENTH AVE
11TH FLOOR
NEW YORK, NY 10018
                                                       Value:                         UNKNOWN
      Vendor No:
TECHNOLOGY INVESTMENT                                UCC FILING                                   X   X             UNKNOWN                 UNKNOWN
PARTNERS LLC AS SECURED PARTY                        2/17/04, ASSIGNED 10/7/04 TO
3955 PINNACLE COURT                                  NATIONAL CITY COMMERCIAL CAPITAL
SUITE 200                                            CORPORATION, LEASED EQUIPMENT
AUBURN HILLS, MI 48326
                                                       Value:                         UNKNOWN




           Sheet no. 3 of 3 sheets attached to Schedule of
                            Creditors Holding Secured Claims                                    Total Unsecured
                                                                                                                              UNKNOWN
                                                                                                    Total Secured               $0.00
                                                          (Use only on the last page of the completed Schedule D)          PLUS UNKNOWN
                                                                                                               (Report total also on Summary of Schedules)
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  In re
           USA Commercial Mortgage Company                                                                 Case No.
                                                                                                                              06-10725-LBR
                             Debtor                                                                                                 (If known)

                            SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS


 A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured
 claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip
 code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the
 date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.


 The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor
 chooses to do so. If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112;
 Fed.R.Bankr.P. 1007(m).


    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity on
 the appropriate schedule of creditor, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the
 marital community may be liable on each claim by placing an "H", "W", "J" or "C" in the column labeled "Husband, Wife, Joint, or Community".

    If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
 columns.)


 Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all amounts entitled to
 priority listed on this Schedule E in the box labeled “Total” on the last sheet of the completed schedule. If applicable, also report this total on the Means
 Test form.



          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.



TYPE OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)



          Domestic Support Obligations
          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
          11 U.S.C. § 507(a)(1).



          Extensions of credit in an involuntary case
          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
          appointment of a trustee or the order of relief. 11 U.S.C. § 507(a)(3).




          Wages, salaries, and commissions
          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
          independent sales representatives up to $10,000 per person earned within 180 days immediately preceding the filing of the original petition, or the
          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).




          Contributions to employee benefit plans
          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition or the
          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
